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                                 EXHIBIT A
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                                                                            Twenty-Sixth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
1 PRATTS RUIZ, ELIEZER          05/02/18   Commonwealth of Puerto         10664              Undetermined* PRATTS RUIZ, ELIEZER      05/02/18   Commonwealth of Puerto    10850        Undetermined*
  HC-05 BOX 55112                          Rico                                                            HC 5 BOX 55112                       Rico
  MAYAGUEZ, PR 00680                       17 BK 03283-LTS                                                 MAYAGUEZ, PR 00680                   17 BK 03283-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 PRATTS RUIZ, ELIEZER          05/02/18   Commonwealth of Puerto         10842              Undetermined* PRATTS RUIZ, ELIEZER      05/02/18   Commonwealth of Puerto    10850        Undetermined*
  HC 05                                    Rico                                                            HC 5 BOX 55112                       Rico
  BOX 55112                                17 BK 03283-LTS                                                 MAYAGUEZ, PR 00680                   17 BK 03283-LTS
  MAYAGUEZ, PR 00680

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 PRATTS RUIZ, ELIEZER          05/02/18   Commonwealth of Puerto         10848              Undetermined* PRATTS RUIZ, ELIEZER      05/02/18   Commonwealth of Puerto    10850        Undetermined*
  HC-05 BOX 55112                          Rico                                                            HC 5 BOX 55112                       Rico
  MAYAGUEZ, PR 00680                       17 BK 03283-LTS                                                 MAYAGUEZ, PR 00680                   17 BK 03283-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 PUERTO RICO LAND              06/25/18   Commonwealth of Puerto         51492              $ 36,386,620.57 PUERTO RICO LAND        06/27/18   Commonwealth of Puerto    73021        $ 36,386,620.57
  ADMINISTRATION                           Rico                                                              ADMINISTRATION                     Rico
  419 DE DIEGO ST., STE.                   17 BK 03283-LTS                                                   419 DE DIEGO ST., STE              17 BK 03283-LTS
  301                                                                                                        301
  SAN JUAN, PR 00923                                                                                         SAN JUAN, PR 00923

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 PUERTO RICO LEGAL             12/06/17   Commonwealth of Puerto           350                 $ 70,856.00 PUERTO RICO LEGAL        12/06/17   Commonwealth of Puerto     352             $ 70,856.00
  ADVOCATES PSC                            Rico                                                             ADVOCATES PSC                       Rico
  PO BOX 7462                              17 BK 03283-LTS                                                  PO BOX 7462                         17 BK 03283-LTS
  PONCE, PR 00732                                                                                           PONCE, PR 00732

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
6 QBE SEGUROS                   06/06/18   Commonwealth of Puerto         55191                $ 10,000.00* QBE SEGUROS              06/06/18   Commonwealth of Puerto    59248          $ 10,000.00*
  LCDO. FRANCISCO SAN                      Rico                                                             LCDO. FRANCISCO SAN                 Rico
  MIGUEL FUXENCH                           17 BK 03283-LTS                                                  MIGUEL-FUXENCH                      17 BK 03283-LTS
  PO BOX 190406                                                                                             PO BOX 190406
  SAN JUAN, PR 00919                                                                                        SAN JUAN, PR 00919

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 1 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
7 QUALITY OUTCOME                11/10/17   Commonwealth of Puerto           292                $ 132,500.00 QUALITY OUTCOME       11/10/17   Commonwealth of Puerto    14684          $ 132,500.00
  CONTRACTORS INC.                          Rico                                                             CONTRACTORS INC.                 Rico
  URB. JARDINES DEL                         17 BK 03283-LTS                                                  URB. JARDINES DEL                17 BK 03283-LTS
  CARIBE                                                                                                     CARIBE
  CALLE 23 T-12                                                                                              CALLE 23 T-12
  PONCE, PR 00728                                                                                            PONCE, PR 00728

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 QUELIS SANCHEZ,                05/24/18   Commonwealth of Puerto         20043              Undetermined* QUELIS SANCHEZ,        05/25/18   Commonwealth of Puerto    34038        Undetermined*
  MARILYN                                   Rico                                                            MARILYN                           Rico
  CALLE 3A, Z-12, URB.                      17 BK 03283-LTS                                                 PO BOX 9470                       17 BK 03283-LTS
  FLAMBOYAN GARDENS                                                                                         BAYAMON, PR 00960-
  BAYAMON, PR 00959                                                                                         9470

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 QUELIS SANCHEZ,                05/24/18   Commonwealth of Puerto         20363              Undetermined* QUELIS SANCHEZ,        05/25/18   Commonwealth of Puerto    34038        Undetermined*
  MARILYN                                   Rico                                                            MARILYN                           Rico
  CALLE 3A, Z-12                            17 BK 03283-LTS                                                 PO BOX 9470                       17 BK 03283-LTS
  FLAMBOYAN GARDENS                                                                                         BAYAMON, PR 00960-
  BAYAMON, PR 00959                                                                                         9470

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 QUELIS SANCHEZ,               05/25/18   Commonwealth of Puerto         33534              Undetermined* QUELIS SANCHEZ,        05/25/18   Commonwealth of Puerto    34038        Undetermined*
   MARILYN                                  Rico                                                            MARILYN                           Rico
   URB EL FLAMBOYAN                         17 BK 03283-LTS                                                 PO BOX 9470                       17 BK 03283-LTS
   GARDENS                                                                                                  BAYAMON, PR 00960-
   Z 12 CALLE 3A                                                                                            9470
   BAYAMON, PR 00959

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
11 QUESADA GASTON,               06/26/18   Commonwealth of Puerto         106577             Undetermined* QUESADA GASTON,        06/28/18   Commonwealth of Puerto    72455        Undetermined*
   EMMA                                     Rico                                                            EMMA                              Rico
   URB. BUENA VISTA CA,                     17 BK 03283-LTS                                                 URB BUENA VISTA                   17 BK 03283-LTS
   BONITA #1314                                                                                             1314 CALLE BONITA
   PONCE, PR 00717-2509                                                                                     PONCE, PR 00717-2509

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 2 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
12 QUESADA GASTON,               06/27/18   Commonwealth of Puerto         114140             Undetermined* QUESADA GASTON,          06/28/18   Commonwealth of Puerto    72383        Undetermined*
   EMMA                                     Rico                                                            EMMA                                Rico
   URB BUENA VISTA                          17 BK 03283-LTS                                                 URB BUENA VISTA                     17 BK 03283-LTS
   1314 CALLE BONITA                                                                                        1314 CALLE BONITA
   PONCE, PR 00717-2509                                                                                     PONCE, PR 00717-2509

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 QUESTELL CRUZ,                06/27/18   Commonwealth of Puerto         97901              Undetermined* QUESTELL CRUZ,           06/27/18   Commonwealth of Puerto    110609       Undetermined*
   NELSON                                   Rico                                                            NELSON                              Rico
   38 UNION                                 17 BK 03283-LTS                                                 38 UNION                            17 BK 03283-LTS
   SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 QUILES LOPEZ, EFRAIN          05/10/18   Commonwealth of Puerto         11808                $ 150,420.00 QUILES LOPEZ, EFRAIN    05/10/18   Commonwealth of Puerto    12863         $ 150,420.00*
   PO BOX 1286                              Rico                                                             P O BOX 1286                       Rico
   UTUADO, PR 00641                         17 BK 03283-LTS                                                  UTUADO, PR 00641                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 QUILES LOPEZ, EFRAIN          05/10/18   Commonwealth of Puerto         12861               $ 150,420.00* QUILES LOPEZ, EFRAIN    05/10/18   Commonwealth of Puerto    12863         $ 150,420.00*
   PO BOX 1286                              Rico                                                             P O BOX 1286                       Rico
   UTUADO, PR 00761                         17 BK 03283-LTS                                                  UTUADO, PR 00641                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
16 QUILES LOPEZ, PEDRO           07/06/18   Commonwealth of Puerto         97522              Undetermined* QUILES LOPEZ, PEDRO      07/06/18   Commonwealth of Puerto    158262       Undetermined*
   A.                                       Rico                                                            A.                                  Rico
   NORA CRUZ MOLINA                         17 BK 03283-LTS                                                 LCDA. NORA CRUZ                     17 BK 03283-LTS
   PO BOX 2795                                                                                              PO BOX 2795
   ARECIBO, PR 00613-2795                                                                                   ARECIBO, PR 00613-2795

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 QUILES LOPEZ, PEDRO           07/06/18   Commonwealth of Puerto         120300             Undetermined* QUILES LOPEZ, PEDRO      07/06/18   Commonwealth of Puerto    158262       Undetermined*
   A.                                       Rico                                                            A.                                  Rico
   NORA CRUZ MOLINA                         17 BK 03283-LTS                                                 LCDA. NORA CRUZ                     17 BK 03283-LTS
   PO BOX 2795                                                                                              PO BOX 2795
   ARECIBO, PR 00613-2795                                                                                   ARECIBO, PR 00613-2795

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 3 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
18 QUILES OQUENDO,               06/29/18   Commonwealth of Puerto         117074             Undetermined* QUILES OQUENDO,         06/29/18   Commonwealth of Puerto    130401       Undetermined*
   JAVIER                                   Rico                                                            JAVIER                             Rico
   RESIDENCIAS                              17 BK 03283-LTS                                                 RESIDENCIAS                        17 BK 03283-LTS
   SANABRIA                                                                                                 SANABRIA
   JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 QUILES OQUENDO,               06/29/18   Commonwealth of Puerto         118224             Undetermined* QUILES OQUENDO,         07/03/18   Commonwealth of Puerto    148680       Undetermined*
   JAVIER                                   Rico                                                            JAVIER                             Rico
   RESIDENCIAS                              17 BK 03283-LTS                                                 RESIDENCIAS                        17 BK 03283-LTS
   SANABRIA                                                                                                 SANABRIA
   JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 QUILES OQUENDO,               06/29/18   Commonwealth of Puerto         131526             Undetermined* QUILES OQUENDO,         06/29/18   Commonwealth of Puerto    136328       Undetermined*
   MARIA M.                                 Rico                                                            MARIA M.                           Rico
   HC 01 BOX 5181                           17 BK 03283-LTS                                                 HC 01 BOX 5181                     17 BK 03283-LTS
   JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
21 QUINONES JIMENEZ,             06/01/18   Commonwealth of Puerto         34553              Undetermined* QUINONES JIMENEZ,       06/01/18   Commonwealth of Puerto    36083        Undetermined*
   EUGENIA                                  Rico                                                            EUGENIA                            Rico
   P.O. BOX 967                             17 BK 03283-LTS                                                 PO BOX 967                         17 BK 03283-LTS
   SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683-
                                                                                                            0967

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 QUINONES JIMENEZ,             06/01/18   Commonwealth of Puerto         35574              Undetermined* QUINONES JIMENEZ,       06/01/18   Commonwealth of Puerto    36083        Undetermined*
   EUGENIA                                  Rico                                                            EUGENIA                            Rico
   P.O. BOX 967                             17 BK 03283-LTS                                                 PO BOX 967                         17 BK 03283-LTS
   SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683-
                                                                                                            0967

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 4 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
23 QUINONES JIMENEZ,             06/01/18   Commonwealth of Puerto         35930              Undetermined* QUINONES JIMENEZ,       06/01/18   Commonwealth of Puerto    36083        Undetermined*
   EUGENIA                                  Rico                                                            EUGENIA                            Rico
   PO BOX 967                               17 BK 03283-LTS                                                 PO BOX 967                         17 BK 03283-LTS
   SAN GERMAN, PR 00683-                                                                                    SAN GERMAN, PR 00683-
   0967                                                                                                     0967

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
24 QUINONES RIVERA,              07/02/18   Commonwealth of Puerto         104302             Undetermined* QUINONES RIVERA,        07/02/18   Commonwealth of Puerto    111827       Undetermined*
   ABRAHAM                                  Rico                                                            ABRAHAM                            Rico
   CAMPAMENTO                               17 BK 03283-LTS                                                 URB CAMPAMENTO                     17 BK 03283-LTS
   7 CALLE E                                                                                                7 CALLE E
   GURABO, PR 00778                                                                                         GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 QUINONES SERPA,               06/28/18   Commonwealth of Puerto         56432                 $ 20,000.00 QUINONES SERPA,        07/03/18   Commonwealth of Puerto    108733          $ 20,000.00
   ELIZABETH                                Rico                                                             ELIZABETH                         Rico
   PO BOX 1881                              17 BK 03283-LTS                                                  PO BOX 1881                       17 BK 03283-LTS
   MANATI, PR 00674                                                                                          MANATI, PR 00674

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
26 QUINONES VAZQUEZ,             06/29/18   Commonwealth of Puerto         125345             Undetermined* QUINONES VAZQUEZ,       06/29/18   Commonwealth of Puerto    163303       Undetermined*
   WANDA                                    Rico                                                            WANDA                              Rico
   CALLE 17 CASA M-14                       17 BK 03283-LTS                                                 CALLE 17 CASA M-14                 17 BK 03283-LTS
   VILLA DEL CARMEN                                                                                         VILLA DEL CARMEN
   GURABO, PR 00778                                                                                         GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 QUINTANA SALAS,               06/28/18   Commonwealth of Puerto         72621              Undetermined* QUINTANA SALAS,         06/29/18   Commonwealth of Puerto    152072       Undetermined*
   NEMESIO                                  Rico                                                            NEMESIO                            Rico
   POBOX 1181                               17 BK 03283-LTS                                                 PO BOX 1181                        17 BK 03283-LTS
   ISABELA, PR 00662                                                                                        ISABELA, PR 00662

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 QUINTANA SALAS,               06/29/18   Commonwealth of Puerto         136902             Undetermined* QUINTANA SALAS,         06/29/18   Commonwealth of Puerto    152072       Undetermined*
   NEMESIO                                  Rico                                                            NEMESIO                            Rico
   P.O. BOX 1181                            17 BK 03283-LTS                                                 PO BOX 1181                        17 BK 03283-LTS
   ISABELA, PR 00662                                                                                        ISABELA, PR 00662

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 5 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
29 QUINTERO, SANTA               06/28/18   Commonwealth of Puerto         70774              Undetermined* QUINTERO, SANTA        06/28/18   Commonwealth of Puerto    75049        Undetermined*
   P.O. BOX 463                             Rico                                                            P.O. BOX 463                      Rico
   VEGA ALTA, PR 00692                      17 BK 03283-LTS                                                 VEGA ALTA, PR 00692               17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 RAMIREZ BALL,                 06/28/18   Commonwealth of Puerto         73884                 $ 36,547.00 RAMIREZ BALL,         06/28/18   Commonwealth of Puerto    75611           $ 36,547.00
   RAFAEL H.                                Rico                                                             RAFAEL H.                        Rico
   PO BOX 195492                            17 BK 03283-LTS                                                  PO BOX 195492                    17 BK 03283-LTS
   SAN JUAN, PR 00919                                                                                        SAN JUAN, PR 00919

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
31 RAMIREZ DE TORRENS,           06/29/18   Commonwealth of Puerto         153382                $ 9,000.00* RAMIREZ DE TORRENS,   06/29/18   Commonwealth of Puerto    141233          $ 9,000.00*
   ILEANA                                   Rico                                                             ILEANA                           Rico
   HC-02 BUZON 5327                         17 BK 03283-LTS                                                  HC-02 BUZON 5327                 17 BK 03283-LTS
   LUGUILLO, PR 00773                                                                                        LUQUILLO, PR 00773

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
32 RAMIREZ DIAZ,                 06/28/18   Commonwealth of Puerto         65611              Undetermined* RAMIREZ DIAZ,          06/29/18   Commonwealth of Puerto    139630       Undetermined*
   CARMEN Z.                                Rico                                                            CARMEN Z.                         Rico
   PO BOX 324                               17 BK 03283-LTS                                                 PO BOX 324                        17 BK 03283-LTS
   OROCOVIS, PR 00720                                                                                       OROCONS, PR 00720

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 RAMIREZ ESCOBAR,              05/29/18   Commonwealth of Puerto         35854              Undetermined* RAMIREZ ESCOBAR,       05/29/18   Commonwealth of Puerto    45454        Undetermined*
   CELINETTE                                Rico                                                            CELINETTE                         Rico
   CALLE 6-F O-10                           17 BK 03283-LTS                                                 CALLE 6 F O 10                    17 BK 03283-LTS
   EL TUQUE- NUEVA                                                                                          EL TUQUE NUEVA VIDA
   VIDA                                                                                                     PONCE, PR 00731
   PONCE, PR 00731-0000

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 RAMIREZ IRIZARRY,             06/27/18   Commonwealth of Puerto         103391             Undetermined* RAMIREZ IRIZARRY,      06/28/18   Commonwealth of Puerto    115342       Undetermined*
   EVA M.                                   Rico                                                            EVA M.                            Rico
   16 CLINTON ESTANCIAS                     17 BK 03283-LTS                                                 16 CLINTON ESTANCIAS              17 BK 03283-LTS
   BALSEIRO                                                                                                 BALSEIRO
   ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 6 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
35 RAMIREZ IRIZARRY,             06/27/18   Commonwealth of Puerto         123271             Undetermined* RAMIREZ IRIZARRY,       06/28/18   Commonwealth of Puerto    115342       Undetermined*
   EVA M.                                   Rico                                                            EVA M.                             Rico
   ESTANCIAS BALSEIRO                       17 BK 03283-LTS                                                 16 CLINTON ESTANCIAS               17 BK 03283-LTS
   CLINTON #16                                                                                              BALSEIRO
   ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
36 RAMIREZ IRIZARRY,             06/27/18   Commonwealth of Puerto         123637             Undetermined* RAMIREZ IRIZARRY,       06/28/18   Commonwealth of Puerto    115342       Undetermined*
   EVA M.                                   Rico                                                            EVA M.                             Rico
   16 CLINTON                               17 BK 03283-LTS                                                 16 CLINTON ESTANCIAS               17 BK 03283-LTS
   ESTANCIAS BALSEIRO                                                                                       BALSEIRO
   ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 RAMIREZ IRIZARRY,             06/27/18   Commonwealth of Puerto         138658             Undetermined* RAMIREZ IRIZARRY,       06/28/18   Commonwealth of Puerto    115342       Undetermined*
   EVA M.                                   Rico                                                            EVA M.                             Rico
   ESTANCIAS BALSEIRO                       17 BK 03283-LTS                                                 16 CLINTON ESTANCIAS               17 BK 03283-LTS
   CALLE CLINTON #6                                                                                         BALSEIRO
   ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
38 RAMIREZ IRIZARRY,             06/27/18   Commonwealth of Puerto         141900             Undetermined* RAMIREZ IRIZARRY,       06/28/18   Commonwealth of Puerto    115342       Undetermined*
   EVA M.                                   Rico                                                            EVA M.                             Rico
   ESTANCIAS BALSEIRO                       17 BK 03283-LTS                                                 16 CLINTON ESTANCIAS               17 BK 03283-LTS
   CLINTON #16                                                                                              BALSEIRO
   ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 RAMIREZ LOPEZ,                06/29/18   Commonwealth of Puerto         113449             Undetermined* RAMIREZ LOPEZ,          06/29/18   Commonwealth of Puerto    147208       Undetermined*
   MELISSA                                  Rico                                                            MELISSA                            Rico
   SAN JUAN PARK II                         17 BK 03283-LTS                                                 SAN JUAN PARK II EDF.              17 BK 03283-LTS
   EDF. AA APT. 102                                                                                         AA APT. 102
   SAN JUAN, PR 00909                                                                                       SAN JUAN, PR 00909

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 7 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
40 RAMIREZ LOPEZ,                06/26/18   Commonwealth of Puerto         81449              Undetermined* RAMIREZ LOPEZ,         06/26/18   Commonwealth of Puerto    94259        Undetermined*
   WILFREDO                                 Rico                                                            WILFREDO                          Rico
   B-33 CALLE AMAPOLA                       17 BK 03283-LTS                                                 SANTA ELENA 2 CALLE               17 BK 03283-LTS
   GUAYANILLA, PR 00656                                                                                     AMAPOLA B-33
                                                                                                            GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 RAMIREZ MARTINEZ,             05/16/18   Commonwealth of Puerto         16353                 $ 41,957.97 RAMIREZ MARTINEZ,     05/16/18   Commonwealth of Puerto    17834          $ 41,957.97*
   ORLANDO                                  Rico                                                             ORLANDO                          Rico
   BOX 76                                   17 BK 03283-LTS                                                  LOMAS GARCIA                     17 BK 03283-LTS
   NARANJITO, PR 00719                                                                                       HC-71 BOX 2646
                                                                                                             NARANJITO, PR 00719

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
42 RAMIREZ MEDINA,               07/05/18   Commonwealth of Puerto         143251                $ 58,140.49 RAMIREZ MEDINA,       07/05/18   Commonwealth of Puerto    155647          $ 58,140.49
   SONIA M.                                 Rico                                                             SONIA M.                         Rico
   HC 1 BOX 6486                            17 BK 03283-LTS                                                  HC-01 BOX 6486                   17 BK 03283-LTS
   BARCELONETA, PR                                                                                           BARCELONETA, PR
   00617                                                                                                     00617

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
43 RAMIREZ ORTIZ,                06/20/18   Commonwealth of Puerto         60564              Undetermined* RAMIREZ ORTIZ,         06/26/18   Commonwealth of Puerto    85940        Undetermined*
   NELIDA                                   Rico                                                            NELIDA                            Rico
   BAUTA ABAJO                              17 BK 03283-LTS                                                 HC-01 BOX 6101                    17 BK 03283-LTS
   HC 01 BOX 6101                                                                                           OROCOVIS, PR 00720
   OROCOVIS, PR 00720-
   9705

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
44 RAMIREZ ROBLES,               06/29/18   Commonwealth of Puerto         128871             Undetermined* RAMIREZ ROBLES,        06/29/18   Commonwealth of Puerto    143931       Undetermined*
   IDALIA M                                 Rico                                                            IDALIA M                          Rico
   BOX 57                                   17 BK 03283-LTS                                                 PO BOX 57                         17 BK 03283-LTS
   ARROYO, PR 00714                                                                                         ARROYO, PR 00714

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 8 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
45 RAMIREZ ROBLES,               06/29/18   Commonwealth of Puerto         141273             Undetermined* RAMIREZ ROBLES,            06/29/18   Commonwealth of Puerto    143931       Undetermined*
   IDALIA M                                 Rico                                                            IDALIA M                              Rico
   PO BOX 57                                17 BK 03283-LTS                                                 PO BOX 57                             17 BK 03283-LTS
   ARROYO, PR 00714                                                                                         ARROYO, PR 00714

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 RAMIREZ VAZQUEZ,              05/30/18   Commonwealth of Puerto         16645                $ 75,000.00* RAMIREZ VAZQUEZ,          05/30/18   Commonwealth of Puerto    28983          $ 75,000.00*
   CHARLIE                                  Rico                                                             CHARLIE                              Rico
   GUILLERMO RAMOS                          17 BK 03283-LTS                                                  GUILLERMO RAMOS                      17 BK 03283-LTS
   LUIÑA                                                                                                     LUIÑA
   PO BOX 22763 UPR                                                                                          PO BOX 22763 UPR
   STATION                                                                                                   STATION
   SAN JUAN, PR 00931-2763                                                                                   SAN JUAN, PR 00931-2763

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
47 RAMOS AVILA,                  07/09/18   Commonwealth of Puerto         163301               $ 18,000.00* RAMOS AVILA,              07/09/18   Commonwealth of Puerto    163644          $ 18,000.00
   CLEMENCIA                                Rico                                                             CLEMENCIA                            Rico
   PO BOX 989                               17 BK 03283-LTS                                                  P.O BOX 989                          17 BK 03283-LTS
   QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
   00678                                                                                                     00678

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 RAMOS AVILA,                  07/09/18   Commonwealth of Puerto         163317                  $ 900.00* RAMOS AVILA,              07/09/18   Commonwealth of Puerto    163645            $ 900.00
   CLEMENCIA                                Rico                                                             CLEMENCIA                            Rico
   PO BOX 989                               17 BK 03283-LTS                                                  P.O BOX 989                          17 BK 03283-LTS
   QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
   00678                                                                                                     00678

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
49 RAMOS BELTRAN,                05/25/18   Commonwealth of Puerto         46692              Undetermined* RAMOS BELTRAN,             05/30/18   Commonwealth of Puerto    41712        Undetermined*
   GRIZZETTE                                Rico                                                            GRIZZETTE                             Rico
   HC-1 BOX 6356                            17 BK 03283-LTS                                                 HC-1 BOX 6356                         17 BK 03283-LTS
   MOCA, PR 00676                                                                                           MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 9 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
50 RAMOS CASIANO,                03/26/18   Commonwealth of Puerto          4619                $ 190,000.00 RAMOS CASIANO,         03/26/18   Commonwealth of Puerto    4637           $ 190,000.00
   FLORENCE                                 Rico                                                             FLORENCE                          Rico
   P.O. BOX 769                             17 BK 03283-LTS                                                  P.O. BOX 769                      17 BK 03283-LTS
   GUANICA, PR 00647                                                                                         GUANICA, PR 00647

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 RAMOS CRUZ, YADIRA            07/06/18   Commonwealth of Puerto         93189                 $ 75,000.00 RAMOS CRUZ, YADIRA     07/06/18   Commonwealth of Puerto    94107           $ 75,000.00
   HC 02 BOX 5727                           Rico                                                             HC 2 BOX 5727                     Rico
   LARES, PR 00669                          17 BK 03283-LTS                                                  LARES, PR 00669                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 RAMOS DE LEON, IAN            05/19/18   Commonwealth of Puerto         16730              Undetermined* RAMOS DE LEON, IAN      05/20/18   Commonwealth of Puerto    16765         $ 150,000.00*
   NIVLEK                                   Rico                                                            NIVLEK                             Rico
   CONDOMINIO VILLAS                        17 BK 03283-LTS                                                 CONDOMINIO VILLAS                  17 BK 03283-LTS
   DE GUAYNABO                                                                                              DE GUAYNABO
   CALLE BETANCES # 52                                                                                      CALLE BETANCES #52
   APT. 1                                                                                                   APT 1
   GUAYNABO, PR 00971                                                                                       GUAYNABO, PR 00971

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 RAMOS DE LEON, IAN            05/19/18   Commonwealth of Puerto         163671             Undetermined* RAMOS DE LEON, IAN      05/20/18   Commonwealth of Puerto    16765         $ 150,000.00*
   NIVLEK                                   Rico                                                            NIVLEK                             Rico
   CONDOMINIO VILLAS                        17 BK 03283-LTS                                                 CONDOMINIO VILLAS                  17 BK 03283-LTS
   DE GUAYNABO                                                                                              DE GUAYNABO
   CALLE BETANCES # 52                                                                                      CALLE BETANCES #52
   APARTAMENTO # 1                                                                                          APT 1
   GUAYNABO, PR 00971                                                                                       GUAYNABO, PR 00971

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
54 RAMOS DIAZ, YARITZIA          05/10/18   Commonwealth of Puerto         12303              Undetermined* RAMOS DIAZ, YARITZIA    05/10/18   Commonwealth of Puerto    14213        Undetermined*
   P.O. BOX 270                             Rico                                                            PO BOX 270                         Rico
   CARR. 948                                17 BK 03283-LTS                                                 LAS PIEDRAS, PR 00771              17 BK 03283-LTS
   LAS PIEDRAS, PR 00771

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 10 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
55 RAMOS FELICIANO,              04/23/18   Commonwealth of Puerto          8656              Undetermined* RAMOS FELICIANO,       04/23/18   Commonwealth of Puerto    9206         Undetermined*
   GILBERTO                                 Rico                                                            GILBERTO                          Rico
   HC 2 BOX 22472                           17 BK 03283-LTS                                                 HC02 BOX 22472                    17 BK 03283-LTS
   MAYAGUEZ, PR 00680                                                                                       BO MALEZAS
                                                                                                            MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 RAMOS FELICIANO,              04/23/18   Commonwealth of Puerto          8714              Undetermined* RAMOS FELICIANO,       04/23/18   Commonwealth of Puerto    9206         Undetermined*
   GILBERTO                                 Rico                                                            GILBERTO                          Rico
   HC02 BOX 22472                           17 BK 03283-LTS                                                 HC02 BOX 22472                    17 BK 03283-LTS
   BO MALEZAS                                                                                               BO MALEZAS
   MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 RAMOS FIGUEROA,               05/15/18   Commonwealth of Puerto         13425              Undetermined* RAMOS FIGUEROA,        05/15/18   Commonwealth of Puerto    13426        Undetermined*
   CARMEN                                   Rico                                                            CARMEN                            Rico
   VILLA_DE_CAGUAS                          17 BK 03283-LTS                                                 BONAPARTE J-11-2                  17 BK 03283-LTS
   BONAPARTE_J-11-2                                                                                         VILLA DE CAGUAS
   CAGUAS, PR 00725                                                                                         CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 RAMOS GARCIA,                 05/07/18   Commonwealth of Puerto          9381                $ 59,754.79* RAMOS GARCIA,         05/07/18   Commonwealth of Puerto    9431           $ 59,754.79*
   REYNALDO                                 Rico                                                             REYNALDO                         Rico
   URB CAPARRA HEIGHTS                      17 BK 03283-LTS                                                  URB CAPARRA HEIGHTS              17 BK 03283-LTS
   613 CALLE ESTUARIO                                                                                        613 CALLE ESTUARIO
   SAN JUAN, PR 00920                                                                                        SAN JUAN, PR 00920

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 RAMOS MOLINA,                 06/28/18   Commonwealth of Puerto         57194              Undetermined* RAMOS MOLINA,          06/28/18   Commonwealth of Puerto    65911        Undetermined*
   NOELIA                                   Rico                                                            NOELIA                            Rico
   PO BOX 381                               17 BK 03283-LTS                                                 PO BOX 381                        17 BK 03283-LTS
   AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
   00703                                                                                                    00703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 11 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
60 RAMOS MORALES, AIDA           07/05/18   Commonwealth of Puerto         150325             Undetermined* RAMOS MORALES, AIDA    07/05/18   Commonwealth of Puerto    165434       Undetermined*
   L.                                       Rico                                                            L.                                Rico
   PO BOX 1083                              17 BK 03283-LTS                                                 PO BOX 1083                       17 BK 03283-LTS
   RINCON, PR 00677                                                                                         RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 RAMOS MORALES, AIDA           07/05/18   Commonwealth of Puerto         155395             Undetermined* RAMOS MORALES, AIDA    07/05/18   Commonwealth of Puerto    165434       Undetermined*
   L.                                       Rico                                                            L.                                Rico
   PO BOX 1083                              17 BK 03283-LTS                                                 PO BOX 1083                       17 BK 03283-LTS
   RINCON, PR 00677                                                                                         RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 RAMOS MUNOZ, ANA M.           06/28/18   Commonwealth of Puerto         123083             Undetermined* RAMOS MUNOZ, ANA M.    06/28/18   Commonwealth of Puerto    123146       Undetermined*
   P.O. BOX 1147 CALLE                      Rico                                                            PO BOX 1147 CALLE                 Rico
   CAMBIJA                                  17 BK 03283-LTS                                                 CAMBIJA                           17 BK 03283-LTS
   RINCON, PR 00677                                                                                         RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 RAMOS NATAL, ESTHER           07/03/18   Commonwealth of Puerto         43153              Undetermined* RAMOS NATAL, ESTHER    07/03/18   Commonwealth of Puerto    97306        Undetermined*
   M                                        Rico                                                            M                                 Rico
   HC 4 BOX 17336                           17 BK 03283-LTS                                                 HC 4 BOX 17336                    17 BK 03283-LTS
   CAMUY, PR 00627                                                                                          CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 RAMOS NATAL, ESTHER           07/03/18   Commonwealth of Puerto         93475              Undetermined* RAMOS NATAL, ESTHER    07/03/18   Commonwealth of Puerto    104448       Undetermined*
   M                                        Rico                                                            M                                 Rico
   HC 04 BOX 17336                          17 BK 03283-LTS                                                 HC 4 BOX 17336                    17 BK 03283-LTS
   CAMUY, PR 00627                                                                                          CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
65 RAMOS ORTIZ,                  07/06/18   Commonwealth of Puerto         158248             Undetermined* RAMOS ORTIZ,           07/06/18   Commonwealth of Puerto    158266       Undetermined*
   MADELINE                                 Rico                                                            MADELINE                          Rico
   URB. VILLAS DEL                          17 BK 03283-LTS                                                 URB VILLAS DEL COQUI              17 BK 03283-LTS
   COQUI                                                                                                    3120 CALLE ARISTIDES
   ST. ARISTIDES CHAVIER                                                                                    CHAVIER
   #3120                                                                                                    AGUIRRE, PR 00704
   AGUIRRE, PR 00704

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 12 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
66 RAMOS ORTIZ,                  06/29/18   Commonwealth of Puerto         103541             Undetermined* RAMOS ORTIZ,          06/29/18   Commonwealth of Puerto    147746       Undetermined*
   MILDRED A.                               Rico                                                            MILDRED A.                       Rico
   P.O. BOX 1091                            17 BK 03283-LTS                                                 P.O. BOX 1091                    17 BK 03283-LTS
   MAYAGUEZ, PR 00681                                                                                       MAYAGUEZ, PR 00681

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 RAMOS ORTIZ,                  06/29/18   Commonwealth of Puerto         134884             Undetermined* RAMOS ORTIZ,          06/29/18   Commonwealth of Puerto    137476       Undetermined*
   MILDRED A.                               Rico                                                            MILDRED A.                       Rico
   PO BOX 1091                              17 BK 03283-LTS                                                 P.O. BOX 1091                    17 BK 03283-LTS
   MAYAGUEZ, PR 00681-                                                                                      MAYAGUEZ, PR 00681-
   1091                                                                                                     1091

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 RAMOS RAMOS,                  05/11/18   Commonwealth of Puerto         13244              Undetermined* RAMOS RAMOS,          05/11/18   Commonwealth of Puerto    13245        Undetermined*
   YOLANDA                                  Rico                                                            YOLANDA                          Rico
   PO BOX 401                               17 BK 03283-LTS                                                 PO BOX 401                       17 BK 03283-LTS
   RINCON, PR 00677                                                                                         RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 RAMOS RODRIGUEZ,              06/28/18   Commonwealth of Puerto         59603              Undetermined* RAMOS RODRIGUEZ,      06/28/18   Commonwealth of Puerto    64839        Undetermined*
   RAFAEL I.                                Rico                                                            RAFAEL I.                        Rico
   HC-2 BOX 6140                            17 BK 03283-LTS                                                 HC-2 BOX 6140                    17 BK 03283-LTS
   BARRANQUITAS, PR                                                                                         BARRANQUITAS, PR
   00794                                                                                                    00794

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
70 RAMOS ROSADO,                 06/29/18   Commonwealth of Puerto         58786              Undetermined* RAMOS ROSADO,         06/29/18   Commonwealth of Puerto    59261        Undetermined*
   CARMEN G                                 Rico                                                            CARMEN G                         Rico
   68 CALLE SAN JUAN N                      17 BK 03283-LTS                                                 68 CALLE SAN JUAN N              17 BK 03283-LTS
   CAMUY, PR 00627                                                                                          CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
71 RAMOS ROSADO,                 07/06/18   Commonwealth of Puerto         140846             Undetermined* RAMOS ROSADO,         07/06/18   Commonwealth of Puerto    160453       Undetermined*
   JANNETTE                                 Rico                                                            JANNETTE                         Rico
   URB LOMAS VERDES                         17 BK 03283-LTS                                                 URB LOMAS VERDES                 17 BK 03283-LTS
   J3 CALLE ALMENDRA                                                                                        J-3 CALLE ALMENDRA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 13 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
72 RAMOS ROSADO,                 07/06/18   Commonwealth of Puerto         141691             Undetermined* RAMOS ROSADO,        07/06/18   Commonwealth of Puerto    160453       Undetermined*
   JANNETTE                                 Rico                                                            JANNETTE                        Rico
   URB LOMAS VERDES                         17 BK 03283-LTS                                                 URB LOMAS VERDES                17 BK 03283-LTS
   J-3 CALLE ALMENDRA                                                                                       J-3 CALLE ALMENDRA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
73 RAMOS ROSADO,                 07/06/18   Commonwealth of Puerto         158018             Undetermined* RAMOS ROSADO,        07/06/18   Commonwealth of Puerto    160453       Undetermined*
   JANNETTE                                 Rico                                                            JANNETTE                        Rico
   URB. LOMAS VERDES                        17 BK 03283-LTS                                                 URB LOMAS VERDES                17 BK 03283-LTS
   J-3 CALLE ALMENDRA                                                                                       J-3 CALLE ALMENDRA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 RAMOS ROSADO,                 07/06/18   Commonwealth of Puerto         159422             Undetermined* RAMOS ROSADO,        07/06/18   Commonwealth of Puerto    160453       Undetermined*
   JANNETTE                                 Rico                                                            JANNETTE                        Rico
   LOMAS VERDES                             17 BK 03283-LTS                                                 URB LOMAS VERDES                17 BK 03283-LTS
   J-3 CALLE ALMENDRA                                                                                       J-3 CALLE ALMENDRA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 RAMOS SANTIAGO,               06/28/18   Commonwealth of Puerto         135707             Undetermined* RAMOS SANTIAGO,      07/06/18   Commonwealth of Puerto    159505       Undetermined*
   MAGDA I.                                 Rico                                                            MAGDA I.                        Rico
   EDIF. 12 APT. 95 RES.                    17 BK 03283-LTS                                                 RES. M.J. RIVERA                17 BK 03283-LTS
   M.J. RIVERA                                                                                              EDF.12 APT .95
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
76 RAMOS SERRANO,                06/28/18   Commonwealth of Puerto         117634             Undetermined* RAMOS SERRANO,       06/28/18   Commonwealth of Puerto    135430       Undetermined*
   NILSA I.                                 Rico                                                            NILSA I.                        Rico
   77 MADREPERLA URB.                       17 BK 03283-LTS                                                 URB. PARQUES DE                 17 BK 03283-LTS
   PARQUES DE                                                                                               CANDOLERO
   CANDELERO                                                                                                77 MADREPERLA
   HUMACAO, PR 00791-                                                                                       HUMACAO, PR 00791-
   7608                                                                                                     7608

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 14 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
77 RAMOS VAZQUEZ,                06/28/18   Commonwealth of Puerto         131501             Undetermined* RAMOS VAZQUEZ,          06/28/18   Commonwealth of Puerto    155203       Undetermined*
   MIRIAM                                   Rico                                                            MIRIAM                             Rico
   PO BOX 1230                              17 BK 03283-LTS                                                 PO BOX 1230                        17 BK 03283-LTS
   TOA ALTA, PR 00954                                                                                       TOA ALTA, PR 00954

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
78 RECABAL                       06/19/18   Commonwealth of Puerto         44683                $ 500,000.00 RECABAL                06/28/18   Commonwealth of Puerto    94482          $ 500,000.00
   VALLELLANES, KEVIN                       Rico                                                             VALLELLANES, KEVIN                Rico
   18828 BELVEDERE                          17 BK 03283-LTS                                                  18828 BELVEDERE                   17 BK 03283-LTS
   ROAD                                                                                                      ROAD
   ORLANDO, FL 32820                                                                                         ORLANDO, FL 32820

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 REYES AYALA,                  06/28/18   Commonwealth of Puerto         45729                       $ 300.00 REYES AYALA,        06/28/18   Commonwealth of Puerto    64700             $ 300.00
   MARIANGELY                               Rico                                                                MARIANGELY                     Rico
   HC05 BOX 6479                            17 BK 03283-LTS                                                     HC 5 BOX 6479                  17 BK 03283-LTS
   AGUAS BUENAS, PR                                                                                             AGUAS BUENAS, PR
   00703                                                                                                        00703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 REYES GARCIA, JOEL            06/28/18   Commonwealth of Puerto         124897             Undetermined* REYES GARCIA, JOEL      06/28/18   Commonwealth of Puerto    133772       Undetermined*
   80-A CALLE SANTA ANA                     Rico                                                            80-A CALLE SANTA ANA               Rico
   SALINAS, PR 00751                        17 BK 03283-LTS                                                 SALINAS, PR 00751                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
81 REYES GARCIA, JOEL            06/28/18   Commonwealth of Puerto         131902             Undetermined* REYES GARCIA, JOEL      06/28/18   Commonwealth of Puerto    133772       Undetermined*
   BO COCO NUEVO                            Rico                                                            80-A CALLE SANTA ANA               Rico
   80A CALLE SANTA ANA                      17 BK 03283-LTS                                                 SALINAS, PR 00751                  17 BK 03283-LTS
   SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 REYES GUZMAN,                 06/26/18   Commonwealth of Puerto         89309              Undetermined* REYES GUZMAN,           06/29/18   Commonwealth of Puerto    145116       Undetermined*
   RICARDO                                  Rico                                                            RICARDO                            Rico
   HC 06 BOX 4379                           17 BK 03283-LTS                                                 HC 06 BOX 4379                     17 BK 03283-LTS
   COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780
   -9523                                                                                                    -9523

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 15 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
83 REYES GUZMAN,                 06/26/18   Commonwealth of Puerto         94838              Undetermined* REYES GUZMAN,           06/29/18   Commonwealth of Puerto    150921       Undetermined*
   RICARDO                                  Rico                                                            RICARDO                            Rico
   HC 06 BOX 4379                           17 BK 03283-LTS                                                 HC 06 BOX 4379                     17 BK 03283-LTS
   COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780
   -9523                                                                                                    -9523

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 REYES GUZMAN,                 06/26/18   Commonwealth of Puerto         97154              Undetermined* REYES GUZMAN,           06/29/18   Commonwealth of Puerto    147239       Undetermined*
   RICARDO                                  Rico                                                            RICARDO                            Rico
   HC 06 BOX 4379                           17 BK 03283-LTS                                                 HC 06 BOX 4379                     17 BK 03283-LTS
   COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780
   -9523                                                                                                    -9523

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
85 REYES MORALES,                07/06/18   Commonwealth of Puerto         86751              Undetermined* REYES MORALES,          07/06/18   Commonwealth of Puerto    159888       Undetermined*
   PEDRO G                                  Rico                                                            PEDRO G                            Rico
   PO BOX 4244                              17 BK 03283-LTS                                                 COND. VEREDAS DEL                  17 BK 03283-LTS
   VEGA BAJA, PR 00694                                                                                      MAR
                                                                                                            APT 5-305
                                                                                                            VEGA BAJA, PR 00694

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
86 REYES REYES, ANA S.           05/25/18   Commonwealth of Puerto         21396              Undetermined* REYES REYES, ANA S.     06/05/18   Commonwealth of Puerto    48369        Undetermined*
   HC 07 BOX 33112                          Rico                                                            HC 07 BOX 33112                    Rico
   HATILLO, PR 00659                        17 BK 03283-LTS                                                 HATILLO, PR 00659                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 REYES RODRIGUEZ,              06/28/18   Commonwealth of Puerto         123331             Undetermined* REYES RODRIGUEZ,        06/28/18   Commonwealth of Puerto    127078       Undetermined*
   IVONNE                                   Rico                                                            IVONNE                             Rico
   URB. LA HACIENDA                         17 BK 03283-LTS                                                 URB. LA HACIENDA 52                17 BK 03283-LTS
   52 AM-6                                                                                                  AM-6
   GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
88 REYES ROLON, MAGALI           06/29/18   Commonwealth of Puerto         76321                 $ 59,627.26 REYES ROLON, MAGALI    06/29/18   Commonwealth of Puerto    82440           $ 59,627.26
   SANTA TERESITA                           Rico                                                             SANTA TERESITA                    Rico
   K 3 CALLE 11                             17 BK 03283-LTS                                                  K 3 CALLE 11                      17 BK 03283-LTS
   BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 16 of 93
                                      Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
89 RIDGE TOP                     05/28/18   Commonwealth of Puerto         24660               $ 6,512,790.00 RIDGE TOP              05/29/18   Commonwealth of Puerto    36107        $ 6,512,790.00
   DEVELOPMENT, INC.                        Rico                                                              DEVELOPMENT, INC.                 Rico
   OSCAR I. RIVERA                          17 BK 03283-LTS                                                   OSCAR I. RIVERA                   17 BK 03283-LTS
   PO BOX 331180                                                                                              PO BOX 331180
   MIAMI, FL 33233-1180                                                                                       MIAMI, FL 33233-1180

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 RIERA APONTE,                 06/25/18   Commonwealth of Puerto         51837              Undetermined* RIERA APONTE,            06/25/18   Commonwealth of Puerto    82017        Undetermined*
   MARIHELVA                                Rico                                                            MARIHELVA                           Rico
   0-21 C/FELICIANO                         17 BK 03283-LTS                                                 O-21 C FELICIANO                    17 BK 03283-LTS
   DELGADO-NUEVA VIDA                                                                                       DELGADO
   PONCE, PR 00728                                                                                          NUEVA VIDA
                                                                                                            PONCE, PR 00728

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
91 RIERA ZAPATA, ANIBAL          06/28/18   Commonwealth of Puerto         58767              Undetermined* RIERA ZAPATA, ANIBAL     06/28/18   Commonwealth of Puerto    60412        Undetermined*
   COND PARKSIDE                            Rico                                                            D 14 CALLE 6 APT 303                Rico
   D 14 CALLE 6 APT 303                     17 BK 03283-LTS                                                 GUAYNABO, PR 00968                  17 BK 03283-LTS
   GUAYNABO, PR 00968

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 RIOLLANO GARCIA,              05/29/18   Commonwealth of Puerto         37889                       $ 76.30 RIOLLANO GARCIA,      05/29/18   Commonwealth of Puerto    43117               $ 76.30
   EVELYN                                   Rico                                                               EVELYN                           Rico
   URB SAN GERARDO                          17 BK 03283-LTS                                                    1636 CALLE COLORADO              17 BK 03283-LTS
   1636 CALLE COLORADO                                                                                         SAN JUAN, PR 00926
   SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
93 RIOLLANO GARCIA,              05/29/18   Commonwealth of Puerto         41858                       $ 76.30 RIOLLANO GARCIA,      05/29/18   Commonwealth of Puerto    43117               $ 76.30
   EVELYN                                   Rico                                                               EVELYN                           Rico
   URB. SAN GERARDO                         17 BK 03283-LTS                                                    1636 CALLE COLORADO              17 BK 03283-LTS
   1636 CALLE COLORADO                                                                                         SAN JUAN, PR 00926
   SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 17 of 93
                                      Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                            Desc:
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
94 RIOS CERVANTES,               06/27/18   Commonwealth of Puerto         108411             Undetermined* RIOS CERVANTES,        06/27/18   Commonwealth of Puerto    109247       Undetermined*
   HECTOR                                   Rico                                                            HECTOR                            Rico
   D-9 CALLE 5 URB.                         17 BK 03283-LTS                                                 D-9 CALLE 5                       17 BK 03283-LTS
   JARDINES DE ANASCO                                                                                       URB JARDINES DE
   ANASCO, PR 00610                                                                                         ANASCO
                                                                                                            ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
95 RIOS LOPEZ,                   05/25/18   Commonwealth of Puerto         29274              Undetermined* RIOS LOPEZ,            05/25/18   Commonwealth of Puerto    32073        Undetermined*
   CLEMENCIA                                Rico                                                            CLEMENCIA                         Rico
   PO BOX 40582                             17 BK 03283-LTS                                                 PO BOX 40582                      17 BK 03283-LTS
   MINILLAS STATION                                                                                         MINILLAS STATION
   SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00940

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
96 RIOS MORALES,                 06/27/18   Commonwealth of Puerto         110257             Undetermined* RIOS MORALES,          06/27/18   Commonwealth of Puerto    110711       Undetermined*
   CARLOS                                   Rico                                                            CARLOS                            Rico
   HC 57 BOX 10522                          17 BK 03283-LTS                                                 HC 57 BOX 10522                   17 BK 03283-LTS
   AGUADA, PR 00602-9848                                                                                    AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 RIOS RAMIREZ,                 05/23/18   Commonwealth of Puerto         30914              Undetermined* RIOS RAMIREZ,          05/23/18   Commonwealth of Puerto    36796        Undetermined*
   RICHARD                                  Rico                                                            RICHARD                           Rico
   HC 01 BOX 3228                           17 BK 03283-LTS                                                 HC-01 BOX 3228                    17 BK 03283-LTS
   HORMIGUEROA, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 RIOS RAMIREZ,                 05/23/18   Commonwealth of Puerto         31287              Undetermined* RIOS RAMIREZ,          05/23/18   Commonwealth of Puerto    36796        Undetermined*
   RICHARD                                  Rico                                                            RICHARD                           Rico
   HC 01 BOX 3228                           17 BK 03283-LTS                                                 HC-01 BOX 3228                    17 BK 03283-LTS
   HORMIGUERO, PR 00660                                                                                     HORMIGUEROS, PR
                                                                                                            00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
99 RIOS RIVAS, IGNACIO           05/21/18   Commonwealth of Puerto         16563                $ 45,000.00* RIOS RIVAS, IGNACIO   05/21/18   Commonwealth of Puerto    15148          $ 45,000.00*
   HC-01 BOX 6578                           Rico                                                             HC-01 BOX 6578                   Rico
   CIALES, PR 00638                         17 BK 03283-LTS                                                  CIALES, PR 00638                 17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 18 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                            Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
100 RIOS VALENTIN, MARIO          06/29/18   Commonwealth of Puerto         130743             Undetermined* RIOS VALENTIN, MARIO   06/29/18   Commonwealth of Puerto    162953       Undetermined*
    HC-05 BOX 6983                           Rico                                                            HC-05 BOX 6983                    Rico
    AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                  17 BK 03283-LTS
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 RIVERA ACEVEDO,               07/02/18   Commonwealth of Puerto         113704             Undetermined* RIVERA ACEVEDO,        07/03/18   Commonwealth of Puerto    124730       Undetermined*
    MARITZA                                  Rico                                                            MARITZA                           Rico
    HC 69 BOX 16155                          17 BK 03283-LTS                                                 HC 69 BOX 16155                   17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 RIVERA ALBINO, LUISA          06/05/18   Commonwealth of Puerto         46238              Undetermined* RIVERA ALBINO, LUISA   06/28/18   Commonwealth of Puerto    159187       Undetermined*
    LINNETTE                                 Rico                                                            LINNETTE                          Rico
    PO BOX 516                               17 BK 03283-LTS                                                 P.O. BOX 516                      17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 RIVERA ALBINO, LUISA          06/28/18   Commonwealth of Puerto         111630             Undetermined* RIVERA ALBINO, LUISA   06/28/18   Commonwealth of Puerto    159187       Undetermined*
    LINNETTE                                 Rico                                                            LINNETTE                          Rico
    PO BOX 516                               17 BK 03283-LTS                                                 P.O. BOX 516                      17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
104 RIVERA ALBINO, LUISA          06/28/18   Commonwealth of Puerto         112303             Undetermined* RIVERA ALBINO, LUISA   06/28/18   Commonwealth of Puerto    159187       Undetermined*
    LINNETTE                                 Rico                                                            LINNETTE                          Rico
    P.O. BOX 516                             17 BK 03283-LTS                                                 P.O. BOX 516                      17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 RIVERA ALBINO, LUISA          06/28/18   Commonwealth of Puerto         127030             Undetermined* RIVERA ALBINO, LUISA   06/28/18   Commonwealth of Puerto    159187       Undetermined*
    LINNETTE                                 Rico                                                            LINNETTE                          Rico
    P.O. BOX 516                             17 BK 03283-LTS                                                 P.O. BOX 516                      17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 19 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
106 RIVERA ALVARADO,              06/25/18   Commonwealth of Puerto         44136              Undetermined* RIVERA ALVARADO,          06/25/18   Commonwealth of Puerto    90822        Undetermined*
    IVELISSE                                 Rico                                                            IVELISSE                             Rico
    PO BOX 1150                              17 BK 03283-LTS                                                 PO BOX 1150                          17 BK 03283-LTS
    AIBONITO, PR 00705                                                                                       AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 RIVERA ALVAREZ,               05/29/18   Commonwealth of Puerto         24739              Undetermined* RIVERA ALVAREZ,           05/29/18   Commonwealth of Puerto    27988        Undetermined*
    MILAGROS                                 Rico                                                            MILAGROS                             Rico
    2 VILLA KENNEDY                          17 BK 03283-LTS                                                 VILLA KENNEDY                        17 BK 03283-LTS
    APARTAMENTO 19                                                                                           APT 19 EDIF 2
    SAN JUAN, PR 00915-2702                                                                                  SAN JUAN, PR 00915

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
108 RIVERA ALVAREZ,               05/25/18   Commonwealth of Puerto         22867              Undetermined* RIVERA ALVAREZ,           05/29/18   Commonwealth of Puerto    28662        Undetermined*
    MILAGROS DEL R                           Rico                                                            MILAGROS DEL R                       Rico
    VILLA KENNEDY                            17 BK 03283-LTS                                                 VILLA KENNEDY                        17 BK 03283-LTS
    EDIF 2 APT 19                                                                                            EDIF 2 APT 19
    SAN JUAN, PR 00915-2702                                                                                  SAN JUAN, PR 00915-2702

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 RIVERA ALVAREZ,               05/29/18   Commonwealth of Puerto         25779              Undetermined* RIVERA ALVAREZ,           05/29/18   Commonwealth of Puerto    28662        Undetermined*
    MILAGROS DEL R                           Rico                                                            MILAGROS DEL R                       Rico
    EDIF 2 APT 19 VILLA                      17 BK 03283-LTS                                                 VILLA KENNEDY                        17 BK 03283-LTS
    KENNEDY                                                                                                  EDIF 2 APT 19
    SAN JUAN, PR 00915                                                                                       SAN JUAN, PR 00915-2702

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 RIVERA AYALA, JESSIEL         05/25/18   Commonwealth of Puerto         35667              Undetermined* RIVERA AYALA, JESSIEL     05/25/18   Commonwealth of Puerto    41224        Undetermined*
    VILLA OLIMPICA                           Rico                                                            VILLA OLIMPIA 567                    Rico
    567 PASEO 2                              17 BK 03283-LTS                                                 PASEO 2                              17 BK 03283-LTS
    SAN JUAN, PR 00924-1216                                                                                  SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 20 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
111 RIVERA AYALA,                 05/03/18   Commonwealth of Puerto          9080              Undetermined* RIVERA AYALA,          05/07/18   Commonwealth of Puerto    10915        Undetermined*
    RAMONITA                                 Rico                                                            RAMONITA                          Rico
    HC 02 BOX 13405                          17 BK 03283-LTS                                                 HC 02 BOX 13405                   17 BK 03283-LTS
    CARR 156KM 49 H8                                                                                         AGUAS BUENAS, PR
    AGUAS BUENAS, PR                                                                                         00703-9605
    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 RIVERA AYALA,                 04/06/18   Commonwealth of Puerto          3869                   $ 1,455.00 RIVERA AYALA,        07/03/18   Commonwealth of Puerto    151817           $ 1,455.00
    ZULEIKA                                  Rico                                                              ZULEIKA                         Rico
    HC 61 BOX 6117                           17 BK 03283-LTS                                                   HC 61 BOX 6117                  17 BK 03283-LTS
    TRUJILLO ALTO, PR                                                                                          TRUJILLO ALTO, PR
    00976                                                                                                      00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
113 RIVERA BERDECIA ,             03/19/18   Commonwealth of Puerto          3592              Undetermined* RIVERA BERDECIA ,      03/29/18   Commonwealth of Puerto    5571         Undetermined*
    GLADYS E.                                Rico                                                            GLADYS E.                         Rico
    406 URB LA ALBORADA                      17 BK 03283-LTS                                                 406 URB LA ALBORADA               17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 RIVERA BERDECIA,              03/13/18   Commonwealth of Puerto          1957              Undetermined* RIVERA BERDECIA,       03/13/18   Commonwealth of Puerto    2469         Undetermined*
    GLADYS                                   Rico                                                            GLADYS                            Rico
    LA ALBORADA                              17 BK 03283-LTS                                                 LA ALBORADA                       17 BK 03283-LTS
    # 406                                                                                                    406
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 RIVERA BERLY, LUZ R.          06/20/18   Commonwealth of Puerto         37811              Undetermined* RIVERA BERLY, LUZ R.   06/21/18   Commonwealth of Puerto    55122        Undetermined*
    P.O. BOX 592                             Rico                                                            PO BOX 592                        Rico
    COAMO, PR 00769                          17 BK 03283-LTS                                                 COAMO, PR 00769                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 21 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
116 RIVERA BURGOS,                03/20/18   Commonwealth of Puerto          3851                   $ 7,954.00 RIVERA BURGOS,      04/26/18   Commonwealth of Puerto    9126             $ 7,954.00
    HECTOR                                   Rico                                                              HECTOR                         Rico
    URB FOREST HILLS                         17 BK 03283-LTS                                                   URB FOREST HILLS               17 BK 03283-LTS
    D-16 CALLE 23                                                                                              D-16 CALLE 23
    BAYAMON, PR 00959                                                                                          BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
117 RIVERA CAMACHO,               06/28/18   Commonwealth of Puerto         67927              Undetermined* RIVERA CAMACHO,       06/28/18   Commonwealth of Puerto    70139        Undetermined*
    WILFREDO                                 Rico                                                            WILFREDO                         Rico
    HC 04 BOX 11883                          17 BK 03283-LTS                                                 HC 4 BOX 11883                   17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
118 RIVERA CANCEL,                04/20/18   Commonwealth of Puerto          5987              Undetermined* RIVERA CANCEL,        04/30/18   Commonwealth of Puerto    8429         Undetermined*
    WALESKA                                  Rico                                                            WALESKA                          Rico
    URB INTERAMERICANA                       17 BK 03283-LTS                                                 URB LOMAS DE                     17 BK 03283-LTS
    C26 JA10                                                                                                 TRUJILLO ALTO
    TRUJILLO ALTO, PR                                                                                        B 13 CALLE 4
    00976                                                                                                    TRUJILLO ALTO, PR
                                                                                                             00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 RIVERA CANCEL,                04/20/18   Commonwealth of Puerto          5989              Undetermined* RIVERA CANCEL,        04/30/18   Commonwealth of Puerto    8429         Undetermined*
    WALESKA                                  Rico                                                            WALESKA                          Rico
    URB LOMAS DE                             17 BK 03283-LTS                                                 URB LOMAS DE                     17 BK 03283-LTS
    TRUJILLO                                                                                                 TRUJILLO ALTO
    B-13 CALLE 4                                                                                             B 13 CALLE 4
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 RIVERA CANCEL,                04/20/18   Commonwealth of Puerto          7842              Undetermined* RIVERA CANCEL,        04/30/18   Commonwealth of Puerto    8429         Undetermined*
    WALESKA                                  Rico                                                            WALESKA                          Rico
    URB LOMAS DE                             17 BK 03283-LTS                                                 URB LOMAS DE                     17 BK 03283-LTS
    TRUJILLO ALTO                                                                                            TRUJILLO ALTO
    B13 CALLE 4                                                                                              B 13 CALLE 4
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 22 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
121 RIVERA CANCEL,                04/20/18   Commonwealth of Puerto          7900              Undetermined* RIVERA CANCEL,         04/30/18   Commonwealth of Puerto    8429         Undetermined*
    WALESKA                                  Rico                                                            WALESKA                           Rico
    URB LOMAS DE                             17 BK 03283-LTS                                                 URB LOMAS DE                      17 BK 03283-LTS
    TRUJILLO ALTO                                                                                            TRUJILLO ALTO
    B 13 CALLE 4                                                                                             B 13 CALLE 4
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
122 RIVERA CARRERO,               06/04/18   Commonwealth of Puerto         42452               $ 100,000.00* RIVERA CARRERO,       06/07/18   Commonwealth of Puerto    58528         $ 100,000.00*
    ZULMA                                    Rico                                                             ZULMA                            Rico
    PO BOX 426                               17 BK 03283-LTS                                                  PO BOX 426                       17 BK 03283-LTS
    TOA ALTA, PR 00954                                                                                        TOA ALTA, PR 00954

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 RIVERA CASTRO,                07/05/18   Commonwealth of Puerto         106709             Undetermined* RIVERA CASTRO,         07/06/18   Commonwealth of Puerto    112452       Undetermined*
    MINERVA                                  Rico                                                            MINERVA                           Rico
    42 B RIO GRANDE HILLS                    17 BK 03283-LTS                                                 42 B RIO GDE. HILLS               17 BK 03283-LTS
    RIO GRANDE, PR 00745                                                                                     RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
124 RIVERA CHARON,                05/22/18   Commonwealth of Puerto         25313              Undetermined* RIVERA CHARON,         05/22/18   Commonwealth of Puerto    31167        Undetermined*
    VIRGINIA                                 Rico                                                            VIRGINIA                          Rico
    BO ISLOTE II                             17 BK 03283-LTS                                                 BO ISLOTE II                      17 BK 03283-LTS
    133 CALLE 5                                                                                              BOX 133
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 RIVERA CIURO, LUZ V           06/05/18   Commonwealth of Puerto         162316             Undetermined* RIVERA CIURO, LUZ V    06/05/18   Commonwealth of Puerto    47945        Undetermined*
    HIGUERO 196                              Rico                                                            VISTAS DE RIO GRANDE              Rico
    RIO GRANDE, PR 00745                     17 BK 03283-LTS                                                 HIGUERO 196                       17 BK 03283-LTS
                                                                                                             RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 23 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
126 RIVERA CIURO, LUZ V.          06/05/18   Commonwealth of Puerto         47918              Undetermined* RIVERA CIURO, LUZ V.    06/05/18   Commonwealth of Puerto    82829        Undetermined*
    HIGUERO 196                              Rico                                                            URB. VISTAS DE RIO                 Rico
    RIO GRANDE, PR 00745                     17 BK 03283-LTS                                                 GRANDE                             17 BK 03283-LTS
                                                                                                             J23 196 CALLE HIGUERO
                                                                                                             RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 RIVERA CIURO, LUZ V.          06/05/18   Commonwealth of Puerto         47986              Undetermined* RIVERA CIURO, LUZ V.    06/05/18   Commonwealth of Puerto    82829        Undetermined*
    VISTAS DE RIO GRANDE                     Rico                                                            URB. VISTAS DE RIO                 Rico
    HIGUERO 196                              17 BK 03283-LTS                                                 GRANDE                             17 BK 03283-LTS
    RIO GRANDE, PR 00745                                                                                     J23 196 CALLE HIGUERO
                                                                                                             RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
128 RIVERA CIURO, LUZ V.          06/05/18   Commonwealth of Puerto         47988              Undetermined* RIVERA CIURO, LUZ V.    06/05/18   Commonwealth of Puerto    82829        Undetermined*
    BO CAMPO RICO                            Rico                                                            URB. VISTAS DE RIO                 Rico
    HC 3 BOX 7608                            17 BK 03283-LTS                                                 GRANDE                             17 BK 03283-LTS
    CANOVANAS, PR 00729-                                                                                     J23 196 CALLE HIGUERO
    9765                                                                                                     RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 RIVERA CIURO, LUZ V.          06/05/18   Commonwealth of Puerto         48204              Undetermined* RIVERA CIURO, LUZ V.    06/05/18   Commonwealth of Puerto    82829        Undetermined*
    URB VISTAS DE RIO                        Rico                                                            URB. VISTAS DE RIO                 Rico
    GRANDE 196 CALLE                         17 BK 03283-LTS                                                 GRANDE                             17 BK 03283-LTS
    HIGUERO                                                                                                  J23 196 CALLE HIGUERO
    RIO GRANDE, PR 00745                                                                                     RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
130 RIVERA CLAUDIO, ANA           05/04/18   Commonwealth of Puerto         10718                $ 68,982.51* RIVERA CLAUDIO, ANA    05/04/18   Commonwealth of Puerto    10917          $ 68,982.51*
    C                                        Rico                                                             C                                 Rico
    HC 6 BOX 10102                           17 BK 03283-LTS                                                  HC 6 BOX 10102                    17 BK 03283-LTS
    YABUCOA, PR 00767-                                                                                        YABUCOA, PR 00767
    9703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 24 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                                Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
131 RIVERA COLON,                 05/22/18   Commonwealth of Puerto         15720                   $ 1,081.00 RIVERA COLON,            05/23/18   Commonwealth of Puerto    18210            $ 1,081.00
    CARMEN M.                                Rico                                                              CARMEN M.                           Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                   MILAGROS ACEVEDO                    17 BK 03283-LTS
    COLON                                                                                                      COLON
    COND COLINA REAL                                                                                           COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                      2000 AVE F RINCON BOX
    1405                                                                                                       1405
    SAN JUAN, PR 00926                                                                                         SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 RIVERA COLÓN, DANIEL          03/27/18   Commonwealth of Puerto          4989                $ 75,000.00* RIVERA COLÓN, DANIEL      03/27/18   Commonwealth of Puerto    4998           $ 75,000.00*
    INSTITUCIÓN                              Rico                                                             INSTITUCIÓN                          Rico
    CORRECCIONAL                             17 BK 03283-LTS                                                  CORRECCIONAL                         17 BK 03283-LTS
    BAYAMÓN ANEXO 292                                                                                         BAYAMÓN ANEXO 292
    EDIFICIO 5 SECCIÓN A                                                                                      EDIFICIO 5 SECCIÓN A
    CELDA #2 50                                                                                               CELDA #2 50
    CARR. UNIT 700-607073                                                                                     CARR. UNIT 700-607073
    INDUSTRIAL LUCHETTI                                                                                       INDUSTRIAL LUCHETTI
    BAYAMÓN, PR 00961-                                                                                        BAYAMÓN, PR 00961-
    7403                                                                                                      7403

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
133 RIVERA COLON, MARIE           06/29/18   Commonwealth of Puerto         152476                $ 75,000.00 RIVERA COLON, MARIE       06/29/18   Commonwealth of Puerto    154384          $ 75,000.00
    ZAIDA                                    Rico                                                             ZAIDA                                Rico
    COND. LOS                                17 BK 03283-LTS                                                  COND. LOS                            17 BK 03283-LTS
    ALMENDROS PLAZA II                                                                                        ALMENDROS PLAZA II
    APT 606                                                                                                   703 CALLE EIDER APT
    SAN JUAN, PR 00924                                                                                        606
                                                                                                              SAN JUAN, PR 00924-2378

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
134 RIVERA COLON,                 06/28/18   Commonwealth of Puerto         111302             Undetermined* RIVERA COLON,              06/28/18   Commonwealth of Puerto    142101       Undetermined*
    NESTAR DELIA                             Rico                                                            NESTAR DELIA                          Rico
    BUZON H-C 64 BOX 8342                    17 BK 03283-LTS                                                 BUZON HC-64 BOX 8342                  17 BK 03283-LTS
    PATILLAS, PR 00723                                                                                       PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 25 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
135 RIVERA COLON,                 06/28/18   Commonwealth of Puerto         134482             Undetermined* RIVERA COLON,           06/28/18   Commonwealth of Puerto    142101       Undetermined*
    NESTAR DELIA                             Rico                                                            NESTAR DELIA                       Rico
    BUZON HC 64 BOX 8342                     17 BK 03283-LTS                                                 BUZON HC-64 BOX 8342               17 BK 03283-LTS
    PATILLAS, PR 00723                                                                                       PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
136 RIVERA COLON,                 06/28/18   Commonwealth of Puerto         137715             Undetermined* RIVERA COLON,           06/28/18   Commonwealth of Puerto    142101       Undetermined*
    NESTAR DELIA                             Rico                                                            NESTAR DELIA                       Rico
    BUZON HC-B4                              17 BK 03283-LTS                                                 BUZON HC-64 BOX 8342               17 BK 03283-LTS
    BOX 8342                                                                                                 PATILLAS, PR 00723
    PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
137 RIVERA COLON,                 06/07/18   Commonwealth of Puerto         61373              Undetermined* RIVERA COLON,           06/07/18   Commonwealth of Puerto    61474        Undetermined*
    RAMONITA                                 Rico                                                            RAMONITA                           Rico
    URB SANTA CLARA                          17 BK 03283-LTS                                                 URB SANTA CLARA                    17 BK 03283-LTS
    17 CALLE 1                                                                                               17 CALLE 1
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
138 RIVERA COLON,                 05/25/18   Commonwealth of Puerto         29061              Undetermined* RIVERA COLON,           05/25/18   Commonwealth of Puerto    30380        Undetermined*
    XAVIER                                   Rico                                                            XAVIER                             Rico
    URB CIUDAD                               17 BK 03283-LTS                                                 URB CIUDAD                         17 BK 03283-LTS
    UNIVERSITARIA Y 54                                                                                       UNIVERSITARIA
    CALLE 25 T                                                                                               Y54 CALLE 25
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976-2117

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
139 RIVERA COSTAS, DELIA          06/27/18   Commonwealth of Puerto         69273              Undetermined* RIVERA COSTAS, DELIA    06/28/18   Commonwealth of Puerto    117424       Undetermined*
    URB SAGRADO                              Rico                                                            URB SAGRADO                        Rico
    CORAZON                                  17 BK 03283-LTS                                                 CORAZON                            17 BK 03283-LTS
    865 CALLE ALEGRIA                                                                                        865 CALLE ALEGRIA
    PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
    2321                                                                                                     2321

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 26 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
140 RIVERA COSTAS, DELIA          06/27/18   Commonwealth of Puerto         87520              Undetermined* RIVERA COSTAS, DELIA     06/28/18   Commonwealth of Puerto    120533       Undetermined*
    URB SAGRADO                              Rico                                                            865 CALLE ALEGRIA                   Rico
    CORAZON                                  17 BK 03283-LTS                                                 SAGRADO CORAZON                     17 BK 03283-LTS
    865 CALLE ALEGRIA                                                                                        PENUELAS, PR 00624
    PENUELAS, PR 00624-
    2321

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
141 RIVERA COSTAS, DELIA          06/27/18   Commonwealth of Puerto         101016             Undetermined* RIVERA COSTAS, DELIA     06/28/18   Commonwealth of Puerto    117390       Undetermined*
    865 CALLE ALEGRIA                        Rico                                                            URB SAGRADO                         Rico
    SAGRADO CORAZON                          17 BK 03283-LTS                                                 CORAZON                             17 BK 03283-LTS
    PENUELAS, PR 00624                                                                                       CALLE ALEGRIA #865
                                                                                                             PENUELAS, PR 00624-
                                                                                                             2321

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
142 RIVERA COSTAS, DELIA          06/27/18   Commonwealth of Puerto         105576             Undetermined* RIVERA COSTAS, DELIA     06/28/18   Commonwealth of Puerto    125212       Undetermined*
    865 CALLE ALEGRIA                        Rico                                                            865 CALLE ALEGRIA                   Rico
    SAGRADO CORAZON                          17 BK 03283-LTS                                                 SAGRADO CORAZON                     17 BK 03283-LTS
    PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
143 RIVERA COSTAS, DELIA          06/27/18   Commonwealth of Puerto         105585             Undetermined* RIVERA COSTAS, DELIA     06/28/18   Commonwealth of Puerto    122540       Undetermined*
    URB SAGRADO                              Rico                                                            865 CALLE ALEGRIA                   Rico
    CORAZON                                  17 BK 03283-LTS                                                 SAGRADO CORAZON                     17 BK 03283-LTS
    865 CALLE ALEGRIA                                                                                        PENUELAS, PR 00624
    PENUELAS, PR 00624-
    2321

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 RIVERA CRUZ,                  06/29/18   Commonwealth of Puerto         98713              Undetermined* RIVERA CRUZ,             06/29/18   Commonwealth of Puerto    100070       Undetermined*
    MARITZA                                  Rico                                                            MARITZA                             Rico
    LAS DELICIAS #96 VISTA                   17 BK 03283-LTS                                                 LAS DELICIAS #96 VISTA              17 BK 03283-LTS
    ALEGRE                                                                                                   ALEGRE
    BAYAMÓN, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 27 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
145 RIVERA DE JESUS,              05/25/18   Commonwealth of Puerto         34111                $ 46,678.39* RIVERA DE JESUS,         05/25/18   Commonwealth of Puerto    35409           $ 46,678.39
    HIPOLITA                                 Rico                                                             HIPOLITA                            Rico
    PO BOX 2222                              17 BK 03283-LTS                                                  PO BOX 2222                         17 BK 03283-LTS
    GUAYAMA, PR 00785                                                                                         GUAYAMA, PR 00785-
                                                                                                              2222

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 RIVERA DIAZ, ANA              06/29/18   Commonwealth of Puerto         67817              Undetermined* RIVERA DIAZ, ANA          06/29/18   Commonwealth of Puerto    81584        Undetermined*
    MARIA                                    Rico                                                            MARIA                                Rico
    BARRIO RABANAL BOX                       17 BK 03283-LTS                                                 BARRIO RABANAL BOX                   17 BK 03283-LTS
    2764                                                                                                     2764
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
147 RIVERA ENCARNACION,           05/24/18   Commonwealth of Puerto         19665              Undetermined* RIVERA ENCARNACION,       05/24/18   Commonwealth of Puerto    20306        Undetermined*
    MADELINE                                 Rico                                                            MADELINE                             Rico
    PO BOX 20135                             17 BK 03283-LTS                                                 PO BOX 20135                         17 BK 03283-LTS
    SAN JUAN, PR 00928-0135                                                                                  SAN JUAN, PR 00928-0135

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
148 RIVERA ESCALERA,              05/25/18   Commonwealth of Puerto         14882              Undetermined* RIVERA ESCALERA,          05/25/18   Commonwealth of Puerto    21551        Undetermined*
    JEANETTE                                 Rico                                                            JEANETTE                             Rico
    # 69 AVE RIVERA                          17 BK 03283-LTS                                                 #69 AVE A RIVERA                     17 BK 03283-LTS
    MORALES                                                                                                  MORALES
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 RIVERA FIGUEROA,              06/25/18   Commonwealth of Puerto         81547              Undetermined* RIVERA FIGUEROA,          06/27/18   Commonwealth of Puerto    113277       Undetermined*
    KAREN                                    Rico                                                            KAREN                                Rico
    P.O. BOX 849                             17 BK 03283-LTS                                                 PO BOX 849                           17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMU, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
150 RIVERA FIGUEROA,              06/25/18   Commonwealth of Puerto         89152              Undetermined* RIVERA FIGUEROA,          06/27/18   Commonwealth of Puerto    101287       Undetermined*
    KAREN                                    Rico                                                            KAREN                                Rico
    PO BOX 849                               17 BK 03283-LTS                                                 PO BOX 849                           17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 28 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                           Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
151 RIVERA FIGUEROA,              06/25/18   Commonwealth of Puerto         91031              Undetermined* RIVERA FIGUEROA,      06/27/18   Commonwealth of Puerto    117658       Undetermined*
    KAREN                                    Rico                                                            KAREN                            Rico
    PO BOX 849                               17 BK 03283-LTS                                                 PO BOX 849                       17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 RIVERA FLORES,                06/28/18   Commonwealth of Puerto         166316             Undetermined* RIVERA FLORES,        06/28/18   Commonwealth of Puerto    166423       Undetermined*
    CARLOTA                                  Rico                                                            CARLOTA                          Rico
    H.C - 01 BOX 10201                       17 BK 03283-LTS                                                 HC-01 BOX 10201                  17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
153 RIVERA FLORES,                06/28/18   Commonwealth of Puerto         166420             Undetermined* RIVERA FLORES,        06/28/18   Commonwealth of Puerto    166653       Undetermined*
    CARLOTA                                  Rico                                                            CARLOTA                          Rico
    HC 01 BOX 10201                          17 BK 03283-LTS                                                 HC-01 BOX 10201                  17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 RIVERA FLORES,                06/28/18   Commonwealth of Puerto         166604             Undetermined* RIVERA FLORES,        06/28/18   Commonwealth of Puerto    166619       Undetermined*
    CARLOTA                                  Rico                                                            CARLOTA                          Rico
    HC 01 BOX 10201                          17 BK 03283-LTS                                                 HC-01 BOX 10201                  17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
155 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         121272             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMUS                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
156 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         138483             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMAS                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 29 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
157 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         141130             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMUS                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
158 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         144955             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMES                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
159 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         148440             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMES                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
160 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         150383             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMUS                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
161 RIVERA GARCIA, JOSE           06/29/18   Commonwealth of Puerto         155129             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Commonwealth of Puerto    157557       Undetermined*
    JUAN                                     Rico                                                            JUAN                             Rico
    3617 CALLE EL                            17 BK 03283-LTS                                                 3617 CALLE EL                    17 BK 03283-LTS
    CADEMES                                                                                                  CADEMUS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 30 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
162 RIVERA GARCIA, OLGA           06/28/18   Commonwealth of Puerto         64617              Undetermined* RIVERA GARCIA, OLGA      06/28/18   Commonwealth of Puerto    65413        Undetermined*
    I.                                       Rico                                                            I.                                  Rico
    M-19 CALLE 7                             17 BK 03283-LTS                                                 M-19 CALLE 7                        17 BK 03283-LTS
    URB. ROYAL TOWN                                                                                          URB ROYAL TOWN
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
163 RIVERA GARCIA,                06/29/18   Commonwealth of Puerto         150218             Undetermined* RIVERA GARCIA,           07/10/18   Commonwealth of Puerto    161250       Undetermined*
    WANDA E.                                 Rico                                                            WANDA E.                            Rico
    URB.LUGETTI                              17 BK 03283-LTS                                                 URB.LUGETTI                         17 BK 03283-LTS
    C-VIRG.POZO -23                                                                                          C-VIRG.POZO -23
    MANATI, PR 00674                                                                                         MANATI, PR 00674

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
164 RIVERA GARCIA,                06/29/18   Commonwealth of Puerto         160242                $ 53,521.60 RIVERA GARCIA,          07/10/18   Commonwealth of Puerto    161182          $ 53,521.60
    WANDA E.                                 Rico                                                             WANDA E.                           Rico
    URB. LUCHETTI                            17 BK 03283-LTS                                                  URB. LUCHETTI                      17 BK 03283-LTS
    23 CALLE VIRGILIO DEL                                                                                     23 CALLE VIRGILIO DEL
    POZO                                                                                                      POZO
    MANATI, PR 00674                                                                                          MANATI, PR 00674

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
165 RIVERA GONZALEZ,              06/28/18   Commonwealth of Puerto         124830             Undetermined* RIVERA GONZALEZ,         06/28/18   Commonwealth of Puerto    155971       Undetermined*
    IVELISSE                                 Rico                                                            IVELISSE                            Rico
    COOP. JARDINES DE                        17 BK 03283-LTS                                                 COOP SAN IGNACIO APT                17 BK 03283-LTS
    SAN IGNACIO                                                                                              1605 B
    APT. 1605-B                                                                                              SAN JUAN, PR 00907
    SAN JUAN, PR 00927

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
166 RIVERA GUEVAREZ,              06/29/18   Commonwealth of Puerto         68967                 $ 50,000.00 RIVERA GUEVAREZ,        06/29/18   Commonwealth of Puerto    104407          $ 50,000.00
    JOHNNY                                   Rico                                                             JOHNNY                             Rico
    URB. LEVITTOWN                           17 BK 03283-LTS                                                  URB LEVITTOWN                      17 BK 03283-LTS
    LAKES                                                                                                     LAKES
    F T 12 CALLE LUIS                                                                                         FT 12 CALLE LUIS LLOR
    LLOREN TORRES                                                                                             TOA BAJA, PR 00949
    TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 31 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
167 RIVERA HERNANDEZ,             05/09/18   Commonwealth of Puerto         11528              Undetermined* RIVERA HERNANDEZ,        05/09/18   Commonwealth of Puerto    12813        Undetermined*
    JOSE M                                   Rico                                                            JOSE M                              Rico
    60448 SECT LA PICA                       17 BK 03283-LTS                                                 CARR. 119 K-6 H-6 INT.              17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          BO. PUENTE, SECTOR LA
                                                                                                             PICA
                                                                                                             BUZON 60448
                                                                                                             CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
168 RIVERA HERNANDEZ,             05/09/18   Commonwealth of Puerto         12589              Undetermined* RIVERA HERNANDEZ,        05/09/18   Commonwealth of Puerto    12813        Undetermined*
    JOSE M                                   Rico                                                            JOSE M                              Rico
    PO BOX 60448                             17 BK 03283-LTS                                                 CARR. 119 K-6 H-6 INT.              17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          BO. PUENTE, SECTOR LA
                                                                                                             PICA
                                                                                                             BUZON 60448
                                                                                                             CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
169 RIVERA IRIZARRY,              07/09/18   Commonwealth of Puerto         130336                $ 75,000.00 RIVERA IRIZARRY,        07/09/18   Commonwealth of Puerto    162330          $ 75,000.00
    NEFTALI                                  Rico                                                             NEFTALI                            Rico
    2253 SORREL LANE                         17 BK 03283-LTS                                                  2253 SORREL LANE                   17 BK 03283-LTS
    WINTERVILLE, NC 28590                                                                                     WINTERVILLE, NC 28590

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 RIVERA JIMENEZ,               05/10/18   Commonwealth of Puerto         10425                 $ 78,812.40 RIVERA JIMENEZ,         05/10/18   Commonwealth of Puerto    11523           $ 78,812.40
    MARITZA                                  Rico                                                             MARITZA                            Rico
    URB JARDINES DE                          17 BK 03283-LTS                                                  URB JARDINES DE                    17 BK 03283-LTS
    MONTE BRISAS                                                                                              MONTE BRISAS
    5D9 CALLE 5-1                                                                                             5D9 CALLE 5-1
    FAJARDO, PR 00738                                                                                         FAJARDO, PR 00738

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
171 RIVERA LEON, MAGALI           07/06/18   Commonwealth of Puerto         158316             Undetermined* RIVERA LEON, MAGALI      07/06/18   Commonwealth of Puerto    158648       Undetermined*
    URB JARDINES DE                          Rico                                                            URB JARDINES DE                     Rico
    LAFAYETTE                                17 BK 03283-LTS                                                 LAFAYETTE                           17 BK 03283-LTS
    B 23 CALLE B                                                                                             B 23 CALLE B
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 32 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                             Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
172 RIVERA LLERA, IVETTE          06/29/18   Commonwealth of Puerto         131713             Undetermined* RIVERA LLERA, IVETTE    06/29/18   Commonwealth of Puerto    144934       Undetermined*
    PO BOX 1893                              Rico                                                            PO BOX 1893                        Rico
    GUAYAMA, PR 00785                        17 BK 03283-LTS                                                 GUAYAMA, PR 00785                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
173 RIVERA LOZADA,                07/02/18   Commonwealth of Puerto         165777                $ 21,277.27 RIVERA LOZADA,         07/02/18   Commonwealth of Puerto    166050          $ 21,277.27
    EVELYN N                                 Rico                                                             EVELYN N                          Rico
    EDIF B APT 1102                          17 BK 03283-LTS                                                  EDIF B APT 1102                   17 BK 03283-LTS
    SAN JUAN, PR 00917                                                                                        SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
174 RIVERA LOZADA,                07/02/18   Commonwealth of Puerto         166039                $ 21,277.27 RIVERA LOZADA,         07/02/18   Commonwealth of Puerto    166050          $ 21,277.27
    EVELYN N                                 Rico                                                             EVELYN N                          Rico
    EDIF B APT 1102                          17 BK 03283-LTS                                                  EDIF B APT 1102                   17 BK 03283-LTS
    SAN JUAN, PR 00917                                                                                        SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 RIVERA MALAVE,                06/28/18   Commonwealth of Puerto         125535             Undetermined* RIVERA MALAVE,          06/28/18   Commonwealth of Puerto    146562       Undetermined*
    WILSON                                   Rico                                                            WILSON                             Rico
    HC-38 BOX 6773                           17 BK 03283-LTS                                                 HC 38 BOX 6773                     17 BK 03283-LTS
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
176 RIVERA MARRERO,               06/25/18   Commonwealth of Puerto         90241              Undetermined* RIVERA MARRERO,         06/28/18   Commonwealth of Puerto    155277       Undetermined*
    MARIA E                                  Rico                                                            MARIA E                            Rico
    PO BOX 10160                             17 BK 03283-LTS                                                 HC-01 BOX 10160                    17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
177 RIVERA MARTINEZ PSC,          05/28/18   Commonwealth of Puerto         25388                 $ 17,990.00 RIVERA MARTINEZ PSC,   05/28/18   Commonwealth of Puerto    25479           $ 17,990.00
    OSCAR                                    Rico                                                             OSCAR                             Rico
    PO BOX 6299                              17 BK 03283-LTS                                                  PO BOX 6299                       17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                          CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 33 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
178 RIVERA MARTINEZ,              06/27/18   Commonwealth of Puerto         72976              Undetermined* RIVERA MARTINEZ,        06/27/18   Commonwealth of Puerto    98729        Undetermined*
    OLGA MARIA                               Rico                                                            OLGA MARIA                         Rico
    #2329 CALLE                              17 BK 03283-LTS                                                 #2329 TABONUCCI URB.               17 BK 03283-LTS
    TABONUCO                                                                                                 LOS CAOBOS
    URB LOS CAOBOS                                                                                           PONCE, PR 00716
    PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
179 RIVERA MARTINEZ,              06/27/18   Commonwealth of Puerto         100951             Undetermined* RIVERA MARTINEZ,        06/27/18   Commonwealth of Puerto    104084       Undetermined*
    OLGA MARIA                               Rico                                                            OLGA MARIA                         Rico
    #2329 URB LOS CAOBOS                     17 BK 03283-LTS                                                 #2329 URB. LOS CAOBOS              17 BK 03283-LTS
    TABONUCO                                                                                                 CALLE TABONUCO
    PONCE, PR 00716                                                                                          PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
180 RIVERA MASS, JOE              06/20/18   Commonwealth of Puerto         30793              Undetermined* RIVERA MASS, JOE        06/20/18   Commonwealth of Puerto    42187        Undetermined*
    LOUIS                                    Rico                                                            LOUIS                              Rico
    7107 SOCIETY DRIVE                       17 BK 03283-LTS                                                 7107 SOCIETY DRIVE                 17 BK 03283-LTS
    APARTMENT A                                                                                              APARTMENT A
    TAMPA, FL 33617                                                                                          TAMPA, FL 33617

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
181 RIVERA MATOS,                 05/14/18   Commonwealth of Puerto         14740              Undetermined* RIVERA MATOS,           07/06/18   Commonwealth of Puerto    165035       Undetermined*
    ROBERT                                   Rico                                                            ROBERT                             Rico
    PO BOX 40643                             17 BK 03283-LTS                                                 PO BOX 40643                       17 BK 03283-LTS
    MINILLAS STATION                                                                                         MINILLAS STATION
    SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
182 RIVERA MENDEZ,                07/06/18   Commonwealth of Puerto         135552                  $ 6,000.00 RIVERA MENDEZ,        07/06/18   Commonwealth of Puerto    152316           $ 6,000.00
    MARIA                                    Rico                                                              MARIA                            Rico
    HC9 B2 92705                             17 BK 03283-LTS                                                   HC 9 BZ 92705                    17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                          SAN SEBASTIAN, PR
    00685                                                                                                      00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 34 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
183 RIVERA MORALES,               04/09/18   Commonwealth of Puerto          5642                 $ 5,700.00* RIVERA MORALES,         04/09/18   Commonwealth of Puerto    5796            $ 5,700.00*
    GLENDA LIZ                               Rico                                                             GLENDA LIZ                         Rico
    LYMARIS PEREZ                            17 BK 03283-LTS                                                  LYMARIS PEREZ                      17 BK 03283-LTS
    RODRIGUEZ                                                                                                 RODRIGUEZ
    PO BOX 195287                                                                                             PO BOX 195287
    SAN JUAN, PR 00919                                                                                        SAN JUAN, PR 00919

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
184 RIVERA NIEVES, JOSE           07/06/18   Commonwealth of Puerto         97549              Undetermined* RIVERA NIEVES, JOSE      07/06/18   Commonwealth of Puerto    159168       Undetermined*
    M.                                       Rico                                                            M.                                  Rico
    NORA CRUZ MOLINA                         17 BK 03283-LTS                                                 LCDA. NORA CRUZ                     17 BK 03283-LTS
    PO BOC 2795                                                                                              MOLINA
    ARECIBO, PR 00613-2795                                                                                   PO BOX 2795
                                                                                                             ARECIBO, PR 00613-2795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
185 RIVERA NIEVES, MARIA          03/19/18   Commonwealth of Puerto          3399              Undetermined* RIVERA NIEVES, MARIA     04/02/18   Commonwealth of Puerto    5652         Undetermined*
    M                                        Rico                                                            M                                   Rico
    URB LA MARINA                            17 BK 03283-LTS                                                 C/A ERIDANO #28                     17 BK 03283-LTS
    28 CALLE ERIDANO                                                                                         URB LA MARINA
    CAROLINA, PR 00979                                                                                       CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
186 RIVERA NIEVES, MARIA          03/19/18   Commonwealth of Puerto          3523              Undetermined* RIVERA NIEVES, MARIA     04/02/18   Commonwealth of Puerto    5652         Undetermined*
    M                                        Rico                                                            M                                   Rico
    URB LA MARINA                            17 BK 03283-LTS                                                 C/A ERIDANO #28                     17 BK 03283-LTS
    28 C ERIDANO                                                                                             URB LA MARINA
    CAROLINA, PR 00979                                                                                       CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
187 RIVERA NIEVES, MARIA          03/26/18   Commonwealth of Puerto          4839              Undetermined* RIVERA NIEVES, MARIA     04/02/18   Commonwealth of Puerto    5652         Undetermined*
    M                                        Rico                                                            M                                   Rico
    LA MARINA                                17 BK 03283-LTS                                                 C/A ERIDANO #28                     17 BK 03283-LTS
    28 CALLE ERIDANO                                                                                         URB LA MARINA
    CAROLINA, PR 00979                                                                                       CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 35 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
188 RIVERA NIEVES,                06/28/18   Commonwealth of Puerto         138795             Undetermined* RIVERA NIEVES,           06/28/18   Commonwealth of Puerto    140640       Undetermined*
    ROBERTO                                  Rico                                                            ROBERTO                             Rico
    PO BOX 1027 SAINT JUST                   17 BK 03283-LTS                                                 CALLE 7 PARCELE 10                  17 BK 03283-LTS
    TRUJILLO ALTO, PR                                                                                        SAINT JUST
    00978-1027                                                                                               CAROLINA, PR 00978-
                                                                                                             1027

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
189 RIVERA ORTIZ,                 05/24/18   Commonwealth of Puerto         23464              Undetermined* RIVERA ORTIZ,            05/24/18   Commonwealth of Puerto    29301        Undetermined*
    BENIGNO                                  Rico                                                            BENIGNO                             Rico
    PO BOX 372                               17 BK 03283-LTS                                                 PO BOX 372                          17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
190 RIVERA ORTIZ, EVELYN          07/06/18   Commonwealth of Puerto         153831                $ 15,625.00 RIVERA ORTIZ, EVELYN    06/28/18   Commonwealth of Puerto    65163            $ 15,625.00
    HC 2 BOX 8407                            Rico                                                             HC 2 BOX 8407                      Rico
    FLORIDA, PR 00650                        17 BK 03283-LTS                                                  FLORIDA, PR 00650                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
191 RIVERA PASTRANA,              05/17/18   Commonwealth of Puerto         16188              Undetermined* RIVERA PASTRANA,         05/17/18   Commonwealth of Puerto    16193         $ 150,000.00*
    ALAN YAHIR                               Rico                                                            ALAN YAHIR                          Rico
    PO BOX 1613                              17 BK 03283-LTS                                                 PO BOX 1613                         17 BK 03283-LTS
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00977                                                                                                    00977

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
192 RIVERA PEDROGO,               06/29/18   Commonwealth of Puerto         101817             Undetermined* RIVERA PEDROGO,          06/29/18   Commonwealth of Puerto    110588       Undetermined*
    ELSA M                                   Rico                                                            ELSA M                              Rico
    HC-02 BOX 13303                          17 BK 03283-LTS                                                 HC-02 BOX 13303                     17 BK 03283-LTS
    AIBONITO, PR 00705                                                                                       AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
193 RIVERA PERCY, VICTOR          05/07/18   Commonwealth of Puerto         13295              $ 5,000,000.00* RIVERA PERCY, VICTOR   05/07/18   Commonwealth of Puerto    13357        $ 5,000,000.00*
    URB VILLA GRILLASCA                      Rico                                                              URB VILLA GRILLASCA               Rico
    937 CALLE VIRGILIO                       17 BK 03283-LTS                                                   937 CALLE VIRGILIO                17 BK 03283-LTS
    BIAGGI                                                                                                     BIAGGI
    PONCE, PR 00717                                                                                            PONCE, PR 00717

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 36 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
194 RIVERA PERCY, VICTOR          05/07/18   Commonwealth of Puerto         13861              $ 5,000,000.00* RIVERA PERCY, VICTOR   05/07/18   Commonwealth of Puerto    17052        $ 5,000,000.00*
    T                                        Rico                                                              T                                 Rico
    URB. VILLA GRILLASCA                     17 BK 03283-LTS                                                   VILLA GRILLASCA                   17 BK 03283-LTS
    CALLE VIRGILIO                                                                                             937 CALLE VIRGILIO
    BIAGGI #937                                                                                                BIAGGI
    PONCE, PR 00717                                                                                            PONCE, PR 00717

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
195 RIVERA PERCY, VICTOR          05/07/18   Commonwealth of Puerto         14394              $ 5,000,000.00* RIVERA PERCY, VICTOR   05/07/18   Commonwealth of Puerto    17052        $ 5,000,000.00*
    T                                        Rico                                                              T                                 Rico
    JUAN R. RODRIGUEZ                        17 BK 03283-LTS                                                   VILLA GRILLASCA                   17 BK 03283-LTS
    PO BOX 7693                                                                                                937 CALLE VIRGILIO
    PONCE, PR 00732                                                                                            BIAGGI
                                                                                                               PONCE, PR 00717

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 RIVERA PEREZ, JUAN            06/26/18   Commonwealth of Puerto         94277              Undetermined* RIVERA PEREZ, JUAN       06/26/18   Commonwealth of Puerto    108592       Undetermined*
    MARCOS                                   Rico                                                            MARCOS                              Rico
    URB BUENOS AIRES                         17 BK 03283-LTS                                                 URB BUENOS AIRES                    17 BK 03283-LTS
    31 CALLE B                                                                                               31 CALLE B
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
197 RIVERA PEREZ, LUISA M         04/09/18   Commonwealth of Puerto          4837              Undetermined* RIVERA PEREZ, LUISA M    04/09/18   Commonwealth of Puerto    6838         Undetermined*
    URB REPARTO                              Rico                                                            URB REPTO                           Rico
    CONTEMPORANEO                            17 BK 03283-LTS                                                 CONTEPORANEO                        17 BK 03283-LTS
    D-15 CALLE E                                                                                             BLQ D 15 CALLE E
    RIO PIEDRAS, PR 00926                                                                                    SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 RIVERA PÉREZ,                 05/25/18   Commonwealth of Puerto         26687                   $ 5,000.00 RIVERA, GIOVANNI       05/25/18   Commonwealth of Puerto    34218             $ 5,000.00
    NORBERTO                                 Rico                                                              C/O ANTONIO BAUZA-                Rico
    ANTONIO BAUZA                            17 BK 03283-LTS                                                   TORRES                            17 BK 03283-LTS
    AVE. MUÑOZ RIVERA                                                                                          602 AV. M. RIVERA DE
    602 EDIFICIO LEMANS                                                                                        MMS BLG 402
    OFICINA 402                                                                                                HATO REY, PR 00918
    HATO REY, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 37 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                             Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
199 RIVERA RAMOS,                 06/28/18   Commonwealth of Puerto         118284             Undetermined* RIVERA RAMOS,           06/28/18   Commonwealth of Puerto    130786       Undetermined*
    MIGUELINA                                Rico                                                            MIGUELINA                          Rico
    ARIZONA #2 CASA #27                      17 BK 03283-LTS                                                 ARIZONA #2 CUSA #27                17 BK 03283-LTS
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
200 RIVERA RAMOS,                 06/28/18   Commonwealth of Puerto         126517             Undetermined* RIVERA RAMOS,           06/28/18   Commonwealth of Puerto    130786       Undetermined*
    MIGUELINA                                Rico                                                            MIGUELINA                          Rico
    ARIZONA #2 CASA #27                      17 BK 03283-LTS                                                 ARIZONA #2 CUSA #27                17 BK 03283-LTS
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 RIVERA RAMOS,                 06/28/18   Commonwealth of Puerto         126669             Undetermined* RIVERA RAMOS,           06/28/18   Commonwealth of Puerto    130786       Undetermined*
    MIGUELINA                                Rico                                                            MIGUELINA                          Rico
    ARIZONA #2 CASA #27                      17 BK 03283-LTS                                                 ARIZONA #2 CUSA #27                17 BK 03283-LTS
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
202 RIVERA REYES , NITZA          05/29/18   Commonwealth of Puerto         39455                 $ 44,031.69 RIVERA REYES , NITZA   05/29/18   Commonwealth of Puerto    41749           $ 44,031.69
    I.                                       Rico                                                             I.                                Rico
    SIERRA BERDECIA                          17 BK 03283-LTS                                                  SIERRA BERDECIA                   17 BK 03283-LTS
    H 35 CALLE GARCIA                                                                                         H 35 CALLE GARCIA
    GUAYNABO, PR 00969                                                                                        GUAYNABO, PR 00969

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 RIVERA REYES, AIDA            06/27/18   Commonwealth of Puerto         42508              Undetermined* RIVERA REYES, AIDA      06/28/18   Commonwealth of Puerto    118628       Undetermined*
    LUZ                                      Rico                                                            LUZ                                Rico
    URB SANTA RITA G18                       17 BK 03283-LTS                                                 URB. SANTA RITA G18                17 BK 03283-LTS
    CALLE 1                                                                                                  CALLE 1
    VEGA ALTA, PR 00692                                                                                      VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 RIVERA REYES,                 06/27/18   Commonwealth of Puerto         44738              Undetermined* RIVERA REYES,           06/28/18   Commonwealth of Puerto    113188       Undetermined*
    RAMONA                                   Rico                                                            RAMONA                             Rico
    PO BOX 1257                              17 BK 03283-LTS                                                 PO BOX 1257                        17 BK 03283-LTS
    VEGA ALTA, PR 00692                                                                                      VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 38 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
205 RIVERA RIOS, ROBERTO          05/29/18   Commonwealth of Puerto         38839              Undetermined* RIVERA RIOS, ROBERTO     05/29/18   Commonwealth of Puerto    38848        Undetermined*
    RR 2 BOX 2909                            Rico                                                            RR 2 BOX 2909                       Rico
    ANASCO, PR 00610                         17 BK 03283-LTS                                                 ANASCO, PR 00610                    17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
206 RIVERA RIOS, WANDA            07/02/18   Commonwealth of Puerto         113322                $ 1,700.00* RIVERA RIOS, WANDA      07/09/18   Commonwealth of Puerto    161175          $ 1,700.00*
    URB. ANA MARIA                           Rico                                                             URB. ANA MARIA                     Rico
    CALLE 5 A 9                              17 BK 03283-LTS                                                  CALLE 5-A9                         17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                       CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
207 RIVERA RIVERA,                05/25/18   Commonwealth of Puerto         25357                       $ 771.00 RIVERA RIVERA,       05/25/18   Commonwealth of Puerto    27902             $ 771.00
    ANIEVETTE                                Rico                                                                ANIEVETTE                       Rico
    PO BOX 1687                              17 BK 03283-LTS                                                     BO. SALTIS CABRAS               17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                           PO BOX 1687
                                                                                                                 OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 RIVERA RIVERA,                05/08/18   Commonwealth of Puerto         10732                 $ 11,912.69 RIVERA RIVERA,          05/08/18   Commonwealth of Puerto    11097           $ 11,912.69
    FLORINDA                                 Rico                                                             FLORINDA                           Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                     COLON
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 RIVERA RIVERA, JOSE           05/25/18   Commonwealth of Puerto         22988              Undetermined* RIVERA RIVERA, JOSE      05/25/18   Commonwealth of Puerto    23154        Undetermined*
    JUAN                                     Rico                                                            JUAN                                Rico
    RR 02 BOX 6187                           17 BK 03283-LTS                                                 RR 02 BOX 6187                      17 BK 03283-LTS
    TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 39 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
210 RIVERA RIVERA,                06/06/18   Commonwealth of Puerto         48984              Undetermined* RIVERA RIVERA,           06/06/18   Commonwealth of Puerto    48988        Undetermined*
    MARILYN                                  Rico                                                            MARILYN                             Rico
    BARRIO COCO NUEVO                        17 BK 03283-LTS                                                 BARRIO COCO NUEVO                   17 BK 03283-LTS
    153 CALLE ROOSEVELT                                                                                      153 CALLE ROOSEVELT
    SALINAS, PR 00751                                                                                        SALINAS, PR 00751

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 RIVERA RODRIGUEZ,             06/28/18   Commonwealth of Puerto         115376             Undetermined* RIVERA RODRIGUEZ,        07/02/18   Commonwealth of Puerto    140780       Undetermined*
    ANA CELIA                                Rico                                                            ANA CELIA                           Rico
    725 CONCEPCION VERA                      17 BK 03283-LTS                                                 725 CONCEPCION VERA                 17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
212 RIVERA RODRIGUEZ,             06/28/18   Commonwealth of Puerto         68333              Undetermined* RIVERA RODRIGUEZ,        06/28/18   Commonwealth of Puerto    69661        Undetermined*
    CARMEN M.                                Rico                                                            CARMEN M.                           Rico
    PO BOX 1387                              17 BK 03283-LTS                                                 P.O BOX 1387                        17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
213 RIVERA RODRÍGUEZ,             07/06/18   Commonwealth of Puerto         95280              Undetermined* RIVERA RODRÍGUEZ,        07/06/18   Commonwealth of Puerto    96049        Undetermined*
    DORIS Z.                                 Rico                                                            DORIS Z.                            Rico
    HC05 BOX 25616                           17 BK 03283-LTS                                                 HC 05 BOX 25616                     17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 RIVERA RODRIGUEZ,             05/17/18   Commonwealth of Puerto         16148              Undetermined* RIVERA RODRIGUEZ,        05/17/18   Commonwealth of Puerto    16156        Undetermined*
    MAYRA E                                  Rico                                                            MAYRA E                             Rico
    URB MARIA ANTONIA                        17 BK 03283-LTS                                                 MARIA ANTONIA                       17 BK 03283-LTS
    CALLE 4 G 670                                                                                            G 670 CALLE 4
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
215 RIVERA ROSADO, JANET          05/28/18   Commonwealth of Puerto         20945              Undetermined* RIVERA ROSADO, JANET     05/28/18   Commonwealth of Puerto    24634        Undetermined*
    URB VILLA FONTANA                        Rico                                                            VIA 19 RR-7 URB. VILLA              Rico
    RR 7 VIA 19                              17 BK 03283-LTS                                                 FONTANA                             17 BK 03283-LTS
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 40 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                          Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
216 RIVERA ROSARIO,               06/26/18   Commonwealth of Puerto         92315              Undetermined* RIVERA ROSARIO,      06/29/18   Commonwealth of Puerto    83000        Undetermined*
    GERALDO                                  Rico                                                            GERALDO                         Rico
    PO BOX 60                                17 BK 03283-LTS                                                 PO BOX 60                       17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
217 RIVERA ROSARIO,               06/26/18   Commonwealth of Puerto         100359             Undetermined* RIVERA ROSARIO,      06/29/18   Commonwealth of Puerto    62293        Undetermined*
    GERALDO                                  Rico                                                            GERALDO                         Rico
    PO BOX 60                                17 BK 03283-LTS                                                 PO BOX 60                       17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
218 RIVERA ROSARIO,               06/26/18   Commonwealth of Puerto         122736             Undetermined* RIVERA ROSARIO,      06/29/18   Commonwealth of Puerto    83715        Undetermined*
    GERALDO                                  Rico                                                            GERALDO                         Rico
    PO BOX 60                                17 BK 03283-LTS                                                 PO BOX 60                       17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 RIVERA ROSARIO,               06/06/18   Commonwealth of Puerto         49265              Undetermined* RIVERA ROSARIO,      06/06/18   Commonwealth of Puerto    49273        Undetermined*
    IVELISSE                                 Rico                                                            IVELISSE                        Rico
    PO BOX 1290                              17 BK 03283-LTS                                                 URB SOLYMAR                     17 BK 03283-LTS
    ARROYO, PR 00714                                                                                         E 2 CALLE CARACOL
                                                                                                             PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
220 RIVERA ROSARIO,               06/29/18   Commonwealth of Puerto         69339              Undetermined* RIVERA ROSARIO,      06/29/18   Commonwealth of Puerto    76125        Undetermined*
    LILLIAM                                  Rico                                                            LILLIAM                         Rico
    1537 AMBER LEAF                          17 BK 03283-LTS                                                 1537 AMBER LEAF                 17 BK 03283-LTS
    CIRCLE                                                                                                   CIRCLE
    OCOEE, PR 34761                                                                                          OCOEE, 34761

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
221 RIVERA ROSARIO,               06/28/18   Commonwealth of Puerto         72675              Undetermined* RIVERA ROSARIO,      06/29/18   Commonwealth of Puerto    92009        Undetermined*
    LILLIAM                                  Rico                                                            LILLIAM                         Rico
    1537 AMBER LEAF                          17 BK 03283-LTS                                                 1537 AMBER LEAF                 17 BK 03283-LTS
    CIRCLE                                                                                                   CIRCLE
    OCOEE, FL 34761                                                                                          OCOEE, PR 34787

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 41 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
222 RIVERA ROSARIO,               06/28/18   Commonwealth of Puerto         73460              Undetermined* RIVERA ROSARIO,        06/29/18   Commonwealth of Puerto    76125        Undetermined*
    LILLIAM                                  Rico                                                            LILLIAM                           Rico
    !537 AMBER LEAF                          17 BK 03283-LTS                                                 1537 AMBER LEAF                   17 BK 03283-LTS
    CIRCLE                                                                                                   CIRCLE
    OCOEE, FL 34761                                                                                          OCOEE, 34761

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
223 RIVERA ROSARIO, LUIS          06/29/18   Commonwealth of Puerto         167888             Undetermined* RIVERA ROSARIO, LUIS   07/03/18   Commonwealth of Puerto    167886       Undetermined*
    M.                                       Rico                                                            M.                                Rico
    RR 01 BOX 2156                           17 BK 03283-LTS                                                 RR01 BOX 2156                     17 BK 03283-LTS
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
224 RIVERA SALGADO,               06/05/18   Commonwealth of Puerto         36461              Undetermined* RIVERA SALGADO,        06/05/18   Commonwealth of Puerto    47040        Undetermined*
    MARTA B.                                 Rico                                                            MARTA B.                          Rico
    CALLE CRISTINO                           17 BK 03283-LTS                                                 CALLE CRISTINO                    17 BK 03283-LTS
    FIGUEROA #48                                                                                             FIGUEROA #48
    BO COQUI                                                                                                 BO COQUI
    AGUIRRE, PR 00704                                                                                        AGUIRRE, PR 00704

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
225 RIVERA SANCHEZ,               07/03/18   Commonwealth of Puerto         107926             Undetermined* RIVERA SANCHEZ,        07/03/18   Commonwealth of Puerto    109250       Undetermined*
    ANGELINA                                 Rico                                                            ANGELINA                          Rico
    HC 3 BOX 12557                           17 BK 03283-LTS                                                 HC 3 BOX 12557                    17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
226 RIVERA SANTIAGO,              06/29/18   Commonwealth of Puerto         76772              Undetermined* RIVERA SANTIAGO,       06/29/18   Commonwealth of Puerto    87628        Undetermined*
    NORMA ENID                               Rico                                                            NORMA ENID                        Rico
    URB. SAN CARLOS A9                       17 BK 03283-LTS                                                 URB. SAN CARLOS A9                17 BK 03283-LTS
    CÍRCULO SAN JOSÉ                                                                                         CIRCULO SAN JOSE
    AGUADILLA, PR 00603                                                                                      AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 42 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
227 RIVERA VALENTIN,              05/28/18   Commonwealth of Puerto         23108              Undetermined* RIVERA VALENTIN,       05/28/18   Commonwealth of Puerto    25028        Undetermined*
    NANCY                                    Rico                                                            NANCY                             Rico
    URB RAFAEL                               17 BK 03283-LTS                                                 URB RAFAEL                        17 BK 03283-LTS
    BERMUDEZ                                                                                                 BERMUDEZ
    A 14 CALLE IRENE                                                                                         A 14 CALLE IRENE
    FAJARDO, PR 00738                                                                                        FAJARDO, PR 00738

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 RIVERA VAZQUEZ,               04/06/18   Commonwealth of Puerto          6695              Undetermined* RIVERA VAZQUEZ,        04/16/18   Commonwealth of Puerto    7521         Undetermined*
    ANGEL V                                  Rico                                                            ANGEL V                           Rico
    URB SAN JOSE                             17 BK 03283-LTS                                                 CALLE 9 BUZON 85                  17 BK 03283-LTS
    BUZON 85 CALLE 9                                                                                         URB. SAN JOSE
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
229 RIVERA VAZQUEZ,               04/06/18   Commonwealth of Puerto          6806              Undetermined* RIVERA VAZQUEZ,        04/16/18   Commonwealth of Puerto    7521         Undetermined*
    ANGEL V                                  Rico                                                            ANGEL V                           Rico
    URB SAN JOSE                             17 BK 03283-LTS                                                 CALLE 9 BUZON 85                  17 BK 03283-LTS
    BUZON 85 CALLE 9                                                                                         URB. SAN JOSE
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
230 RIVERA VAZQUEZ,               04/06/18   Commonwealth of Puerto          7428              Undetermined* RIVERA VAZQUEZ,        04/16/18   Commonwealth of Puerto    7521         Undetermined*
    ANGEL V                                  Rico                                                            ANGEL V                           Rico
    URB SAN JOSE                             17 BK 03283-LTS                                                 CALLE 9 BUZON 85                  17 BK 03283-LTS
    BUZON 85 CALLE 9                                                                                         URB. SAN JOSE
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
231 RIVERA VAZQUEZ,               06/27/18   Commonwealth of Puerto         55157                 $ 15,000.00 RIVERA VAZQUEZ,       07/06/18   Commonwealth of Puerto    153032          $ 15,000.00
    MARISOL                                  Rico                                                             MARISOL                          Rico
    CALLE 17 BUZON 382                       17 BK 03283-LTS                                                  CALLE 17 BUZON 382               17 BK 03283-LTS
    SAN ISIDRO                                                                                                SAN ISIDRO
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 43 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
232 RIVERA VEGA,                  05/02/18   Commonwealth of Puerto          9462                 $ 45,233.31 RIVERA VEGA,            05/02/18   Commonwealth of Puerto    10179           $ 45,233.31
    WILLIAM M.                               Rico                                                             WILLIAM M.                         Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                     COLON
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 RIVERA VELEZ, JUAN R          05/04/18   Commonwealth of Puerto          8527              Undetermined* RIVERA VELEZ, JUAN R     05/07/18   Commonwealth of Puerto    9360         Undetermined*
    CALLE JAIME MEDISON                      Rico                                                            URB JOSE MERCADO                    Rico
    U127 JOSE MERCA                          17 BK 03283-LTS                                                 U 127 CALLE JAMES                   17 BK 03283-LTS
    CAGUAS, PR 00626                                                                                         MADISON
                                                                                                             CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
234 RIVERA VELEZ, JUAN R          05/04/18   Commonwealth of Puerto         11771              Undetermined* RIVERA VELEZ, JUAN R     05/07/18   Commonwealth of Puerto    9360         Undetermined*
    U127 CALLE JAMES                         Rico                                                            URB JOSE MERCADO                    Rico
    MADISON                                  17 BK 03283-LTS                                                 U 127 CALLE JAMES                   17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         MADISON
                                                                                                             CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
235 RIVERA, NORMA JULIA           06/22/18   Commonwealth of Puerto         34899              Undetermined* RIVERA, NORMA JULIA      06/25/18   Commonwealth of Puerto    53202        Undetermined*
    P.O. BOX 622                             Rico                                                            P.O. BOX 622                        Rico
    YAUCO, PR 00698                          17 BK 03283-LTS                                                 YAUCO, PR 00698                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
236 ROBLEDO BURGOS,               06/25/18   Commonwealth of Puerto         90516              Undetermined* ROBLEDO BURGOS,          06/26/18   Commonwealth of Puerto    86554        Undetermined*
    MARGARITA                                Rico                                                            MARGARITA                           Rico
    P.O. BOX 1243                            17 BK 03283-LTS                                                 PO BOX 1243                         17 BK 03283-LTS
    OROCOVIS, PR 00720-                                                                                      OROCOVIS, PR 00720-
    1243                                                                                                     1243

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 44 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
237 ROBLES ANAYA, IDALIA          06/29/18   Commonwealth of Puerto         136513             Undetermined* ROBLES ANAYA, IDALIA     06/29/18   Commonwealth of Puerto    154618       Undetermined*
    PO BOX 57                                Rico                                                            BOX 57                              Rico
    ARROYO, PR 00714-0057                    17 BK 03283-LTS                                                 ARROYO, PR 00714                    17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 ROBLES BERMUDEZ,              03/05/18   Commonwealth of Puerto           820              Undetermined* ROBLES BERMUDEZ,         03/06/18   Commonwealth of Puerto     968         Undetermined*
    ADA                                      Rico                                                            ADA                                 Rico
    URB ROYAL TOWN                           17 BK 03283-LTS                                                 URB ROYAL TOWN                      17 BK 03283-LTS
    231 CALLE 45                                                                                             231 CALLE 45
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 ROBLES IRIS, ALAMEDA          06/25/18   Commonwealth of Puerto         89225              Undetermined* ROBLES IRIS, ALAMEDA     06/27/18   Commonwealth of Puerto    87136        Undetermined*
    1904 CALLE LA                            Rico                                                            1904 CALLE LA                       Rico
    MILAGROSA                                17 BK 03283-LTS                                                 MILAGROSA                           17 BK 03283-LTS
    URB. LA GUADALUPE                                                                                        URB-LA GUADALUPE
    PONCE, PR 00730-4307                                                                                     PONCE, PR 00730-4307

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
240 ROBLES MALDONADO,             06/29/18   Commonwealth of Puerto         140071             Undetermined* ROBLES MALDONADO,        06/29/18   Commonwealth of Puerto    144082       Undetermined*
    OFELIA                                   Rico                                                            OFELIA                              Rico
    HC01 BOX 10315                           17 BK 03283-LTS                                                 HC 01 BOX 10315                     17 BK 03283-LTS
    GUAYANILLA, PR 00656                                                                                     BO. MACANA
                                                                                                             GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 ROCHE AGUIRRE,                06/29/18   Commonwealth of Puerto         88371              Undetermined* ROCHE AGUIRRE,           08/07/18   Commonwealth of Puerto    157901       Undetermined*
    EMMA IRIS                                Rico                                                            EMMA IRIS                           Rico
    APTDO. 116                               17 BK 03283-LTS                                                 APTDO. 116                          17 BK 03283-LTS
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
242 ROCHE NEGRON, ENID            06/24/18   Commonwealth of Puerto         40494              Undetermined* ROCHE NEGRON, ENID       06/26/18   Commonwealth of Puerto    93901        Undetermined*
    BOX 7814                                 Rico                                                            PO BOX 7814                         Rico
    PONCE, PR 00732                          17 BK 03283-LTS                                                 PONCE, PR 00732                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 45 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                             Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
243 ROCKET LEARNING,              06/29/18   Commonwealth of Puerto         93561               $ 618,529.39* ROCKET LEARNING,       06/29/18   Commonwealth of Puerto    115471        $ 618,529.39*
    LLC                                      Rico                                                             LLC                               Rico
    ATTN: HAYS LINDSLEY                      17 BK 03283-LTS                                                  ATTN: HAYS LINDSLEY               17 BK 03283-LTS
    3000 TURTLE CREEK                                                                                         3000 TURTLE CREEK
    BLVD                                                                                                      BLVD.
    DALLAS, TX 75219                                                                                          DALLAS, TX 75219

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 RODRIGUEZ AGOSTO,             06/28/18   Commonwealth of Puerto         63545                   $ 4,000.00 RODRIGUEZ AGOSTO,     06/28/18   Commonwealth of Puerto    117662          $ 4,000.00*
    NANCY                                    Rico                                                              NANCY                            Rico
    RR. 3 BOX 3715                           17 BK 03283-LTS                                                   RM. 20 HM 6 BO. RIO              17 BK 03283-LTS
    SAN JUAN, PR 00926-9612                                                                                    GUAYNABO, PR 00970

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
245 RODRIGUEZ ALICEA,             06/28/18   Commonwealth of Puerto         112239             Undetermined* RODRIGUEZ ALICEA,       06/29/18   Commonwealth of Puerto    128722       Undetermined*
    LISSETTE                                 Rico                                                            LISSETTE                           Rico
    URB OLYMPIC VILLE                        17 BK 03283-LTS                                                 URB. OLYMPIC VILLE                 17 BK 03283-LTS
    46 CALLE AMSTERDAM                                                                                       LAS PIEDRAS, PR 00771
    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 RODRIGUEZ ALICEA,             06/28/18   Commonwealth of Puerto         113260             Undetermined* RODRIGUEZ ALICEA,       06/29/18   Commonwealth of Puerto    128722       Undetermined*
    LISSETTE                                 Rico                                                            LISSETTE                           Rico
    URB. OLYMPIC VILLE                       17 BK 03283-LTS                                                 URB. OLYMPIC VILLE                 17 BK 03283-LTS
    46 CALLE AMSTERDAM                                                                                       LAS PIEDRAS, PR 00771
    LAS PIEDREAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
247 RODRIGUEZ ALICEA,             06/28/18   Commonwealth of Puerto         114232             Undetermined* RODRIGUEZ ALICEA,       06/29/18   Commonwealth of Puerto    128722       Undetermined*
    LISSETTE                                 Rico                                                            LISSETTE                           Rico
    URB OLYMPIC VILLE 46                     17 BK 03283-LTS                                                 URB. OLYMPIC VILLE                 17 BK 03283-LTS
    CALLE AMSTERDAM                                                                                          LAS PIEDRAS, PR 00771
    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 46 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
248 RODRIGUEZ ANDUJAR,            06/26/18   Commonwealth of Puerto         52199                 $ 21,420.00 RODRIGUEZ ANDUJAR,      07/05/18   Commonwealth of Puerto    156185          $ 21,420.00
    ISAIRA                                   Rico                                                             ISAIRA                             Rico
    PO BOX 2498                              17 BK 03283-LTS                                                  PO BOX 2498                        17 BK 03283-LTS
    ARECIBO, PR 00613                                                                                         ARECIBO, PR 00613

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 RODRIGUEZ ARZUAGA,            06/27/18   Commonwealth of Puerto         110628             Undetermined* RODRIGUEZ ARZUAGA,       06/27/18   Commonwealth of Puerto    134459       Undetermined*
    BLANCA I                                 Rico                                                            BLANCA I                            Rico
    PMB 121 P.O. BOX 4956                    17 BK 03283-LTS                                                 PMB 121 PO BOX 4956                 17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
250 RODRIGUEZ ARZUAGA,            06/27/18   Commonwealth of Puerto         127813             Undetermined* RODRIGUEZ ARZUAGA,       06/27/18   Commonwealth of Puerto    134459       Undetermined*
    BLANCA I                                 Rico                                                            BLANCA I                            Rico
    PMB 121 P.O. BOX 4956                    17 BK 03283-LTS                                                 PMB 121 PO BOX 4956                 17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 RODRIGUEZ ARZUAGA,            06/27/18   Commonwealth of Puerto         140685             Undetermined* RODRIGUEZ ARZUAGA,       06/27/18   Commonwealth of Puerto    161931       Undetermined*
    BLANCA I.                                Rico                                                            BLANCA I.                           Rico
    PMB 121 P.O.BOX 4956                     17 BK 03283-LTS                                                 PMB 121 PO BOX 4956                 17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
252 RODRIGUEZ BARRETO,            05/29/18   Commonwealth of Puerto         37209              Undetermined* RODRIGUEZ BARRETO,       05/25/18   Commonwealth of Puerto    31724        Undetermined*
    RUTH D                                   Rico                                                            RUTH D                              Rico
    HC 1 BOX 3920                            17 BK 03283-LTS                                                 HC 1 BOX 3920                       17 BK 03283-LTS
    FLORIDA, PR 00650-9720                                                                                   FLORIDA, PR 00650-9720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
253 RODRIGUEZ BERRIOS,            05/01/18   Commonwealth of Puerto          9828              Undetermined* RODRIGUEZ BERRIOS,       05/01/18   Commonwealth of Puerto    9921         Undetermined*
    ORLANDO                                  Rico                                                            ORLANDO                             Rico
    EXT ROIG                                 17 BK 03283-LTS                                                 50 EXT. ROIG                        17 BK 03283-LTS
    125 CALLE 4                                                                                              HUMACAO, PR 00791
    HUMACAO, PR 00791-
    3423

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 47 of 93
                                      Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                             Desc:
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
254 RODRIGUEZ BRACERO,           05/24/18   Commonwealth of Puerto         25284              Undetermined* RODRIGUEZ BRACERO,      05/29/18   Commonwealth of Puerto    38113        Undetermined*
    JUAN R                                  Rico                                                            JUAN R                             Rico
    PARCELAS SAN                            17 BK 03283-LTS                                                 PARC SAN ROMUALDO                  17 BK 03283-LTS
    ROMUALDO                                                                                                145 CALLE P
    P BZN 146                                                                                               HORMIGUEROS, PR
    HORMIGUEROS, PR                                                                                         00660
    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
255 RODRIGUEZ                    06/27/18   Commonwealth of Puerto         77849              Undetermined* RODRIGUEZ               06/27/18   Commonwealth of Puerto    163749       Undetermined*
    CANDELARIO, LUIS                        Rico                                                            CANDELARIO, LUIS                   Rico
    ALBERTO                                 17 BK 03283-LTS                                                 ALBERTO                            17 BK 03283-LTS
    AT-8 CALLE 46                                                                                           AT-8 CALLE 46 URB. LA
    URB. LA HACIENDA                                                                                        HACIENDA
    GUAYAMA, PR 00784                                                                                       GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
256 RODRIGUEZ                    06/29/18   Commonwealth of Puerto         77857              Undetermined* RODRIGUEZ               06/29/18   Commonwealth of Puerto    82867        Undetermined*
    CARABALLO, DORIS N.                     Rico                                                            CARABALLO, DORIS N.                Rico
    HC 1 BOX 6122                           17 BK 03283-LTS                                                 HC 1 BOX 6122                      17 BK 03283-LTS
    YAUCO, PR 00698                                                                                         YAUCO, PR 00698

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
257 RODRIGUEZ CARDONA,           07/06/18   Commonwealth of Puerto         141322             Undetermined* RODRIGUEZ CARDONA,      07/06/18   Commonwealth of Puerto    159222       Undetermined*
    VANESSA                                 Rico                                                            VANESSA                            Rico
    BOX 2250                                17 BK 03283-LTS                                                 BOX 2250                           17 BK 03283-LTS
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 RODRIGUEZ CASTRO,            06/29/18   Commonwealth of Puerto         135098             Undetermined* RODRIGUEZ CASTRO,       06/29/18   Commonwealth of Puerto    141208       Undetermined*
    WIDNA L.                                Rico                                                            WIDNA L.                           Rico
    PO BOX 9777                             17 BK 03283-LTS                                                 P.O. BOX 9777 PLAZA                17 BK 03283-LTS
    PLAZA CAROLINA STA                                                                                      CAROLINA STA.
    CAROLINA, PR 00988                                                                                      CAROLINA, PR 00988

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 48 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
259 RODRIGUEZ CINTRON,            06/27/18   Commonwealth of Puerto         46096                 $ 56,699.34 RODRIGUEZ CINTRON,   06/28/18   Commonwealth of Puerto    74268          $ 56,699.34
    MILLIETTE                                Rico                                                             MILLIETTE                       Rico
    EXT. ALTURAS DE                          17 BK 03283-LTS                                                  EXT. ALTURAS DE                 17 BK 03283-LTS
    YAUCO 2                                                                                                   YAUCO 2
    315 CALLE SAROBEI                                                                                         #315 CALLE SAROBE
    YAUCO, PR 00698                                                                                           YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
260 RODRIGUEZ COLON,              04/26/18   Commonwealth of Puerto          8326                 $ 50,000.00 RODRIGUEZ COLON,     04/30/18   Commonwealth of Puerto    9699          $ 50,000.00*
    JEANETTE                                 Rico                                                             JEANETTE                        Rico
    IVAN GARAU DIAZ                          17 BK 03283-LTS                                                  IVAN GARAU DIAZ                 17 BK 03283-LTS
    CONDOMINIO EL                                                                                             CONDOMINIO EL
    CENTRO I SUITE 219                                                                                        CENTRO I SUITE 219
    #500 AVE MUNOZ                                                                                            #500 AVE MUNOZ
    RIVERA                                                                                                    RIVERA
    SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
261 RODRIGUEZ COLON,              04/30/18   Commonwealth of Puerto          8558                $ 50,000.00* RODRIGUEZ COLON,     04/30/18   Commonwealth of Puerto    9699          $ 50,000.00*
    JEANETTE                                 Rico                                                             JEANETTE                        Rico
    ATTN: IVAN GARAU                         17 BK 03283-LTS                                                  IVAN GARAU DIAZ                 17 BK 03283-LTS
    DIAZ                                                                                                      CONDOMINIO EL
    CONDOMINIO EL                                                                                             CENTRO I SUITE 219
    CENTRO I SUITE 219                                                                                        #500 AVE MUNOZ
    #500 AVE MUNOZ                                                                                            RIVERA
    RIVERA                                                                                                    SAN JUAN, PR 00918
    SAN JUAN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
262 RODRIGUEZ COLON,              04/26/18   Commonwealth of Puerto          9034                $ 50,000.00* RODRIGUEZ COLON,     04/30/18   Commonwealth of Puerto    9699          $ 50,000.00*
    JEANETTE                                 Rico                                                             JEANETTE                        Rico
    IVAN GARAU DIAZ                          17 BK 03283-LTS                                                  IVAN GARAU DIAZ                 17 BK 03283-LTS
    CONDOMINIO EL                                                                                             CONDOMINIO EL
    CENTRO I                                                                                                  CENTRO I SUITE 219
    SUITE 219                                                                                                 #500 AVE MUNOZ
    AVE MUNOZ RIVERA                                                                                          RIVERA
    #500                                                                                                      SAN JUAN, PR 00918
    SAN JUAN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 49 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
263 RODRIGUEZ COLON,              04/26/18   Commonwealth of Puerto          9527                 $ 50,000.00 RODRIGUEZ COLON,      04/30/18   Commonwealth of Puerto    9706            $ 50,000.00
    JEANETTE                                 Rico                                                             JEANETTE                         Rico
    IVAN GARAU DIAZ                          17 BK 03283-LTS                                                  IVAN GARAU DIAZ                  17 BK 03283-LTS
    CONDOMINIO EL                                                                                             CONDOMINIO EL
    CENTRO I SUITE 219                                                                                        CENTRO I
    #500 AVE MUNOZ                                                                                            SUITE 219
    RIVERA                                                                                                    AVE MUNOZ RIVERA
    SAN JUAN, PR 00918                                                                                        #500
                                                                                                              SAN JAUN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 RODRIGUEZ COTTO,              06/29/18   Commonwealth of Puerto         115896             Undetermined* RODRIGUEZ COTTO,       06/29/18   Commonwealth of Puerto    130515       Undetermined*
    AMARILIS                                 Rico                                                            AMARILIS                          Rico
    URB. VILLA CRISTINA                      17 BK 03283-LTS                                                 URB. VILLA CRISTINA               17 BK 03283-LTS
    CALLE 2 D-9                                                                                              D-9 CALLE 2
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
265 RODRIGUEZ CRUZ,               06/05/18   Commonwealth of Puerto         48202              Undetermined* RODRIGUEZ CRUZ,        06/07/18   Commonwealth of Puerto    51245        Undetermined*
    ALMA                                     Rico                                                            ALMA                              Rico
    PO BOX 182                               17 BK 03283-LTS                                                 PO BOX 182                        17 BK 03283-LTS
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
266 RODRIGUEZ ESPARRA,            04/13/18   Commonwealth of Puerto          5512                   $ 1,104.00 RODRIGUEZ ESPARRA,   05/09/18   Commonwealth of Puerto    11869           $ 1,104.00*
    ORLANDO                                  Rico                                                              ORLANDO                         Rico
    111 CALLE                                17 BK 03283-LTS                                                   111 CALLE                       17 BK 03283-LTS
    BALDORIOTY                                                                                                 BALDORIOTY
    AIBONITO, PR 00705                                                                                         AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
267 RODRIGUEZ FARIA,              05/18/18   Commonwealth of Puerto         14036              Undetermined* RODRIGUEZ FARIA,       05/18/18   Commonwealth of Puerto    14149        Undetermined*
    MARILYN                                  Rico                                                            MARILYN                           Rico
    URB. PASEO SOL Y MAR                     17 BK 03283-LTS                                                 URB PASEO SOL Y MAR               17 BK 03283-LTS
    CALLE CORAL 640                                                                                          CALLE CORAL 640
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 50 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
268 RODRIGUEZ FERRER,             04/30/18   Commonwealth of Puerto          8141                 $ 46,007.18 RODRIGUEZ FERRER,       04/30/18   Commonwealth of Puerto    8724            $ 46,007.18
    GRISEL                                   Rico                                                             GRISEL                             Rico
    URB. BORINQUEN                           17 BK 03283-LTS                                                  URB BORINQUEN                      17 BK 03283-LTS
    JULIA DE BURGOS BB-13                                                                                     BB 13 JULIA DE BURGOS
    CABO ROJO, PR 00623                                                                                       CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 RODRIGUEZ FERRER,             04/30/18   Commonwealth of Puerto          8155                 $ 46,007.18 RODRIGUEZ FERRER,       04/30/18   Commonwealth of Puerto    8724            $ 46,007.18
    GRISEL                                   Rico                                                             GRISEL                             Rico
    URB BORINQUEN                            17 BK 03283-LTS                                                  URB BORINQUEN                      17 BK 03283-LTS
    JULIA DE BURGOS BB13                                                                                      BB 13 JULIA DE BURGOS
    CABO ROJO, PR 00623                                                                                       CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
270 RODRIGUEZ FERRER,             04/30/18   Commonwealth of Puerto          8133              Undetermined* RODRIGUEZ FERRER,        04/30/18   Commonwealth of Puerto    8276         Undetermined*
    YAMITZA                                  Rico                                                            YAMITZA                             Rico
    URB BORINQUEN                            17 BK 03283-LTS                                                 URB. BORINQUEN                      17 BK 03283-LTS
    BB 13 CALLE 2A                                                                                           CALLE JULIA DE
    CABO ROJO, PR 00623                                                                                      BURGOS BB13
                                                                                                             CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
271 RODRIGUEZ FERRER,             04/30/18   Commonwealth of Puerto          8142              Undetermined* RODRIGUEZ FERRER,        04/30/18   Commonwealth of Puerto    8276         Undetermined*
    YAMITZA                                  Rico                                                            YAMITZA                             Rico
    URB. BORINQUEN                           17 BK 03283-LTS                                                 URB. BORINQUEN                      17 BK 03283-LTS
    CALLE JULIA DE                                                                                           CALLE JULIA DE
    BURGOS BB-13                                                                                             BURGOS BB13
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
272 RODRIGUEZ FERRER,             04/30/18   Commonwealth of Puerto          8268              Undetermined* RODRIGUEZ FERRER,        04/30/18   Commonwealth of Puerto    8276         Undetermined*
    YAMITZA                                  Rico                                                            YAMITZA                             Rico
    URB. BORINQUEN                           17 BK 03283-LTS                                                 URB. BORINQUEN                      17 BK 03283-LTS
    CALLE JULIA DE                                                                                           CALLE JULIA DE
    BURGOS BB13                                                                                              BURGOS BB13
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 51 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
273 RODRIGUEZ FIGUEROA,           07/06/18   Commonwealth of Puerto         156392             Undetermined* RODRIGUEZ FIGUEROA,      07/06/18   Commonwealth of Puerto    159927       Undetermined*
    NORBERTO                                 Rico                                                            NORBERTO                            Rico
    HC 2 BOX 5051                            17 BK 03283-LTS                                                 CAFETAL II CALLE                    17 BK 03283-LTS
    GUAYANILLA, PR 00656                                                                                     ANDRES M
                                                                                                             SANTIAGO J-21
                                                                                                             YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 RODRIGUEZ FIGUEROA,           07/06/18   Commonwealth of Puerto         156540             Undetermined* RODRIGUEZ FIGUEROA,      07/06/18   Commonwealth of Puerto    159927       Undetermined*
    NORBERTO                                 Rico                                                            NORBERTO                            Rico
    34 CALLE A                               17 BK 03283-LTS                                                 CAFETAL II CALLE                    17 BK 03283-LTS
    YAUCO, PR 00698-4807                                                                                     ANDRES M
                                                                                                             SANTIAGO J-21
                                                                                                             YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
275 RODRIGUEZ FRAGOSA,            06/27/18   Commonwealth of Puerto         101895             Undetermined* RODRIGUEZ FRAGOSA,       06/27/18   Commonwealth of Puerto    105544       Undetermined*
    WILMARY                                  Rico                                                            WILMARY                             Rico
    HC-04 BOX 4257                           17 BK 03283-LTS                                                 HC-04 BOX 4257                      17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
276 RODRIGUEZ GONZALEZ,           06/28/18   Commonwealth of Puerto         117009             Undetermined* RODRIGUEZ GONZALEZ,      06/28/18   Commonwealth of Puerto    118510       Undetermined*
    AMADO E                                  Rico                                                            AMADO E                             Rico
    PO BOX 143357                            17 BK 03283-LTS                                                 PO BOX 143357                       17 BK 03283-LTS
    ARECIBO, PR 00614-3357                                                                                   ARECIBO, PR 00614-3357

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
277 RODRIGUEZ GONZALEZ,           05/29/18   Commonwealth of Puerto         30475              Undetermined* RODRIGUEZ GONZALEZ,      05/29/18   Commonwealth of Puerto    36456        Undetermined*
    ANGEL L                                  Rico                                                            ANGEL L                             Rico
    HC 30 BOX 32628                          17 BK 03283-LTS                                                 HC 30 BOX 32628                     17 BK 03283-LTS
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
278 RODRIGUEZ GONZALEZ,           06/06/18   Commonwealth of Puerto         48634              Undetermined* RODRIGUEZ GONZALEZ,      06/06/18   Commonwealth of Puerto    48930        Undetermined*
    EDWARD                                   Rico                                                            EDWARD                              Rico
    PO BOX 557                               17 BK 03283-LTS                                                 PO BOX 557                          17 BK 03283-LTS
    LAS MARIAS, PR 00670                                                                                     LAS MARIAS, PR 00670

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 52 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                            Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
279 RODRIGUEZ GONZALEZ,           06/29/18   Commonwealth of Puerto         78144                 $ 23,125.00 RODRIGUEZ GONZALEZ,   06/29/18   Commonwealth of Puerto    134695          $ 23,125.00
    NATIVIDAD                                Rico                                                             NATIVIDAD                        Rico
    P.O BOX 623                              17 BK 03283-LTS                                                  PO BOX 623                       17 BK 03283-LTS
    ISABELA, PR 00662                                                                                         ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
280 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         144962             Undetermined* RODRIGUEZ              07/06/18   Commonwealth of Puerto    160638       Undetermined*
    HERNANDEZ, EVELYN                        Rico                                                            HERNANDEZ, EVELYN                 Rico
    EXT.JARDINES DE                          17 BK 03283-LTS                                                 EXT JARD DE COAMO                 17 BK 03283-LTS
    COAMO                                                                                                    B 11 CALLE 13
    CALLE 13 B-11                                                                                            COAMO, PR 00769
    COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         130476             Undetermined* RODRIGUEZ              06/28/18   Commonwealth of Puerto    139997       Undetermined*
    HERNANDEZ, PEDRO                         Rico                                                            HERNANDEZ, PEDRO                  Rico
    J27 B REPTO.                             17 BK 03283-LTS                                                 J27 B REPTO                       17 BK 03283-LTS
    MONTELLANO                                                                                               MONTELLANO
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
282 RODRIGUEZ IRIZARRY,           06/29/18   Commonwealth of Puerto         78216              Undetermined* RODRIGUEZ IRIZARRY,    07/05/18   Commonwealth of Puerto    152770       Undetermined*
    AUREA NILDA                              Rico                                                            AUREA NILDA                       Rico
    CALLE 9 D-21 REPARTO                     17 BK 03283-LTS                                                 CALLE 9 D-21 REPARTO              17 BK 03283-LTS
    UNIVERSIDAD                                                                                              UNIVERSIDAD
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
283 RODRIGUEZ JUSINO,             05/04/18   Commonwealth of Puerto          9705                $ 54,793.52* RODRIGUEZ JUSINO,     05/25/18   Commonwealth of Puerto    27881           $ 54,793.52
    EDDY S                                   Rico                                                             EDDY S                           Rico
    PO BOX 2256                              17 BK 03283-LTS                                                  PO BOX 2256                      17 BK 03283-LTS
    GUAYAMA, PR 00785                                                                                         GUAYAMA, PR 00785

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 53 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                               Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
284 RODRIGUEZ LUGO,               06/25/18   Commonwealth of Puerto         39726              Undetermined* RODRIGUEZ LUGO,           06/29/18   Commonwealth of Puerto    119979       Undetermined*
    ZOILA                                    Rico                                                            ZOILA                                Rico
    URB. SANTA ELENA                         17 BK 03283-LTS                                                 URB. SANTA ELENA                     17 BK 03283-LTS
    CALLE 3 C-13                                                                                             CALLE 3 C-13
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
285 RODRIGUEZ MAISONET,           02/07/18   Commonwealth of Puerto           483                $ 25,997.01* RODRIGUEZ MAISONET,      02/07/18   Commonwealth of Puerto     489           $ 25,997.01*
    MIGDALIA                                 Rico                                                             MIGDALIA                            Rico
    PMB 1115 243 PARIS ST.                   17 BK 03283-LTS                                                  PMB 1115 243 PARIS ST.              17 BK 03283-LTS
    SAN JUAN, PR 00917                                                                                        SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 RODRIGUEZ MARRERO,            03/19/18   Commonwealth of Puerto          3211              Undetermined* RODRIGUEZ MARRERO,        03/29/18   Commonwealth of Puerto    5235         Undetermined*
    MARILIZETTE                              Rico                                                            MARILIZETTE                          Rico
    165 CALLE 1                              17 BK 03283-LTS                                                 URB JARDINES DE TOA                  17 BK 03283-LTS
    TOA ALTA, PR 00953                                                                                       ALTA
                                                                                                             165 CALLE 1
                                                                                                             TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
287 RODRIGUEZ MARRERO,            03/19/18   Commonwealth of Puerto          3452              Undetermined* RODRIGUEZ MARRERO,        03/29/18   Commonwealth of Puerto    5235         Undetermined*
    MARILIZETTE                              Rico                                                            MARILIZETTE                          Rico
    CALLE 1 # 165 URB.                       17 BK 03283-LTS                                                 URB JARDINES DE TOA                  17 BK 03283-LTS
    JAND. DE TOA ALTA                                                                                        ALTA
    TOA ALTA, PR 00953                                                                                       165 CALLE 1
                                                                                                             TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
288 RODRIGUEZ MARRERO,            03/19/18   Commonwealth of Puerto          3530              Undetermined* RODRIGUEZ MARRERO,        03/29/18   Commonwealth of Puerto    5235         Undetermined*
    MARILIZETTE                              Rico                                                            MARILIZETTE                          Rico
    CALLE 1 # 165                            17 BK 03283-LTS                                                 URB JARDINES DE TOA                  17 BK 03283-LTS
    URB JARDINES DE TOA                                                                                      ALTA
    ALTA                                                                                                     165 CALLE 1
    TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 54 of 93
                                      Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                           Desc:
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
289 RODRIGUEZ MARTINEZ,          06/29/18   Commonwealth of Puerto         147924             Undetermined* RODRIGUEZ MARTINEZ,   06/29/18   Commonwealth of Puerto    165019       Undetermined*
    JESUS A                                 Rico                                                            JESUS A                          Rico
    HC-2 BOX 44617                          17 BK 03283-LTS                                                 HC 2 BOX 44617                   17 BK 03283-LTS
    BO ALMIRANTE SUR                                                                                        VEGA BAJA, PR 00693
    PARC MIRANDA
    CARR 645 SECT COOP
    VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
290 RODRIGUEZ MEDINA,            05/18/18   Commonwealth of Puerto         35716              Undetermined* RODRIGUEZ MEDINA,     05/18/18   Commonwealth of Puerto    36538        Undetermined*
    ANIBAL                                  Rico                                                            ANIBAL                           Rico
    URB ESTANCIAS DEL                       17 BK 03283-LTS                                                 URB ESTANCIAS DEL                17 BK 03283-LTS
    RIO                                                                                                     RIO
    2164 CALLE GIRASOL                                                                                      2164 CALLE GIRASOL
    SABANA GRANDE, PR                                                                                       SABANA GRANDE, PR
    00637                                                                                                   00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 RODRIGUEZ MEDINA,            05/18/18   Commonwealth of Puerto         36287              Undetermined* RODRIGUEZ MEDINA,     05/18/18   Commonwealth of Puerto    36538        Undetermined*
    ANIBAL                                  Rico                                                            ANIBAL                           Rico
    2164 CALLE GIRASOL                      17 BK 03283-LTS                                                 URB ESTANCIAS DEL                17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                       RIO
    00637                                                                                                   2164 CALLE GIRASOL
                                                                                                            SABANA GRANDE, PR
                                                                                                            00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
292 RODRIGUEZ MEDINA,            05/18/18   Commonwealth of Puerto         36328              Undetermined* RODRIGUEZ MEDINA,     05/18/18   Commonwealth of Puerto    36538        Undetermined*
    ANIBAL                                  Rico                                                            ANIBAL                           Rico
    URB ESTANCIAS DEL                       17 BK 03283-LTS                                                 URB ESTANCIAS DEL                17 BK 03283-LTS
    RIO                                                                                                     RIO
    2164 CALLE GIRASOL                                                                                      2164 CALLE GIRASOL
    SABANA GRANDE, PR                                                                                       SABANA GRANDE, PR
    00637                                                                                                   00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 55 of 93
                                      Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                            Desc:
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
293 RODRIGUEZ MEDINA,            06/29/18   Commonwealth of Puerto         75192              Undetermined* RODRIGUEZ MEDINA,      06/29/18   Commonwealth of Puerto    90892        Undetermined*
    DAISY M.                                Rico                                                            DAISY M.                          Rico
    HC 6 BOX 61128                          17 BK 03283-LTS                                                 HC 6 BOX 61128                    17 BK 03283-LTS
    CAMUY, PR 00627                                                                                         CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
294 RODRIGUEZ MEDINA,            06/22/18   Commonwealth of Puerto         38159                 $ 15,000.00 RODRIGUEZ MEDINA,     07/09/18   Commonwealth of Puerto    141026          $ 15,000.00
    JUAN A.                                 Rico                                                             JUAN A.                          Rico
    HC6 BOX 10175                           17 BK 03283-LTS                                                  HC 6 BOX 10175                   17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 RODRIGUEZ                    06/29/18   Commonwealth of Puerto         128261               $ 10,000.00* RODRIGUEZ             06/29/18   Commonwealth of Puerto    114123          $ 10,000.00
    MELENDEZ, AIDA M.                       Rico                                                             MELENDEZ, AIDA M.                Rico
    HC 01 BOX 7248                          17 BK 03283-LTS                                                  HC01 BOX 7248                    17 BK 03283-LTS
    LUQILLO, PR 00773                                                                                        LUQUILLO, PR 00773

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 RODRIGUEZ MERCADO,           05/17/18   Commonwealth of Puerto         17223              Undetermined* RODRIGUEZ MERCADO,     05/17/18   Commonwealth of Puerto    26432        Undetermined*
    IVETTE                                  Rico                                                            IVETTE                            Rico
    HACIENDA LA MATILDE                     17 BK 03283-LTS                                                 NUM 5288 CALLE                    17 BK 03283-LTS
    5288 CALLE INGENIO                                                                                      IGENIO
    PONCE, PR 00728-2430                                                                                    URBANIZACION
                                                                                                            HACIENDA LA MATILDE
                                                                                                            PONCE, PR 00728-2430

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
297 RODRIGUEZ                    04/25/18   Commonwealth of Puerto          8602              Undetermined* RODRIGUEZ              04/25/18   Commonwealth of Puerto    8803         Undetermined*
    MONTALVO, NOEL                          Rico                                                            MONTALVO, NOEL                    Rico
    HC 1 BOX 7848                           17 BK 03283-LTS                                                 URB. ALTURAS                      17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                       SABANERAS
    00637                                                                                                   CALLE E92
                                                                                                            SABANA GRANDE, PR
                                                                                                            00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 56 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
298 RODRIGUEZ                     04/25/18   Commonwealth of Puerto          8607              Undetermined* RODRIGUEZ                04/25/18   Commonwealth of Puerto    8803         Undetermined*
    MONTALVO, NOEL                           Rico                                                            MONTALVO, NOEL                      Rico
    URB ALTURAS                              17 BK 03283-LTS                                                 URB. ALTURAS                        17 BK 03283-LTS
    SABANERAS                                                                                                SABANERAS
    E92                                                                                                      CALLE E92
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
299 RODRIGUEZ                     04/25/18   Commonwealth of Puerto          8618              Undetermined* RODRIGUEZ                04/25/18   Commonwealth of Puerto    8803         Undetermined*
    MONTALVO, NOEL                           Rico                                                            MONTALVO, NOEL                      Rico
    URB ALTURAS                              17 BK 03283-LTS                                                 URB. ALTURAS                        17 BK 03283-LTS
    SABANERAS                                                                                                SABANERAS
    E92                                                                                                      CALLE E92
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
300 RODRIGUEZ                     04/25/18   Commonwealth of Puerto          8779              Undetermined* RODRIGUEZ                04/25/18   Commonwealth of Puerto    8803         Undetermined*
    MONTALVO, NOEL                           Rico                                                            MONTALVO, NOEL                      Rico
    HC 1 BOX 7848                            17 BK 03283-LTS                                                 URB. ALTURAS                        17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANERAS
    00637                                                                                                    CALLE E92
                                                                                                             SABANA GRANDE, PR
                                                                                                             00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
301 RODRIGUEZ MORALES,            06/29/18   Commonwealth of Puerto         77433                   $ 5,000.00 RODRIGUEZ MORALES,     07/05/18   Commonwealth of Puerto    155457           $ 5,000.00
    ILEANA                                   Rico                                                              ILEANA                            Rico
    HC 02 BOX 14552                          17 BK 03283-LTS                                                   HC 02 BOX 14552                   17 BK 03283-LTS
    GUAYANILLA, PR 00656                                                                                       GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
302 RODRIGUEZ OJEDA,              06/26/18   Commonwealth of Puerto         52291                   $ 9,600.00 RODRIGUEZ OJEDA,       06/28/18   Commonwealth of Puerto    71134            $ 9,600.00
    LILLIAN                                  Rico                                                              LILLIAN                           Rico
    RR 5 BOX 4999 PMB 37                     17 BK 03283-LTS                                                   RR 5 BOX 4999                     17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                          PMB37
                                                                                                               BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 57 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
303 RODRIGUEZ OLMEDA,             05/09/18   Commonwealth of Puerto         11763              Undetermined* RODRIGUEZ OLMEDA,          05/09/18   Commonwealth of Puerto    11944        Undetermined*
    IVETTE                                   Rico                                                            IVETTE                                Rico
    62 CALLE BOSQUE                          17 BK 03283-LTS                                                 BO LAVADERO                           17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                          62 CALLE BOSQUE
    00660                                                                                                    HORMIGUEROS, PR
                                                                                                             00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
304 RODRIGUEZ ORTIZ,              06/28/18   Commonwealth of Puerto         100214             Undetermined* RODRIGUEZ ORTIZ,           06/28/18   Commonwealth of Puerto    151034       Undetermined*
    CARILIN V.                               Rico                                                            CARILIN V.                            Rico
    HC-01 BOX 3381                           17 BK 03283-LTS                                                 HC-01 BOX 3381                        17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
305 RODRIGUEZ ORTIZ,              06/28/18   Commonwealth of Puerto         104553             Undetermined* RODRIGUEZ ORTIZ,           06/28/18   Commonwealth of Puerto    151034       Undetermined*
    CARILIN V.                               Rico                                                            CARILIN V.                            Rico
    HC-01 BOX 3381                           17 BK 03283-LTS                                                 HC-01 BOX 3381                        17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
306 RODRIGUEZ ORTIZ,              06/28/18   Commonwealth of Puerto         122506             Undetermined* RODRIGUEZ ORTIZ,           06/28/18   Commonwealth of Puerto    151034       Undetermined*
    CARILIN V.                               Rico                                                            CARILIN V.                            Rico
    HC 01 BOX 3381                           17 BK 03283-LTS                                                 HC-01 BOX 3381                        17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
307 RODRIGUEZ ORTIZ,              06/28/18   Commonwealth of Puerto         147715             Undetermined* RODRIGUEZ ORTIZ,           06/28/18   Commonwealth of Puerto    151034       Undetermined*
    CARILIN V.                               Rico                                                            CARILIN V.                            Rico
    HC-01 BOX 3381                           17 BK 03283-LTS                                                 HC-01 BOX 3381                        17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
308 RODRIGUEZ ORTIZ,              06/22/18   Commonwealth of Puerto         62127                   $ 400.00* RODRIGUEZ ORTIZ,          06/25/18   Commonwealth of Puerto    71642            $ 400.00*
    MARELYN                                  Rico                                                             MARELYN                              Rico
    PO BOX 40177                             17 BK 03283-LTS                                                  PO BOX 40177                         17 BK 03283-LTS
    SAN JUAN, PR 00940-0177                                                                                   SAN JUAN, PR 00940-0177

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 58 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
309 RODRIGUEZ OTERO,              06/27/18   Commonwealth of Puerto         106795                $ 38,024.61 RODRIGUEZ OTERO,     06/27/18   Commonwealth of Puerto    128042          $ 38,024.61
    ELBA                                     Rico                                                             ELBA                            Rico
    PO BOX 3603                              17 BK 03283-LTS                                                  PO BOX 3603                     17 BK 03283-LTS
    GUAYNABO, PR 00970                                                                                        GUAYNABO, PR 00970

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
310 RODRIGUEZ OTERO,              06/26/18   Commonwealth of Puerto         93597              Undetermined* RODRIGUEZ OTERO,      06/26/18   Commonwealth of Puerto    115703       Undetermined*
    RAFAEL                                   Rico                                                            RAFAEL                           Rico
    URB SAN ANTONIO                          17 BK 03283-LTS                                                 URB SAN ANTONIO                  17 BK 03283-LTS
    CALLE 10 J3                                                                                              CALLE 10 J3
    CAGUAS, PR 00724                                                                                         CAGUAS, PR 00724

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
311 RODRIGUEZ PACHECO,            05/30/18   Commonwealth of Puerto         28964              Undetermined* RODRIGUEZ PACHECO,    06/06/18   Commonwealth of Puerto    65697        Undetermined*
    NELLY M                                  Rico                                                            NELLY M                          Rico
    RR4 BOX 27150                            17 BK 03283-LTS                                                 RR4 BOX 27150                    17 BK 03283-LTS
    TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
312 RODRIGUEZ QUINONES,           06/26/18   Commonwealth of Puerto         42428              Undetermined* RODRIGUEZ QUINONES,   06/26/18   Commonwealth of Puerto    52071        Undetermined*
    WANDA I.                                 Rico                                                            WANDA I.                         Rico
    DEPARTAMENTO DE LA                       17 BK 03283-LTS                                                 URB SAN ANTONIO                  17 BK 03283-LTS
    FAMILIA                                                                                                  E E-4 CALLE 5
    ADMINISTRACION                                                                                           COAMO, PR 00769
    FAMILIAS Y NINOS
    URB. SAN ANTONIO
    E E-4
    CALLE 5
    COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
313 RODRIGUEZ RIVAS,              06/27/18   Commonwealth of Puerto         100039             Undetermined* RODRIGUEZ RIVAS,      06/29/18   Commonwealth of Puerto    84017        Undetermined*
    AIDA                                     Rico                                                            AIDA                             Rico
    PO BOX 351                               17 BK 03283-LTS                                                 PO BOX 351                       17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCAIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 59 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
314 RODRIGUEZ RIVERA,             06/27/18   Commonwealth of Puerto         163547               $ 108,000.00 RODRIGUEZ RIVERA,    06/27/18   Commonwealth of Puerto    163590         $ 108,000.00
    ANGELA                                   Rico                                                             ANGELA                          Rico
    CALLE 27 NUM. 441                        17 BK 03283-LTS                                                  PARC NUEVAS                     17 BK 03283-LTS
    PARCELAS NUEVAS                                                                                           441 CALLE 27
    GURABO, PR 00778                                                                                          GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
315 RODRIGUEZ RIVERA,             06/27/18   Commonwealth of Puerto         163577               $ 108,000.00 RODRIGUEZ RIVERA,    06/27/18   Commonwealth of Puerto    163590         $ 108,000.00
    ANGELA                                   Rico                                                             ANGELA                          Rico
    CALLE 27 NUM. 441                        17 BK 03283-LTS                                                  PARC NUEVAS                     17 BK 03283-LTS
    PARCELAS NUEVAS                                                                                           441 CALLE 27
    GURABO, PR 00778                                                                                          GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
316 RODRIGUEZ RIVERA,             05/22/18   Commonwealth of Puerto         24355              Undetermined* RODRIGUEZ RIVERA,     05/22/18   Commonwealth of Puerto    25036        Undetermined*
    MILDRED I.                               Rico                                                            MILDRED I.                       Rico
    VALLE SAN LUIS                           17 BK 03283-LTS                                                 VALLE SAN LUIS 313               17 BK 03283-LTS
    313 VIA DE LA                                                                                            VIA DE LA MONTAÑA
    MONTANA                                                                                                  CAGUAS, PR 00725
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
317 RODRIGUEZ RIVERA,             06/28/18   Commonwealth of Puerto         45364              Undetermined* RODRIGUEZ RIVERA,     06/28/18   Commonwealth of Puerto    66704        Undetermined*
    SONIA MARGARITA                          Rico                                                            SONIA MARGARITA                  Rico
    PO BOX 1316                              17 BK 03283-LTS                                                 PO BOX 1316                      17 BK 03283-LTS
    VEGA BAJA, PR 00694                                                                                      VEGA BAJA, PR 00694

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
318 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         117239             Undetermined* RODRIGUEZ             06/28/18   Commonwealth of Puerto    119571       Undetermined*
    RODRIGUEZ,                               Rico                                                            RODRIGUEZ,                       Rico
    BIENVENIDA                               17 BK 03283-LTS                                                 BIENVENIDA                       17 BK 03283-LTS
    CARR 474-69                                                                                              CARR 474-69
    BO COTO                                                                                                  BO COTO
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 60 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
319 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         58486                   $ 1,120.80 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154213          $ 1,120.80
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    P.O. BOX 1669                                                                                              PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
320 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         59505                $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982        $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
321 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         61738                   $ 1,061.71 RODRIGUEZ              07/03/18   Commonwealth of Puerto    117782          $ 1,061.71
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                P.O. BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
322 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         62454                   $ 1,782.30 RODRIGUEZ              07/03/18   Commonwealth of Puerto    152644          $ 1,782.30
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    PO BOX 1669                              17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                          PO BOX 1669
                                                                                                               BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
323 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         67189                   $ 2,659.56 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154475          $ 2,659.56
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 61 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
324 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         68230                   $ 3,181.08 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154950          $ 3,181.08
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
325 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         69504                   $ 5,159.65 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154154          $ 5,159.65
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    P.O. BOX 1669                                                                                              PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
326 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         70493                   $ 3,464.97 RODRIGUEZ              07/03/18   Commonwealth of Puerto    145168          $ 3,464.97
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   PO BOX 1669                       17 BK 03283-LTS
    PO BOX 1669                                                                                                CITY OFFICE SUPPLIES
    BAYAMÓN, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
327 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         70849                   $ 8,699.45 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154522          $ 8,699.45
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
328 RODRIGUEZ                     06/13/18   Commonwealth of Puerto         112669               $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982        $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 62 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
329 RODRIGUEZ                     07/03/18   Commonwealth of Puerto         116522                  $ 1,782.30 RODRIGUEZ              07/03/18   Commonwealth of Puerto    152644          $ 1,782.30
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    PO BOX 1669                              17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                          PO BOX 1669
                                                                                                               BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
330 RODRIGUEZ                     06/13/18   Commonwealth of Puerto         120809               $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982        $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
331 RODRIGUEZ                     07/03/18   Commonwealth of Puerto         138779                  $ 1,120.80 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154213          $ 1,120.80
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
332 RODRIGUEZ                     07/03/18   Commonwealth of Puerto         140558                  $ 2,659.56 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154475          $ 2,659.56
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
333 RODRIGUEZ                     07/13/18   Commonwealth of Puerto         144301               $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982        $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
334 RODRIGUEZ                     06/13/18   Commonwealth of Puerto         144743               $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982        $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 63 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
335 RODRIGUEZ                     07/03/18   Commonwealth of Puerto         153696                  $ 3,181.08 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154950           $ 3,181.08
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
336 RODRIGUEZ                     07/03/18   Commonwealth of Puerto         154254                  $ 8,699.45 RODRIGUEZ              07/03/18   Commonwealth of Puerto    154522           $ 8,699.45
    RODRIGUEZ, FELIX                         Rico                                                              RODRIGUEZ, FELIX                  Rico
    CITY OFFICE SUPPLIES                     17 BK 03283-LTS                                                   CITY OFFICE SUPPLIES              17 BK 03283-LTS
    PO BOX 1669                                                                                                PO BOX 1669
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
337 RODRIGUEZ                     07/13/18   Commonwealth of Puerto         157832               $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982         $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
338 RODRIGUEZ                     07/13/18   Commonwealth of Puerto         161463               $ 876,575.76 RODRIGUEZ               07/13/18   Commonwealth of Puerto    163982         $ 876,575.76
    RODRIGUEZ, FELIX                         Rico                                                             RODRIGUEZ, FELIX                   Rico
    PO BOX 1669                              17 BK 03283-LTS                                                  P.O. BOX 1669                      17 BK 03283-LTS
    BAYAMON, PR 00960                                                                                         BAYAMON, PR 00960

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
339 RODRÍGUEZ                     06/27/18   Commonwealth of Puerto         48619              Undetermined* RODRÍGUEZ                06/28/18   Commonwealth of Puerto    56938        Undetermined*
    RODRÍGUEZ, FLOR M.                       Rico                                                            RODRÍGUEZ, FLOR M.                  Rico
    P O BOX 400                              17 BK 03283-LTS                                                 PO BOX 400                          17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
340 RODRIGUEZ                     05/23/18   Commonwealth of Puerto         28551              Undetermined* RODRIGUEZ                07/02/18   Commonwealth of Puerto    124254       Undetermined*
    RODRIGUEZ, MARIA S.                      Rico                                                            RODRIGUEZ, MARIA S.                 Rico
    E 2 - 17 CALLE 10 A                      17 BK 03283-LTS                                                 URB. CIUDAD MASSO                   17 BK 03283-LTS
    SAN LORENZO, PR 00754                                                                                    CALLE 10 A, E2-17
                                                                                                             SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 64 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
341 RODRIGUEZ                     06/28/18   Commonwealth of Puerto         119820             Undetermined* RODRIGUEZ               06/28/18   Commonwealth of Puerto    125867       Undetermined*
    RODRIGUEZ, MERVIN                        Rico                                                            RODRIGUEZ, MERVIN                  Rico
    HC 3 BOX 15046                           17 BK 03283-LTS                                                 HC-03 BOX 12114                    17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     COLLORES
                                                                                                             JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
342 RODRIGUEZ                     06/29/18   Commonwealth of Puerto         113440             Undetermined* RODRIGUEZ               06/29/18   Commonwealth of Puerto    133264       Undetermined*
    RODRIGUEZ, ROBERTO                       Rico                                                            RODRIGUEZ, ROBERTO                 Rico
    J.                                       17 BK 03283-LTS                                                 J.                                 17 BK 03283-LTS
    HC - 01 BOX 7018                                                                                         HC-01 BOX 7018
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
343 RODRIGUEZ                     06/29/18   Commonwealth of Puerto         128611             Undetermined* RODRIGUEZ               06/29/18   Commonwealth of Puerto    133264       Undetermined*
    RODRIGUEZ, ROBERTO                       Rico                                                            RODRIGUEZ, ROBERTO                 Rico
    J.                                       17 BK 03283-LTS                                                 J.                                 17 BK 03283-LTS
    HC-01 BOX 7018                                                                                           HC-01 BOX 7018
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
344 RODRIGUEZ                     06/29/18   Commonwealth of Puerto         130486             Undetermined* RODRIGUEZ               06/29/18   Commonwealth of Puerto    133264       Undetermined*
    RODRIGUEZ, ROBERTO                       Rico                                                            RODRIGUEZ, ROBERTO                 Rico
    J.                                       17 BK 03283-LTS                                                 J.                                 17 BK 03283-LTS
    HC01 BOX 7018                                                                                            HC-01 BOX 7018
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
345 RODRIGUEZ ROSA,               06/28/18   Commonwealth of Puerto         118277               $ 30,000.00* RODRIGUEZ ROSA,        06/28/18   Commonwealth of Puerto    120311         $ 30,000.00*
    BRENDA ENID                              Rico                                                             BRENDA ENID                       Rico
    CALLE PACO ROSA #20                      17 BK 03283-LTS                                                  CALLE PACO ROS #20                17 BK 03283-LTS
    MOCA, PR 00676                                                                                            MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
346 RODRIGUEZ SANTIAGO,           06/28/18   Commonwealth of Puerto         138566                  $ 9,000.00 RODRIGUEZ SANTIAGO,   07/06/18   Commonwealth of Puerto    111527           $ 9,000.00
    CARMEN R.                                Rico                                                              CARMEN R.                        Rico
    PMB 342 BOX 4960                         17 BK 03283-LTS                                                   PMB 342 BOX 4960                 17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                           CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 65 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
347 RODRIGUEZ SANTIAGO,           05/23/18   Commonwealth of Puerto         28302              Undetermined* RODRIGUEZ SANTIAGO,       05/23/18   Commonwealth of Puerto    32539        Undetermined*
    DORKA                                    Rico                                                            DORKA                                Rico
    PO BOX 1767                              17 BK 03283-LTS                                                 PO BOX 1767                          17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
348 RODRIGUEZ SERRANO,            07/02/18   Commonwealth of Puerto         81612              Undetermined* RODRIGUEZ SERRANO,        07/12/18   Commonwealth of Puerto    157332       Undetermined*
    RAMON L.                                 Rico                                                            RAMON L.                             Rico
    HC-01 BOX 11623                          17 BK 03283-LTS                                                 HC-01 BOX 11623                      17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
349 RODRIGUEZ TORRES,             04/06/18   Commonwealth of Puerto          5436              Undetermined* RODRIGUEZ TORRES,         04/06/18   Commonwealth of Puerto    6786         Undetermined*
    GRACE                                    Rico                                                            GRACE                                Rico
    URB RIO HONDO                            17 BK 03283-LTS                                                 M44 URB RIO HONDO                    17 BK 03283-LTS
    M-44                                                                                                     MAYAGUEZ, PR 00680
    MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
350 RODRIGUEZ TORRES,             05/30/18   Commonwealth of Puerto         44544              Undetermined* RODRIGUEZ TORRES,         05/30/18   Commonwealth of Puerto    58446        Undetermined*
    LEIDIANA                                 Rico                                                            LEIDIANA                             Rico
    P O BOX 1849                             17 BK 03283-LTS                                                 PO BOX 1849                          17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
351 RODRIGUEZ TORRES,             06/28/18   Commonwealth of Puerto         133090             Undetermined* RODRIGUEZ TORRES,         06/28/18   Commonwealth of Puerto    148741       Undetermined*
    NILSA E                                  Rico                                                            NILSA E                              Rico
    QUINTA REAL                              17 BK 03283-LTS                                                 QUINTA REAL                          17 BK 03283-LTS
    9202 CALLE REY DAVID                                                                                     9202 CALLE REY DAVID
    TOA BAJA, PR 00949-2128                                                                                  TOA BAJA, PR 00949-2128

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
352 RODRIGUEZ TORRES,             06/28/18   Commonwealth of Puerto         146768             Undetermined* RODRIGUEZ TORRES,         06/28/18   Commonwealth of Puerto    148741       Undetermined*
    NILSA E                                  Rico                                                            NILSA E                              Rico
    QUINTA REAL                              17 BK 03283-LTS                                                 QUINTA REAL                          17 BK 03283-LTS
    9202 CALLE REY DAVID                                                                                     9202 CALLE REY DAVID
    TOA BAJA, PR 00949-2128                                                                                  TOA BAJA, PR 00949-2128

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 66 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
353 RODRIGUEZ VEGA,               06/21/18   Commonwealth of Puerto         38841              Undetermined* RODRIGUEZ VEGA,           06/21/18   Commonwealth of Puerto    45105        Undetermined*
    MIGUEL                                   Rico                                                            MIGUEL                               Rico
    URB MIRADERO                             17 BK 03283-LTS                                                 131 CAMINO DE LAS                    17 BK 03283-LTS
    131 CAMINO DE LAS                                                                                        VISTAS
    VISTAS                                                                                                   HUMACAO, PR 00791
    HUMACAO, PR 00791-
    9679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
354 RODRIGUEZ VEGA,               06/21/18   Commonwealth of Puerto         39350              Undetermined* RODRIGUEZ VEGA,           06/21/18   Commonwealth of Puerto    45105        Undetermined*
    MIGUEL                                   Rico                                                            MIGUEL                               Rico
    URB MIRADERO                             17 BK 03283-LTS                                                 131 CAMINO DE LAS                    17 BK 03283-LTS
    131 CAMINO DE LAS                                                                                        VISTAS
    VISTAS                                                                                                   HUMACAO, PR 00791
    HUMACAO, PR 00791-
    9679

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
355 RODRIGUEZ VELEZ,              06/29/18   Commonwealth of Puerto         129616             Undetermined* RODRIGUEZ VELEZ,          06/29/18   Commonwealth of Puerto    151007       Undetermined*
    MAYRA                                    Rico                                                            MAYRA                                Rico
    HC 01 BOX 5969                           17 BK 03283-LTS                                                 EL COQUI I-12                        17 BK 03283-LTS
    LAS MARIAS, PR 00670                                                                                     912 PASEO RAMON
                                                                                                             RIVERA
                                                                                                             LAS MARIAS, PR 00670

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
356 RODRIGUEZ VERA,               05/30/18   Commonwealth of Puerto         19401              Undetermined* RODRIGUEZ VERA,           05/30/18   Commonwealth of Puerto    42348        Undetermined*
    CLARIBEL                                 Rico                                                            CLARIBEL                             Rico
    PO BOX 366694                            17 BK 03283-LTS                                                 PO BOX 366694                        17 BK 03283-LTS
    SAN JUAN, PR 00936-6694                                                                                  SAN JUAN, PR 00936-6694

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
357 RODRIGUEZ VERA,               06/26/18   Commonwealth of Puerto         94583              Undetermined* RODRIGUEZ VERA,           06/29/18   Commonwealth of Puerto    151674       Undetermined*
    MARJORIE                                 Rico                                                            MARJORIE                             Rico
    URB SANTA CLARA 122                      17 BK 03283-LTS                                                 URB. SANTA CLARA                     17 BK 03283-LTS
    LUZ RADIANTE                                                                                             122 LUZ RADIANTE
    PONCE, PR 00716-2530                                                                                     PONCE, PR 00716-2530

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 67 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
358 RODRIGUEZ, ADRIAN             06/28/18   Commonwealth of Puerto         61517               $ 150,000.00* RODRIGUEZ, ADRIAN         06/28/18   Commonwealth of Puerto    67443         $ 150,000.00*
    670 AVE. PONCE DE                        Rico                                                             670 AVE. PONCE DE                    Rico
    LEÓN                                     17 BK 03283-LTS                                                  LEÓN                                 17 BK 03283-LTS
    CARIBBEAN OFFICE                                                                                          CARIBBEAN OFFICE
    PLAZA SUITE 204                                                                                           PLAZA SUITE 204
    SAN JUAN, PR 00907                                                                                        SAN JUAN, PR 00907

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
359 RODRIGUEZ, OSVALDO            06/23/18   Commonwealth of Puerto         36467               $ 150,000.00* RODRIGUEZ, OSVALDO        06/23/18   Commonwealth of Puerto    44662         $ 150,000.00*
    ARNALDO ELIAS                            Rico                                                             ARNALDO ELIAS                        Rico
    PO BOX 191841                            17 BK 03283-LTS                                                  PO BOX 191841                        17 BK 03283-LTS
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
360 RODRIGUEZ-TORRES,             07/16/18   Commonwealth of Puerto         152079             Undetermined* RODRIGUEZ-TORRES,          07/16/18   Commonwealth of Puerto    165590       Undetermined*
    HERNAN                                   Rico                                                            HERNAN                                Rico
    HC 03 BOX 37213                          17 BK 03283-LTS                                                 HC 03 BOX 37213                       17 BK 03283-LTS
    BO. ENEAS SECTOR                                                                                         BO. ENEAS SECTOR
    JIMENEZ                                                                                                  JIMENEZ
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
361 ROIG TORRES,                  06/26/18   Commonwealth of Puerto         92350              Undetermined* ROIG TORRES,               06/26/18   Commonwealth of Puerto    96346        Undetermined*
    MINERVA                                  Rico                                                            MINERVA                               Rico
    BRISAS DEL PRADO                         17 BK 03283-LTS                                                 1719 BRISAS DEL PRADO                 17 BK 03283-LTS
    1719 CALLE GARZA                                                                                         CALLE GARZA
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
362 ROJAS GUZMAN,                 06/27/18   Commonwealth of Puerto         90219              Undetermined* ROJAS GUZMAN,              06/28/18   Commonwealth of Puerto    123200       Undetermined*
    JEANETTE                                 Rico                                                            JEANETTE                              Rico
    HC-05 BOX 5807                           17 BK 03283-LTS                                                 HC-05 BOX 5807                        17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 68 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
363 ROLDAN CRESPIN,               03/06/18   Commonwealth of Puerto           710                   $ 5,386.50 ROLDAN CRESPIN,        03/06/18   Commonwealth of Puerto     732             $ 5,386.50
    MAXIMINO                                 Rico                                                              MAXIMINO                          Rico
    PO BOX 4438                              17 BK 03283-LTS                                                   PO BOX 4438                       17 BK 03283-LTS
    AGUADILLA, PR 00605                                                                                        AGUADILLA, PR 00605

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
364 ROLDAN DAUMONT,               06/27/18   Commonwealth of Puerto         142708             Undetermined* ROLDAN DAUMONT,          06/27/18   Commonwealth of Puerto    162040       Undetermined*
    SANDRA T.                                Rico                                                            SANDRA T.                           Rico
    VILLAS DE CARRAIZO                       17 BK 03283-LTS                                                 VILLAS DE CARRAIZO                  17 BK 03283-LTS
    C/51 BOX 384                                                                                             C/51 BOX 384
    SAN JUAN, PR 00926                                                                                       SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
365 ROLDAN VAZQUEZ,               06/06/18   Commonwealth of Puerto         74052                $ 75,000.00* ROLDAN VAZQUEZ,         05/24/18   Commonwealth of Puerto    73944          $ 75,000.00*
    MARIA DEL C.                             Rico                                                             MARIA DEL C.                       Rico
    URB. JARDINES DE                         17 BK 03283-LTS                                                  URB. JARDINES DE                   17 BK 03283-LTS
    CERRO GORDO C-5 D-3                                                                                       CERRO GORDO C-5 D-3
    SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
366 ROLON ORTIZ, RAFAEL           06/28/18   Commonwealth of Puerto         52011              Undetermined* ROLON ORTIZ, RAFAEL      06/28/18   Commonwealth of Puerto    64051        Undetermined*
    HC 1 BOX 6431                            Rico                                                            HC 1 BOX 6431                       Rico
    AIBONITO, PR 00705                       17 BK 03283-LTS                                                 AIBONITO, PR 00705                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
367 ROLON RODRIGUEZ,              06/25/18   Commonwealth of Puerto         88078              Undetermined* ROLON RODRIGUEZ,         06/28/18   Commonwealth of Puerto    130975       Undetermined*
    EDGARDO                                  Rico                                                            EDGARDO                             Rico
    URB. VILLA JAUCA A-13                    17 BK 03283-LTS                                                 URB. VILLA JAUCA A13                17 BK 03283-LTS
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
368 ROMAN CARRERO,                05/25/18   Commonwealth of Puerto         35906              Undetermined* ROMAN CARRERO,           06/05/18   Commonwealth of Puerto    47385        Undetermined*
    FRANKLYN                                 Rico                                                            FRANKLYN                            Rico
    PO BOX 9356                              17 BK 03283-LTS                                                 PO BOX 9356                         17 BK 03283-LTS
    ARECIBO, PR 00613                                                                                        ARECIBO, PR 00613

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 69 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
369 ROMAN FERRER, KEILA           06/28/18   Commonwealth of Puerto         58219                 $ 15,000.00 ROMAN FERRER, KEILA     07/03/18   Commonwealth of Puerto    129741         $ 15,000.00*
    J                                        Rico                                                             J                                  Rico
    FK 44 MARIANO A.                         17 BK 03283-LTS                                                  FK-44 MARIANO A                    17 BK 03283-LTS
    COSTALO LEVITTOWN                                                                                         COSTALO, LEVITTOWN
    TOA BAJA, PR 00949                                                                                        TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
370 ROMAN FERRER, KEILA           06/28/18   Commonwealth of Puerto         59460                 $ 15,000.00 ROMAN FERRER, KEILA     07/03/18   Commonwealth of Puerto    129741         $ 15,000.00*
    J                                        Rico                                                             J                                  Rico
    FK 44 MARIANO A                          17 BK 03283-LTS                                                  FK-44 MARIANO A                    17 BK 03283-LTS
    COSTALO LEVITTOWN                                                                                         COSTALO, LEVITTOWN
    TOA BAJA, PR 00949                                                                                        TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
371 ROMAN IRIZARRY,               06/29/18   Commonwealth of Puerto         74836                 $ 14,600.00 ROMAN IRIZARRY,         06/29/18   Commonwealth of Puerto    75022           $ 14,600.00
    IVAN R                                   Rico                                                             IVAN R                             Rico
    P.O BOX 635                              17 BK 03283-LTS                                                  P.O. BOX 635                       17 BK 03283-LTS
    SAN ANTONIO, PR 00690                                                                                     SAN ANTONIO, PR 00690

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
372 ROMAN PEREZ, ILIANA           06/21/18   Commonwealth of Puerto         76051                $ 200,000.00 ROMAN PEREZ, ILIANA     06/21/18   Commonwealth of Puerto    79724          $ 200,000.00
    HC 7 BUZON 76252                         Rico                                                             HC 7 BUZON 76252                   Rico
    SAN SEBASTIÁN, PR                        17 BK 03283-LTS                                                  SAN SEBASTIAN, PR                  17 BK 03283-LTS
    00685                                                                                                     00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
373 ROMAN TOSADO,                 05/29/18   Commonwealth of Puerto         29770              Undetermined* ROMAN TOSADO,            05/29/18   Commonwealth of Puerto    32603        Undetermined*
    MARIBEL                                  Rico                                                            MARIBEL                             Rico
    HC 80 BOX 8860                           17 BK 03283-LTS                                                 HC 3 BOX 8860                       17 BK 03283-LTS
    DORADO, PR 00646                                                                                         VILLA ALBIZU
                                                                                                             DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
374 ROMERO MEDINA,                05/07/18   Commonwealth of Puerto         12099              Undetermined* ROMERO MEDINA,           05/09/18   Commonwealth of Puerto    12753        Undetermined*
    ROSALIA                                  Rico                                                            ROSALIA                             Rico
    BO GUAVATE 21808                         17 BK 03283-LTS                                                 BO GUAVATE 21808                    17 BK 03283-LTS
    SECTOR MALUA                                                                                             SECTOR MALUA
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 70 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
375 ROMERO MENDEZ,                06/21/18   Commonwealth of Puerto         76313                $ 300,000.00 ROMERO MENDEZ,          06/21/18   Commonwealth of Puerto    98541          $ 300,000.00
    MARANGELI                                Rico                                                             MARANGELI                          Rico
    203 CALLE WESER                          17 BK 03283-LTS                                                  URB BRISAS DEL PRADO               17 BK 03283-LTS
    URB. BRISAS DEL                                                                                           203 CALLE WESER
    PRADO                                                                                                     JUNCOS, PR 00777-9406
    JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
376 ROMERO MENDEZ,                06/21/18   Commonwealth of Puerto         90349                $ 300,000.00 ROMERO MENDEZ,          06/21/18   Commonwealth of Puerto    98541          $ 300,000.00
    MARANGELI                                Rico                                                             MARANGELI                          Rico
    URB BRISAS DEL PRADO                     17 BK 03283-LTS                                                  URB BRISAS DEL PRADO               17 BK 03283-LTS
    203 CALLE WESER                                                                                           203 CALLE WESER
    JUNCOS, PR 00777-9406                                                                                     JUNCOS, PR 00777-9406

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
377 ROMERO ROBLES,                05/14/18   Commonwealth of Puerto         15244              Undetermined* ROMERO ROBLES,           05/14/18   Commonwealth of Puerto    15249        Undetermined*
    ELIDA                                    Rico                                                            ELIDA                               Rico
    PO BOX 9022476                           17 BK 03283-LTS                                                 PO BOX 9022476                      17 BK 03283-LTS
    SAN JUAN, PR 00902-2476                                                                                  SAN JUAN, PR 00902

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
378 ROSA CANABAL,                 06/27/18   Commonwealth of Puerto         105584                $ 1,500.00* ROSA CANABAL,           06/27/18   Commonwealth of Puerto    138290           $ 1,500.00
    ISMAEL                                   Rico                                                             ISMAEL                             Rico
    P.O. BOX 25                              17 BK 03283-LTS                                                  P.O. BOX 25                        17 BK 03283-LTS
    ISABELA, PR 00662                                                                                         ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
379 ROSA CARRASQUILLO,            05/22/18   Commonwealth of Puerto         16316                 $ 49,426.40 ROSA CARRASQUILLO,      05/22/18   Commonwealth of Puerto    18259           $ 49,426.40
    SARA M.                                  Rico                                                             SARA M.                            Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                     COLON
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 71 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
380 ROSA RIVERA,                  07/06/18   Commonwealth of Puerto         148479                  $ 4,800.00 ROSA RIVERA,          07/06/18   Commonwealth of Puerto    149834           $ 4,800.00
    ANGELICA                                 Rico                                                              ANGELICA                         Rico
    295 MALQUITA ST.                         17 BK 03283-LTS                                                   295 MALQUITA ST.                 17 BK 03283-LTS
    VERDE MAR                                                                                                  VERDE MAR
    PUNTA SANTIAGO, PR                                                                                         PUNTA SANTIAGO, PR
    00741                                                                                                      00741

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
381 ROSA VAZQUEZ, LUZ             05/25/18   Commonwealth of Puerto         33213              Undetermined* ROSA VAZQUEZ, LUZ       05/25/18   Commonwealth of Puerto    33753        Undetermined*
    HC-09 BOX 10748                          Rico                                                            HC09 BOX 10748                     Rico
    AGUADILLA, PR 00603                      17 BK 03283-LTS                                                 AGUADILLA, PR 00603                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
382 ROSADO ARCAY,                 06/04/18   Commonwealth of Puerto         30623              Undetermined* ROSADO ARCAY,           06/04/18   Commonwealth of Puerto    30899        Undetermined*
    DATMARRIE                                Rico                                                            DATMARRIE                          Rico
    P.O. BOX 1704                            17 BK 03283-LTS                                                 BO PLAYITA CARR 900                17 BK 03283-LTS
    BO PLAYITA CARR 900                                                                                      K2.8
    K2.8                                                                                                     P.O. BOX 1704
    YABUCOA, PR 00767-                                                                                       YABUCOA, PR 00767
    1704

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
383 ROSADO BERRIOS,               05/08/18   Commonwealth of Puerto         10381              Undetermined* ROSADO BERRIOS,         05/08/18   Commonwealth of Puerto    10572        Undetermined*
    WILFREDO                                 Rico                                                            WILFREDO                           Rico
    # 11 CALLE YABUCOA                       17 BK 03283-LTS                                                 CALLE YABUCOA #11                  17 BK 03283-LTS
    URB. BONNEVILLE                                                                                          BONNEVILLE HEIGHTS
    HEIGHTS                                                                                                  CAGUAS, PR 00727
    CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
384 ROSADO CAPELES,               05/15/18   Commonwealth of Puerto         23886                 $ 22,500.00 ROSADO CAPELES,        05/15/18   Commonwealth of Puerto    31042           $ 22,500.00
    JUAN JOSE                                Rico                                                             JUAN JOSE                         Rico
    LCDO. JOSEPH                             17 BK 03283-LTS                                                  LCDO. JUAN H.                     17 BK 03283-LTS
    SANTAELLA VARELLA                                                                                         SERRANO CRUZ
    JOSEPH SANTAELLA                                                                                          PO BOX 331445
    VARELA                                                                                                    PONCE, PR 00733-1445
    PO BOX 330601
    PONCE, PR 00733-0601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 72 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
385 ROSADO CAPELES,               05/15/18   Commonwealth of Puerto         25119                 $ 22,500.00 ROSADO CAPELES,         05/15/18   Commonwealth of Puerto    31042           $ 22,500.00
    JUAN JOSE                                Rico                                                             JUAN JOSE                          Rico
    PO BOX 331445                            17 BK 03283-LTS                                                  LCDO. JUAN H.                      17 BK 03283-LTS
    PONCE, PR 00733-1445                                                                                      SERRANO CRUZ
                                                                                                              PO BOX 331445
                                                                                                              PONCE, PR 00733-1445

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
386 ROSADO DAVILA,                06/29/18   Commonwealth of Puerto         133278               $ 75,000.00* ROSADO DAVILA,          06/29/18   Commonwealth of Puerto    134880          $ 75,000.00
    SANTA S                                  Rico                                                             SANTA S                            Rico
    BARRIO FLORIDA K.M.                      17 BK 03283-LTS                                                  BARRIO FLORIDA                     17 BK 03283-LTS
    12.9 CARR. 183                                                                                            K.M.12.9 CARR 183
    SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754
    -0362                                                                                                     -0362

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
387 ROSADO DAVILA,                06/29/18   Commonwealth of Puerto         132918             Undetermined* ROSADO DAVILA,           06/29/18   Commonwealth of Puerto    141847       Undetermined*
    SANTA S.                                 Rico                                                            SANTA S.                            Rico
    BARRIO FLORIDA KM 12                     17 BK 03283-LTS                                                 BARRIO FLORIDA KM                   17 BK 03283-LTS
     9 CARR 183                                                                                              12.9 CARR. 183
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754
    -0362                                                                                                    -0362

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
388 ROSADO GREEN,                 06/29/18   Commonwealth of Puerto         107325             Undetermined* ROSADO GREEN,            07/06/18   Commonwealth of Puerto    149097       Undetermined*
    MIRIAN                                   Rico                                                            MIRIAN                              Rico
    URB MONTE REAL                           17 BK 03283-LTS                                                 URB MONTE REAL                      17 BK 03283-LTS
    13 CALLE                                                                                                 13 CALLE
    SERRACANTES                                                                                              SERRACANTES
    COAMO, PR 00769-4700                                                                                     COAMO, PR 00769-4700

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
389 ROSADO LOPEZ,                 06/28/18   Commonwealth of Puerto         59211              Undetermined* ROSADO LOPEZ,            06/28/18   Commonwealth of Puerto    61101        Undetermined*
    MIGUEL A.                                Rico                                                            MIGUEL A.                           Rico
    HC 33 BOX 5103                           17 BK 03283-LTS                                                 HC 33 BOX 5103                      17 BK 03283-LTS
    DORADO, PR 00646                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 73 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
390 ROSADO MUNOZ,                 06/29/18   Commonwealth of Puerto         69594                 $ 10,500.00 ROSADO MUNOZ,           06/29/18   Commonwealth of Puerto    72718          $ 10,500.00*
    ROSAURA                                  Rico                                                             ROSAURA                            Rico
    PO BOX 972                               17 BK 03283-LTS                                                  PO BOX 972                         17 BK 03283-LTS
    RINCON, PR 00677                                                                                          RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
391 ROSADO OCASIO, JOSE           06/05/18   Commonwealth of Puerto         35183              Undetermined* ROSADO OCASIO, JOSE      06/05/18   Commonwealth of Puerto    53696        Undetermined*
    R                                        Rico                                                            R                                   Rico
    8353 SECTOR ADRIAN                       17 BK 03283-LTS                                                 8353 SECTOR ADRIAN                  17 BK 03283-LTS
    TORRES                                                                                                   TORRES
    UTUADO, PR 00641                                                                                         UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
392 ROSADO PELLOT,                05/25/18   Commonwealth of Puerto         35486              Undetermined* ROSADO PELLOT,           05/25/18   Commonwealth of Puerto    35632        Undetermined*
    GLORIA M.                                Rico                                                            GLORIA M.                           Rico
    URB VILLA OLIMPICA                       17 BK 03283-LTS                                                 RES. JUAN C.C. DAVILA               17 BK 03283-LTS
    297 PASEO 9                                                                                              EDF. 6 APT. 37
    SAN JUAN, PR 00924                                                                                       HATO REY, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
393 ROSADO ROSADO,                05/29/18   Commonwealth of Puerto         32852              Undetermined* ROSADO ROSADO,           05/29/18   Commonwealth of Puerto    38600        Undetermined*
    HILDA                                    Rico                                                            HILDA                               Rico
    URB SANTA ROSA                           17 BK 03283-LTS                                                 20 BLOQUE 33 CALLE 26               17 BK 03283-LTS
    20 BLOQUE 33 CALLE 26                                                                                    BAYAMON, PR 00959
    BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
394 ROSADO ROSADO,                05/29/18   Commonwealth of Puerto         33410              Undetermined* ROSADO ROSADO,           05/29/18   Commonwealth of Puerto    38600        Undetermined*
    HILDA                                    Rico                                                            HILDA                               Rico
    URB. SANTA ROSA                          17 BK 03283-LTS                                                 20 BLOQUE 33 CALLE 26               17 BK 03283-LTS
    33-20 CALLE 26                                                                                           BAYAMON, PR 00959
    BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
395 ROSADO ROSAS,                 06/28/18   Commonwealth of Puerto         50653                 $ 57,880.73 ROSADO ROSAS,           06/28/18   Commonwealth of Puerto    59335           $ 57,880.73
    ABRAHAM                                  Rico                                                             ABRAHAM                            Rico
    HC 61 BOX 35651                          17 BK 03283-LTS                                                  HC 61 BOX 35651                    17 BK 03283-LTS
    AGUADA, PR 00602-9449                                                                                     AGUADA, PR 00602-9449

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 74 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                              Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
396 ROSADO RUBIO,                 06/28/18   Commonwealth of Puerto         114718             Undetermined* ROSADO RUBIO,            06/28/18   Commonwealth of Puerto    129879       Undetermined*
    DAGMARYS                                 Rico                                                            DAGMARYS                            Rico
    URB LA GUADALUPE                         17 BK 03283-LTS                                                 863 C/AMAPOLA                       17 BK 03283-LTS
    863 CAMAPOLA                                                                                             PONCE, PR 00730
    PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
397 ROSADO VALENTIN,              06/28/18   Commonwealth of Puerto         124913             Undetermined* ROSADO VALENTIN,         06/28/18   Commonwealth of Puerto    137774       Undetermined*
    CARMEN M.                                Rico                                                            CARMEN M.                           Rico
    CALLE STA. CLARA #61                     17 BK 03283-LTS                                                 CALLE STA. CLARA # 61               17 BK 03283-LTS
    BOX 745                                                                                                  - BOX 745
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
398 ROSADO VELEZ, MARIA           05/09/18   Commonwealth of Puerto         12187                 $ 72,939.25 ROSADO VELEZ, MARIA     05/09/18   Commonwealth of Puerto    12543           $ 72,939.25
    MILAGROS ACEVEDO                         Rico                                                             MILAGROS ACEVEDO                   Rico
    COLON                                    17 BK 03283-LTS                                                  COLON                              17 BK 03283-LTS
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
399 ROSARIO GARCIA,               04/13/18   Commonwealth of Puerto          6320              Undetermined* ROSARIO GARCIA,          04/13/18   Commonwealth of Puerto    7230         Undetermined*
    ANGEL                                    Rico                                                            ANGEL                               Rico
    EMBALSE SAN JOSE                         17 BK 03283-LTS                                                 EMBALSE SAN JOSE                    17 BK 03283-LTS
    473 CALLE TRAFALGAR                                                                                      473 C TRAFALGAR
    SAN JUAN, PR 00923                                                                                       SAN JUAN, PR 00923

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
400 ROSARIO GARCIA,               04/13/18   Commonwealth of Puerto          7206              Undetermined* ROSARIO GARCIA,          04/13/18   Commonwealth of Puerto    7230         Undetermined*
    ANGEL                                    Rico                                                            ANGEL                               Rico
    EMBALSE SAN JOSE                         17 BK 03283-LTS                                                 EMBALSE SAN JOSE                    17 BK 03283-LTS
    473 CALLE TRAFALGAR                                                                                      473 C TRAFALGAR
    SAN JUAN, PR 00923                                                                                       SAN JUAN, PR 00923

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 75 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
401 ROSARIO GINES, SONIA          05/16/18   Commonwealth of Puerto         18887              Undetermined* ROSARIO GINES, SONIA   05/16/18   Commonwealth of Puerto    19852        Undetermined*
    3001 CALLE YAUREL                        Rico                                                            EXT MONTESOL                      Rico
    CABO ROJO, PR 00623                      17 BK 03283-LTS                                                 3001 CALLE YAUREL                 17 BK 03283-LTS
                                                                                                             CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
402 ROSARIO GINES, SONIA          05/16/18   Commonwealth of Puerto         19038              Undetermined* ROSARIO GINES, SONIA   05/16/18   Commonwealth of Puerto    19852        Undetermined*
    EXT MONTESOL                             Rico                                                            EXT MONTESOL                      Rico
    3001 CALLE YAUREL                        17 BK 03283-LTS                                                 3001 CALLE YAUREL                 17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
403 ROSARIO GINES, SONIA          05/16/18   Commonwealth of Puerto         19243              Undetermined* ROSARIO GINES, SONIA   05/16/18   Commonwealth of Puerto    19852        Undetermined*
    EXTENSION MONTESOL                       Rico                                                            EXT MONTESOL                      Rico
    3001 CALLE YAUREL                        17 BK 03283-LTS                                                 3001 CALLE YAUREL                 17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
404 ROSARIO GOMEZ,                05/29/18   Commonwealth of Puerto         28046              Undetermined* ROSARIO GOMEZ,         05/29/18   Commonwealth of Puerto    36875        Undetermined*
    DAMARYS                                  Rico                                                            DAMARYS                           Rico
    HC 1 BOX 4446                            17 BK 03283-LTS                                                 HC 1 BOX 4446                     17 BK 03283-LTS
    NAGUABO, PR 00718                                                                                        NAGUABO, PR 00718-
                                                                                                             9716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
405 ROSARIO GOMEZ,                05/29/18   Commonwealth of Puerto         32390              Undetermined* ROSARIO GOMEZ,         05/29/18   Commonwealth of Puerto    36875        Undetermined*
    DAMARYS                                  Rico                                                            DAMARYS                           Rico
    HC 01 BOX 4446                           17 BK 03283-LTS                                                 HC 1 BOX 4446                     17 BK 03283-LTS
    NAGUABO, PR 00718                                                                                        NAGUABO, PR 00718-
                                                                                                             9716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
406 ROSARIO GOMEZ,                05/29/18   Commonwealth of Puerto         34571              Undetermined* ROSARIO GOMEZ,         05/29/18   Commonwealth of Puerto    36875        Undetermined*
    DAMARYS                                  Rico                                                            DAMARYS                           Rico
    HC 01 BOX 4446                           17 BK 03283-LTS                                                 HC 1 BOX 4446                     17 BK 03283-LTS
    NAGUABO, PR 00718                                                                                        NAGUABO, PR 00718-
                                                                                                             9716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 76 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
407 ROSARIO GOMEZ,                05/29/18   Commonwealth of Puerto         34574              Undetermined* ROSARIO GOMEZ,        05/29/18   Commonwealth of Puerto    36875        Undetermined*
    DAMARYS                                  Rico                                                            DAMARYS                          Rico
    HC-01 BOX 4446                           17 BK 03283-LTS                                                 HC 1 BOX 4446                    17 BK 03283-LTS
    NAGUABO, PR 00718-                                                                                       NAGUABO, PR 00718-
    9716                                                                                                     9716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
408 ROSARIO GOMEZ,                05/29/18   Commonwealth of Puerto         34582              Undetermined* ROSARIO GOMEZ,        05/29/18   Commonwealth of Puerto    36875        Undetermined*
    DAMARYS                                  Rico                                                            DAMARYS                          Rico
    HC-1 BOX 4446                            17 BK 03283-LTS                                                 HC 1 BOX 4446                    17 BK 03283-LTS
    BO. CUBUY CARR 191                                                                                       NAGUABO, PR 00718-
    KM 26.3                                                                                                  9716
    NAGUABO, PR 00718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
409 ROSARIO GOMEZ, ENID           05/29/18   Commonwealth of Puerto         34332              Undetermined* ROSARIO GOMEZ, ENID   05/29/18   Commonwealth of Puerto    34348        Undetermined*
    HC-01 BOX 4446                           Rico                                                            HC 01 BOX 4446                   Rico
    NAGUABO, PR 00718                        17 BK 03283-LTS                                                 NAGUABO, PR 00718-               17 BK 03283-LTS
                                                                                                             9716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
410 ROSARIO ORTIZ,                05/04/18   Commonwealth of Puerto          9291              Undetermined* ROSARIO ORTIZ,        05/04/18   Commonwealth of Puerto    9433         Undetermined*
    MIRIAM E                                 Rico                                                            MIRIAM E                         Rico
    PO BOX 131                               17 BK 03283-LTS                                                 BOX 131                          17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
411 ROSARIO ORTIZ,                05/04/18   Commonwealth of Puerto          9424              Undetermined* ROSARIO ORTIZ,        05/04/18   Commonwealth of Puerto    9433         Undetermined*
    MIRIAM E                                 Rico                                                            MIRIAM E                         Rico
    PO BOX 131                               17 BK 03283-LTS                                                 BOX 131                          17 BK 03283-LTS
    CIDRA, PR 00739-0131                                                                                     CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
412 ROSARIO RAMOS,                06/29/18   Commonwealth of Puerto         128724             Undetermined* ROSARIO RAMOS,        06/29/18   Commonwealth of Puerto    129068       Undetermined*
    FRANCISCA                                Rico                                                            FRANCISCA                        Rico
    PO BOX 165                               17 BK 03283-LTS                                                 P.O.BOX 165                      17 BK 03283-LTS
    LA PLATA, PR 00786                                                                                       LA PLATA, PR 00786

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 77 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
413 ROSARIO RIVERA,               05/22/18   Commonwealth of Puerto         19309              Undetermined* ROSARIO RIVERA,        05/22/18   Commonwealth of Puerto    21006        Undetermined*
    MINERVA                                  Rico                                                            MINERVA                           Rico
    BO JUAN SANCHEZ                          17 BK 03283-LTS                                                 PO BOX 40441                      17 BK 03283-LTS
    85 CALLE 6 II                                                                                            SAN JUAN, PR 00941
    BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
414 ROSARIO RIVERA,               05/22/18   Commonwealth of Puerto         20157              Undetermined* ROSARIO RIVERA,        05/22/18   Commonwealth of Puerto    21006        Undetermined*
    MINERVA                                  Rico                                                            MINERVA                           Rico
    APARTADO 40441                           17 BK 03283-LTS                                                 PO BOX 40441                      17 BK 03283-LTS
    SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00941

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
415 ROSARIO VEGA, LOYDA           05/30/18   Commonwealth of Puerto         37591              Undetermined* ROSARIO VEGA, LOYDA    05/30/18   Commonwealth of Puerto    41230        Undetermined*
    URB VILLAS DE                            Rico                                                            URB VILLAS DE                     Rico
    CANDELERO 110                            17 BK 03283-LTS                                                 CANDELERO 110                     17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
416 ROSARIO, JUAN DAVID           06/27/18   Commonwealth of Puerto         76646              Undetermined* ROSARIO, JUAN DAVID    06/27/18   Commonwealth of Puerto    111196       Undetermined*
    HC01 BOX 15322                           Rico                                                            HC 01 BOX 15322                   Rico
    COAMO, PR 00769                          17 BK 03283-LTS                                                 COAMO, PR 00769                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
417 ROSAS GONZALEZ,               06/26/18   Commonwealth of Puerto         113697             Undetermined* ROSAS GONZALEZ,        06/27/18   Commonwealth of Puerto    102431       Undetermined*
    BRENDA I.                                Rico                                                            BRENDA I.                         Rico
    URB. MARIA ANTONIA                       17 BK 03283-LTS                                                 URB. MARIA ANTONIA                17 BK 03283-LTS
    C-3 K-611                                                                                                C-3 K-611
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
418 ROSAS ROJAS, MARITZA          05/03/18   Commonwealth of Puerto         11291              Undetermined* ROSAS ROJAS, MARITZA   05/03/18   Commonwealth of Puerto    11379        Undetermined*
    RES. CARMEN EDIF. 14                     Rico                                                            RES CARMEN                        Rico
    APT. 143                                 17 BK 03283-LTS                                                 EDIF 14 APT 143                   17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 78 of 93
                                      Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                            Desc:
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
419 ROSAS ROJAS, MARITZA         05/03/18   Commonwealth of Puerto         11297              Undetermined* ROSAS ROJAS, MARITZA   05/03/18   Commonwealth of Puerto    11379        Undetermined*
    RES CARMEN                              Rico                                                            RES CARMEN                        Rico
    EDIF 14 APT 143                         17 BK 03283-LTS                                                 EDIF 14 APT 143                   17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
420 ROSAS ROJAS, MARITZA         05/03/18   Commonwealth of Puerto         11303              Undetermined* ROSAS ROJAS, MARITZA   05/03/18   Commonwealth of Puerto    11379        Undetermined*
    RES CARMEN                              Rico                                                            RES CARMEN                        Rico
    EDIF 14 APT 143                         17 BK 03283-LTS                                                 EDIF 14 APT 143                   17 BK 03283-LTS
    MAYAGUEZ, PR 00682                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
421 ROSAS VARGAS,                06/29/18   Commonwealth of Puerto         125547             Undetermined* ROSAS VARGAS,          06/29/18   Commonwealth of Puerto    132357       Undetermined*
    LILIBETH                                Rico                                                            LILIBETH                          Rico
    URB PARAISO DE                          17 BK 03283-LTS                                                 URB PARAISO DE                    17 BK 03283-LTS
    MAYAGUEZ                                                                                                MAYAGUEZ
    33 SERENIDAD                                                                                            33 CALLE SERENIDAD
    MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
422 ROSE M ALAMEDA               06/29/18   Commonwealth of Puerto         68731              Undetermined* ROSE M ALAMEDA         06/29/18   Commonwealth of Puerto    68925        Undetermined*
    MARTINEZ                                Rico                                                            MARTINEZ                          Rico
    CARR.BOQUERON #278                      17 BK 03283-LTS                                                 CARR.BOQUERON #278                17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                     CABO ROJO, PR 00623

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
423 ROSE M ALAMEDA               06/29/18   Commonwealth of Puerto         68883              Undetermined* ROSE M ALAMEDA         06/29/18   Commonwealth of Puerto    68925        Undetermined*
    MARTINEZ                                Rico                                                            MARTINEZ                          Rico
    CARR.BOQUERON #278                      17 BK 03283-LTS                                                 CARR.BOQUERON #278                17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                     CABO ROJO, PR 00623

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
424 ROSSO SUAREZ, VENUS          05/08/18   Commonwealth of Puerto          9485              Undetermined* ROSSO SUAREZ, VENUS    05/08/18   Commonwealth of Puerto    10230        Undetermined*
    M                                       Rico                                                            M                                 Rico
    LAS VIRTUDES                            17 BK 03283-LTS                                                 URB LAS VIRTUDES                  17 BK 03283-LTS
    763 CALLE ALEGRIA                                                                                       763 CALLE ALEGRIA
    SAN JUAN, PR 00924                                                                                      SAN JUAN, PR 00924

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 79 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                            Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
425 RUIZ AVILES, RUTH E.          06/29/18   Commonwealth of Puerto         126556             Undetermined* RUIZ AVILES, RUTH E.   06/29/18   Commonwealth of Puerto    141420       Undetermined*
    HC - 61 BOX 35790                        Rico                                                            HC-61 BOX 35790                   Rico
    AGUADA, PR 00602                         17 BK 03283-LTS                                                 AGUADA, PR 00602                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
426 RUIZ BERRIOS, CARLOS          05/29/18   Commonwealth of Puerto         26442              Undetermined* RUIZ BERRIOS, CARLOS   05/29/18   Commonwealth of Puerto    24027        Undetermined*
    HC-12 BOX 7265                           Rico                                                            HC12 BOX 7265                     Rico
    HUMACAO, PR 00791                        17 BK 03283-LTS                                                 HUMACAO, PR 00791                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
427 RUIZ BERRIOS, CARLOS          05/29/18   Commonwealth of Puerto         21823              Undetermined* RUIZ BERRIOS, CARLOS   05/29/18   Commonwealth of Puerto    26278        Undetermined*
    J                                        Rico                                                            J                                 Rico
    HC 12 BOX 7265                           17 BK 03283-LTS                                                 HC 12 BOX 7265                    17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
428 RUIZ BERRIOS, CARLOS          05/29/18   Commonwealth of Puerto         23884              Undetermined* RUIZ BERRIOS, CARLOS   05/29/18   Commonwealth of Puerto    26278        Undetermined*
    J                                        Rico                                                            J                                 Rico
    HC 12 BOX 7265                           17 BK 03283-LTS                                                 HC 12 BOX 7265                    17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
429 RUIZ GERENA, NOEMI            06/27/18   Commonwealth of Puerto         43911              Undetermined* RUIZ GERENA, NOEMI     07/10/18   Commonwealth of Puerto    161298       Undetermined*
    HC-4 BOX 46904                           Rico                                                            BOX 46904                         Rico
    HATILLO, PR 00659                        17 BK 03283-LTS                                                 HC -4                             17 BK 03283-LTS
                                                                                                             HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
430 RUIZ GERENA, NOEMI            07/10/18   Commonwealth of Puerto         161301             Undetermined* RUIZ GERENA, NOEMI     07/10/18   Commonwealth of Puerto    161298       Undetermined*
    BOX 46904                                Rico                                                            BOX 46904                         Rico
    HC -4                                    17 BK 03283-LTS                                                 HC -4                             17 BK 03283-LTS
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 80 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
431 RUIZ MARQUEZ,                 06/28/18   Commonwealth of Puerto         115389             Undetermined* RUIZ MARQUEZ,           06/28/18   Commonwealth of Puerto    162914       Undetermined*
    ZENAIDA                                  Rico                                                            ZENAIDA                            Rico
    HC-02 BOX 12342                          17 BK 03283-LTS                                                 HC02 BOX 12342                     17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
432 RUIZ MARQUEZ,                 06/28/18   Commonwealth of Puerto         131233             Undetermined* RUIZ MARQUEZ,           06/28/18   Commonwealth of Puerto    162914       Undetermined*
    ZENAIDA                                  Rico                                                            ZENAIDA                            Rico
    HC-02 BOX 12342                          17 BK 03283-LTS                                                 HC02 BOX 12342                     17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
433 RUIZ MARTINEZ,                07/06/18   Commonwealth of Puerto         144485               $ 21,600.00* RUIZ MARTINEZ,         07/06/18   Commonwealth of Puerto    158536         $ 21,600.00*
    ROBERTO                                  Rico                                                             ROBERTO                           Rico
    BUZON 5354                               17 BK 03283-LTS                                                  BUZON 5354                        17 BK 03283-LTS
    RINCON, PR 00677                                                                                          RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
434 RUIZ PAGAN, LIZZIE J.         05/24/18   Commonwealth of Puerto         37092              Undetermined* RUIZ PAGAN, LIZZIE J.   05/24/18   Commonwealth of Puerto    40705        Undetermined*
    PO BOX 1813                              Rico                                                            URB JARDINES DEL                   Rico
    JUNCOS, PR 00777                         17 BK 03283-LTS                                                 VALENCIANO                         17 BK 03283-LTS
                                                                                                             B 6 CALLE ORQUIDEA
                                                                                                             JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
435 RUIZ PAGAN, LIZZIE J.         05/24/18   Commonwealth of Puerto         37098              Undetermined* RUIZ PAGAN, LIZZIE J.   05/24/18   Commonwealth of Puerto    40705        Undetermined*
    ORQUIDEA B-6                             Rico                                                            URB JARDINES DEL                   Rico
    JARDINES DEL                             17 BK 03283-LTS                                                 VALENCIANO                         17 BK 03283-LTS
    VALENCIANO                                                                                               B 6 CALLE ORQUIDEA
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
436 RUIZ QUINTANA,                05/18/18   Commonwealth of Puerto         16508              Undetermined* RUIZ QUINTANA,          05/22/18   Commonwealth of Puerto    18470        Undetermined*
    MERCEDES                                 Rico                                                            MERCEDES                           Rico
    HC 06 BOX 13149                          17 BK 03283-LTS                                                 HC 06 BOX 13149                    17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 81 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                                 Desc:
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
437 RUIZ REYES, KARENLY           05/08/18   Commonwealth of Puerto          9537                 $ 31,150.03 RUIZ REYES, KARENLY        05/11/18   Commonwealth of Puerto    10380           $ 31,150.03
    BJ-683 CALLE 51                          Rico                                                             BJ-683 CALLE 51                       Rico
    RIO GRANDE, PR 00745                     17 BK 03283-LTS                                                  RIO GRANDE, PR 00745                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
438 RUIZ REYES, KARENLY           05/09/18   Commonwealth of Puerto         10109                 $ 31,150.03 RUIZ REYES, KARENLY        05/11/18   Commonwealth of Puerto    10380           $ 31,150.03
    JARDS DE RIO GRANDE                      Rico                                                             BJ-683 CALLE 51                       Rico
    BJ683 CALLE 51                           17 BK 03283-LTS                                                  RIO GRANDE, PR 00745                  17 BK 03283-LTS
    RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
439 RUIZ RIVERA,                  06/26/18   Commonwealth of Puerto         152116                $ 75,000.00 RUIZ RIVERA,               06/26/18   Commonwealth of Puerto    152455          $ 75,000.00
    LYLMISETTE                               Rico                                                             LYLMISETTE                            Rico
    HC-64 BOX 8283                           17 BK 03283-LTS                                                  HC-64 BOX 8283                        17 BK 03283-LTS
    PATILLAS, PR 00723                                                                                        PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
440 RUIZ RIVERA, OSVALDO          05/25/18   Commonwealth of Puerto         24989                       $ 523.51 RUIZ RIVERA, OSVALDO    05/25/18   Commonwealth of Puerto    25181             $ 523.51
    MILAGROS ACEVEDO                         Rico                                                                MILAGROS ACEVEDO                   Rico
    COLON                                    17 BK 03283-LTS                                                     COLON                              17 BK 03283-LTS
    COND COLINA REAL                                                                                             COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                        2000 AVE F RINCON BOX
    1405                                                                                                         1405
    SAN JUAN, PR 00926                                                                                           SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
441 RUIZ SALAS, ANGELA            05/09/18   Commonwealth of Puerto         12154                $ 106,229.34 RUIZ SALAS, ANGELA         05/09/18   Commonwealth of Puerto    12177          $ 106,229.34
    MILAGROS ACEVEDO                         Rico                                                             MILAGROS ACEVEDO                      Rico
    COLON                                    17 BK 03283-LTS                                                  COLON                                 17 BK 03283-LTS
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
442 RUIZ SANCHEZ, EVA I.          07/09/18   Commonwealth of Puerto         157566             Undetermined* RUIZ SANCHEZ, EVA I.        07/09/18   Commonwealth of Puerto    160925       Undetermined*
    P.O. BOX 18                              Rico                                                            P.O. BOX 18                            Rico
    RINCON, PR 00677                         17 BK 03283-LTS                                                 RINCON, PR 00677                       17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 82 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
443 RUIZ SANCHEZ,                 07/05/18   Commonwealth of Puerto         141355             Undetermined* RUIZ SANCHEZ,             07/05/18   Commonwealth of Puerto    167001       Undetermined*
    GLADYS                                   Rico                                                            GLADYS                               Rico
    PO BOX 18                                17 BK 03283-LTS                                                 PO BOX 18                            17 BK 03283-LTS
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
444 RUIZ SANTIAGO,                06/27/18   Commonwealth of Puerto         67123              Undetermined* RUIZ SANTIAGO,            06/27/18   Commonwealth of Puerto    146990       Undetermined*
    MARGARITA                                Rico                                                            MARGARITA                            Rico
    LLANOS DEL SUR #239                      17 BK 03283-LTS                                                 LLANOS DEL SUR 239                   17 BK 03283-LTS
    ESMERALDA                                                                                                ESMERALDA
    COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
445 RUIZ SEDA, XENIA              06/29/18   Commonwealth of Puerto         98314              Undetermined* RUIZ SEDA, XENIA          06/29/18   Commonwealth of Puerto    117937       Undetermined*
    URB. ALTURAS VILLA                       Rico                                                            URB. ALT. VILLA DEL                  Rico
    DEL REY                                  17 BK 03283-LTS                                                 REY                                  17 BK 03283-LTS
    28 L CALLE HOLANDA                                                                                       L-28 CAGUAS
    CAGUAS, PR 00727                                                                                         CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
446 RUIZ SIERRA, BELIMAR          06/05/18   Commonwealth of Puerto         47390                   $ 6,000.00 RUIZ SIERRA, BELIMAR    06/05/18   Commonwealth of Puerto    47566            $ 6,000.00
    P.O. BOX 1277                            Rico                                                              PO BOX 1277                        Rico
    AGUADA, PR 00602                         17 BK 03283-LTS                                                   AGUADA, PR 00602-1277              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
447 RUIZ TORRES, ROBERTO          06/01/18   Commonwealth of Puerto         28362              Undetermined* RUIZ TORRES, ROBERTO      06/01/18   Commonwealth of Puerto    33972        Undetermined*
    PO BOX 967                               Rico                                                            PO BOX 967                           Rico
    SAN GERMAN, PR 00683                     17 BK 03283-LTS                                                 SAN GERMAN, PR 00683                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
448 RUIZ TORRES, ROBERTO          06/01/18   Commonwealth of Puerto         30948              Undetermined* RUIZ TORRES, ROBERTO      06/01/18   Commonwealth of Puerto    33972        Undetermined*
    BOX 967                                  Rico                                                            PO BOX 967                           Rico
    SAN GERMAN, PR 00683                     17 BK 03283-LTS                                                 SAN GERMAN, PR 00683                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 83 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
449 RUIZ TORRES, ROBERTO          06/01/18   Commonwealth of Puerto         32844              Undetermined* RUIZ TORRES, ROBERTO   06/01/18   Commonwealth of Puerto    33972        Undetermined*
    PO BOX 967                               Rico                                                            PO BOX 967                        Rico
    SAN GERMAN, PR 00683                     17 BK 03283-LTS                                                 SAN GERMAN, PR 00683              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
450 SAAVEDRA MARTINEZ,            06/29/18   Commonwealth of Puerto         66089              Undetermined* SAAVEDRA MARTINEZ,     06/29/18   Commonwealth of Puerto    85424        Undetermined*
    EMILIO A.                                Rico                                                            EMILIO A.                         Rico
    ROSALES 5 URB. V DE                      17 BK 03283-LTS                                                 ROSALES 5 URB. V DE               17 BK 03283-LTS
    CAPITAN                                                                                                  CAPITAN
    5 CALLE ROSALES                                                                                          5 CALLE ROSALES
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
451 SAEZ TIRU, LUIS A.            06/27/18   Commonwealth of Puerto         52013              Undetermined* SAEZ TIRU, LUIS A.     06/27/18   Commonwealth of Puerto    53094        Undetermined*
    URBANIZACIÓN VILLAS                      Rico                                                            URBANIZACIÓN VILLAS               Rico
    DEL CAFETAL CALLE 13                     17 BK 03283-LTS                                                 DEL CAFETAL                       17 BK 03283-LTS
    I-122                                                                                                    CALLE 13 I-122
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
452 SALA RAMIREZ, MARIA           06/29/18   Commonwealth of Puerto         126809             Undetermined* SALA RAMIREZ, MARIA    07/03/18   Commonwealth of Puerto    131576       Undetermined*
    DE L.                                    Rico                                                            DE L.                             Rico
    I-32 CALLE TIMOTEO                       17 BK 03283-LTS                                                 I-32 CALLE TIMOTEO                17 BK 03283-LTS
    URB. SAN PEDRO                                                                                           URB. SAN PEDRO
    TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
453 SALAS, CARMEN                 06/29/18   Commonwealth of Puerto         77206                 $ 10,000.00 SALAS, CARMEN         06/29/18   Commonwealth of Puerto    106032          $ 10,000.00
    PO BOX 2557                              Rico                                                             PO BOX 2557                      Rico
    SAN SEBASTIAN, PR                        17 BK 03283-LTS                                                  SAN SEBASTIAN, PR                17 BK 03283-LTS
    00685                                                                                                     00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 84 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
454 SALDANA RIASCOS,              03/26/18   Commonwealth of Puerto          4152              Undetermined* SALDANA RIASCOS,          03/26/18   Commonwealth of Puerto    4275         Undetermined*
    ALICIA                                   Rico                                                            ALICIA                               Rico
    URB VISTAS DEL                           17 BK 03283-LTS                                                 URB VISTAS DEL                       17 BK 03283-LTS
    OCEANO                                                                                                   OCEANO
    # 8147 CALLE TULIPAN                                                                                     8147 CALLE TULIPAN
    LOIZA, PR 00772                                                                                          LOIZA, PR 00772-3786

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
455 SAMALOT JUARBE,               06/29/18   Commonwealth of Puerto         56741                 $ 20,000.00 SAMALOT JUARBE,          06/29/18   Commonwealth of Puerto    75358           $ 20,000.00
    TOMASA                                   Rico                                                             TOMASA                              Rico
    REPTO DURAN                              17 BK 03283-LTS                                                  REPTO DURAN                         17 BK 03283-LTS
    6021 CALLE CIPRES                                                                                         6021 CALLE CIPRES
    ISABELA, PR 00662-3240                                                                                    ISABELA, PR 00662-3240

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
456 SAMPAYO RAMOS,                05/30/18   Commonwealth of Puerto         38628                $ 66,000.00* SAMPAYO RAMOS,           05/30/18   Commonwealth of Puerto    38929          $ 66,000.00*
    EVELYN A                                 Rico                                                             EVELYN A                            Rico
    PABLO LUGO LEBRON                        17 BK 03283-LTS                                                  PABLO LUGO LEBRON                   17 BK 03283-LTS
    PO BOX 8051                                                                                               PO BOX 8051
    HUMACAO, PR 00792-                                                                                        HUMACAO, PR 00792-
    8051                                                                                                      8051

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
457 SAMPOLL CORREA,               06/29/18   Commonwealth of Puerto         144080             Undetermined* SAMPOLL CORREA,           06/29/18   Commonwealth of Puerto    127993       Undetermined*
    FRANKLYN                                 Rico                                                            FRANKLYN                             Rico
    2580 COLOSO URB.                         17 BK 03283-LTS                                                 2580 COLOSO URB.                     17 BK 03283-LTS
    CONSTANCIA                                                                                               CONSTANCIA
    PONCE, PR 00717-2227                                                                                     PONCE, PR 00717-2227

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
458 SANABRIA ALICEA,              06/29/18   Commonwealth of Puerto         63141                 $ 27,000.00 SANABRIA ALICEA,         06/29/18   Commonwealth of Puerto    75150           $ 27,000.00
    MARILIAN                                 Rico                                                             MARILIAN                            Rico
    114 CALLE ISMAEL                         17 BK 03283-LTS                                                  114 CALLE ISMAEL                    17 BK 03283-LTS
    RIVERA                                                                                                    RIVERA
    SAN JUAN, PR 00911                                                                                        SAN JUAN, PR 00911

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 85 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
459 SANABRIA BAERGA,              04/30/18   Commonwealth of Puerto          8885              Undetermined* SANABRIA BAERGA,           04/30/18   Commonwealth of Puerto    9155         Undetermined*
    AIDA                                     Rico                                                            AIDA                                  Rico
    HC 2 BOX 8176                            17 BK 03283-LTS                                                 HC 2 BOX 8176                         17 BK 03283-LTS
    SALINAS, PR 00751                                                                                        SALINAS, PR 00751

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
460 SANABRIA FIGUEROA,            06/29/18   Commonwealth of Puerto         135059                $ 86,739.00 SANABRIA FIGUEROA,        06/30/18   Commonwealth of Puerto    116060          $ 86,739.00
    HARRY L.                                 Rico                                                             HARRY L.                             Rico
    182 CALLE TULIPAN                        17 BK 03283-LTS                                                  182 TULIPAN                          17 BK 03283-LTS
    SAN JUAN, PR 00927-6214                                                                                   SAN JUAN, PR 00927-6214

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
461 SANCHEZ CRUZ,                 06/29/18   Commonwealth of Puerto         83070                 $ 50,000.00 SANCHEZ CRUZ,             07/06/18   Commonwealth of Puerto    152461          $ 50,000.00
    BRISEIDA                                 Rico                                                             BRISEIDA                             Rico
    SECT. PARACOCHERO                        17 BK 03283-LTS                                                  SECT PARACOCHERO                     17 BK 03283-LTS
    #49                                                                                                       #49 CAMINO LAS
    CAMINO LOS CRUCES                                                                                         CRUCES
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
462 SANCHEZ CRUZ, EDWIN           04/06/18   Commonwealth of Puerto          5445              Undetermined* SANCHEZ CRUZ, EDWIN        04/06/18   Commonwealth of Puerto    6760         Undetermined*
    URB SAN ROMUALDO                         Rico                                                            COM SAN ROMUALDO                      Rico
    16 A CALLE J                             17 BK 03283-LTS                                                 16 A CALLE J                          17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
463 SANCHEZ ESTRADA,              02/07/18   Commonwealth of Puerto           482                 $ 3,980.21* SANCHEZ ESTRADA,          02/07/18   Commonwealth of Puerto     508            $ 3,980.21*
    RUBILIANY                                Rico                                                             RUBILIANY                            Rico
    243 CALLE PARIS, PMB                     17 BK 03283-LTS                                                  243 CALLE PARIS, PMB                 17 BK 03283-LTS
    1345                                                                                                      1345
    SAN JUAN, PR 00917                                                                                        SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
464 SANCHEZ FONSECA,              03/29/18   Commonwealth of Puerto          5308              Undetermined* SANCHEZ FONSECA,           03/29/18   Commonwealth of Puerto    5360         Undetermined*
    LYZETTE                                  Rico                                                            LYZETTE                               Rico
    PO BOX 9604                              17 BK 03283-LTS                                                 PO BOX 9604                           17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 86 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
465 SANCHEZ HERNANDEZ,            06/28/18   Commonwealth of Puerto         73095              Undetermined* SANCHEZ HERNANDEZ,         06/29/18   Commonwealth of Puerto    96612        Undetermined*
    DANIEL                                   Rico                                                            DANIEL                                Rico
    PO BOX 1833                              17 BK 03283-LTS                                                 PO BOX 1833                           17 BK 03283-LTS
    LARES, PR 00669                                                                                          LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
466 SANCHEZ LOPEZ,                05/09/18   Commonwealth of Puerto         12535              Undetermined* SANCHEZ LOPEZ,             05/09/18   Commonwealth of Puerto    12784        Undetermined*
    TOMAS                                    Rico                                                            TOMAS                                 Rico
    PO BOX 88                                17 BK 03283-LTS                                                 PO BOX 88                             17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602-0088

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
467 SANCHEZ MATTEI,               06/29/18   Commonwealth of Puerto         87497              Undetermined* SANCHEZ MATTEI,            06/29/18   Commonwealth of Puerto    150154       Undetermined*
    MARIA DE LOS A.                          Rico                                                            MARIA DE LOS A.                       Rico
    LA OLIMPIA C5A                           17 BK 03283-LTS                                                 LA OLIMPIA C-5A                       17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
468 SANCHEZ ORTIZ,                05/21/18   Commonwealth of Puerto         15215                $ 150,000.00 SANCHEZ ORTIZ,            05/21/18   Commonwealth of Puerto    16781         $ 150,000.00*
    ROSELYN                                  Rico                                                             ROSELYN                              Rico
    PO BOX 191841                            17 BK 03283-LTS                                                  ARNALDO ELIAS                        17 BK 03283-LTS
    SAN JUAN, PR 00919-1841                                                                                   PO BOX 191841
                                                                                                              SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
469 SANCHEZ RAMIREZ,              07/05/18   Commonwealth of Puerto         129431             Undetermined* SANCHEZ RAMIREZ,           07/05/18   Commonwealth of Puerto    150059       Undetermined*
    JEIDY                                    Rico                                                            JEIDY                                 Rico
    BETANCES #211 ALTOS                      17 BK 03283-LTS                                                 PO BOX 3578 MARINA                    17 BK 03283-LTS
    BO. PARIS                                                                                                STA
    PO BOX 3578 MARINA                                                                                       MAYAGUEZ, PR 00681
    STATION
    MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
470 SANCHEZ RAMOS,                06/28/18   Commonwealth of Puerto         136301             Undetermined* SANCHEZ RAMOS,             06/28/18   Commonwealth of Puerto    144278       Undetermined*
    MANUEL                                   Rico                                                            MANUEL                                Rico
                                             17 BK 03283-LTS                                                                                       17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 87 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
471 SANCHEZ RAMOS,                05/29/18   Commonwealth of Puerto         34547              Undetermined* SANCHEZ RAMOS,            05/29/18   Commonwealth of Puerto    38807        Undetermined*
    SONIA                                    Rico                                                            SONIA                                Rico
    P.O BOX 52199                            17 BK 03283-LTS                                                 P.O BOX 52199                        17 BK 03283-LTS
    TOA BAJA, PR 00950                                                                                       TOA BAJA, PR 00950

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
472 SANCHEZ SANTIAGO,             08/13/18   Commonwealth of Puerto         163507             Undetermined* SANCHEZ SANTIAGO,         08/13/18   Commonwealth of Puerto    163573       Undetermined*
    OMAR J.                                  Rico                                                            OMAR J.                              Rico
    HC 03 BOX 33645                          17 BK 03283-LTS                                                 HC 03 BOX 33645                      17 BK 03283-LTS
    BARRIO MAL PASO                                                                                          BARRIO MAL PASO SEC
    SEC VILLARRUBIA                                                                                          VILLAR RUBIA
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
473 SANCHEZ SIERRA,               06/29/18   Commonwealth of Puerto         120621             Undetermined* SANCHEZ SIERRA,           06/29/18   Commonwealth of Puerto    137924       Undetermined*
    MIGDALIA                                 Rico                                                            MIGDALIA                             Rico
    C/9 F 16                                 17 BK 03283-LTS                                                 CALLE 9 F-16                         17 BK 03283-LTS
    MAGNOLIA GARDENS                                                                                         MAGNOLIA GARDENS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
474 SANCHEZ SIERRA,               06/29/18   Commonwealth of Puerto         131892             Undetermined* SANCHEZ SIERRA,           06/29/18   Commonwealth of Puerto    137924       Undetermined*
    MIGDALIA                                 Rico                                                            MIGDALIA                             Rico
    MAGNOLIA GARDENS                         17 BK 03283-LTS                                                 CALLE 9 F-16                         17 BK 03283-LTS
    CALLE 9 F-16                                                                                             MAGNOLIA GARDENS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
475 SANCHEZ SOTO, IRIS Y.         05/23/18   Commonwealth of Puerto         15574                   $ 9,651.59 SANCHEZ SOTO, IRIS Y.   05/23/18   Commonwealth of Puerto    18318            $ 9,651.59
    MILAGROS ACEVEDO                         Rico                                                              MILAGROS ACEVEDO                   Rico
    COLON                                    17 BK 03283-LTS                                                   COLON                              17 BK 03283-LTS
    COND COLINA REAL                                                                                           COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                      2000 AVE F RINCON BOX
    1405                                                                                                       1405
    SAN JUAN, PR 00926                                                                                         SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 88 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
476 SANCHEZ VEGA, NILDA          06/26/18   Commonwealth of Puerto         94168              Undetermined* SANCHEZ VEGA, NILDA   06/27/18   Commonwealth of Puerto    102996       Undetermined*
    L.                                      Rico                                                            L.                               Rico
    HC5 BOX 46707                           17 BK 03283-LTS                                                 HC5 BOX 46707                    17 BK 03283-LTS
    VEGA BAJA, PR 00693                                                                                     VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
477 SANCHEZ VEGA, NILDA          06/27/18   Commonwealth of Puerto         100296             Undetermined* SANCHEZ VEGA, NILDA   06/27/18   Commonwealth of Puerto    102996       Undetermined*
    L.                                      Rico                                                            L.                               Rico
    HC 5 BOX 46707                          17 BK 03283-LTS                                                 HC5 BOX 46707                    17 BK 03283-LTS
    VEGA BAJA, PR 00693                                                                                     VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
478 SANCHEZ VEGA, NILDA          06/27/18   Commonwealth of Puerto         101516             Undetermined* SANCHEZ VEGA, NILDA   06/27/18   Commonwealth of Puerto    102996       Undetermined*
    L.                                      Rico                                                            L.                               Rico
    HC5 BOX 46707                           17 BK 03283-LTS                                                 HC5 BOX 46707                    17 BK 03283-LTS
    VEGA BAJA, PR 00693                                                                                     VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
479 SANCHEZ VEGA, NILDA          06/26/18   Commonwealth of Puerto         106231             Undetermined* SANCHEZ VEGA, NILDA   06/27/18   Commonwealth of Puerto    106118       Undetermined*
    L.                                      Rico                                                            L.                               Rico
    HC5 BOX 46707                           17 BK 03283-LTS                                                 HC5 BOX 46707                    17 BK 03283-LTS
    VEGA BAJA, PR 00693                                                                                     VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
480 SANCHEZ VEGA, NILDA          06/26/18   Commonwealth of Puerto         128268             Undetermined* SANCHEZ VEGA, NILDA   06/27/18   Commonwealth of Puerto    104690       Undetermined*
    L.                                      Rico                                                            L.                               Rico
    HC 5 BOX 46707                          17 BK 03283-LTS                                                 HC 5 BOX 46707                   17 BK 03283-LTS
    VEGA BAJA, PR 00693                                                                                     VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
481 SANCHEZ, GUILLERMO           06/28/18   Commonwealth of Puerto         58606                $ 150,000.00 SANCHEZ, GUILLERMO   06/28/18   Commonwealth of Puerto    60596         $ 150,000.00*
    PO BOX 6523                             Rico                                                             PO BOX 6523                     Rico
    MAYAGUEZ, PR 00680                      17 BK 03283-LTS                                                  MAYAGUEZ, PR 00680              17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 89 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
482 SANDOZ PEREA,                 06/29/18   Commonwealth of Puerto         85772                 $ 12,600.00 SANDOZ PEREA,          07/05/18   Commonwealth of Puerto    133427          $ 12,600.00
    LILLIAN                                  Rico                                                             LILLIAN                           Rico
    SAN MIGUEL ST # C-8                      17 BK 03283-LTS                                                  CALLE SAN MIGUEL #C8              17 BK 03283-LTS
    URB. VILLA DEL PILAR                                                                                      URB. VILLA DEL PILAR
    CEIBA, PR 00735                                                                                           CEIBA, PR 00735

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
483 SANTA ALICEA,                 05/25/18   Commonwealth of Puerto         30910              Undetermined* SANTA ALICEA,           05/25/18   Commonwealth of Puerto    32105        Undetermined*
    MARGOT                                   Rico                                                            MARGOT                             Rico
    ALTURAS DE SL C 5 F13                    17 BK 03283-LTS                                                 EXT ALT DE SAN                     17 BK 03283-LTS
    BOX 633                                                                                                  LORENZO
    SAN LORENZO, PR 00754                                                                                    F13 CALLE 5
    -0633                                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
484 SANTAELLA SERRANO,            06/25/18   Commonwealth of Puerto         81238              Undetermined* SANTAELLA SERRANO,      06/29/18   Commonwealth of Puerto    142198       Undetermined*
    NILDA                                    Rico                                                            NILDA                              Rico
    P.O. BOX 800615                          17 BK 03283-LTS                                                 PO BOX 615                         17 BK 03283-LTS
    COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780
    -0615                                                                                                    -0615

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
485 SANTAELLA SERRANO,            06/25/18   Commonwealth of Puerto         89707              Undetermined* SANTAELLA SERRANO,      06/29/18   Commonwealth of Puerto    127039       Undetermined*
    NILDA                                    Rico                                                            NILDA                              Rico
    PO BOX 800615                            17 BK 03283-LTS                                                 PO BOX 615                         17 BK 03283-LTS
    COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780
    -0615                                                                                                    -0615

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
486 SANTANA ACOSTA,               06/29/18   Commonwealth of Puerto         129004             Undetermined* SANTANA ACOSTA,         06/29/18   Commonwealth of Puerto    140542       Undetermined*
    OBEDILIA                                 Rico                                                            OBEDILIA                           Rico
    #104 CALLE FCO.                          17 BK 03283-LTS                                                 #104 CALLE FCO.                    17 BK 03283-LTS
    NEGRON                                                                                                   NEGRON,
    URB. VALLE PIEDRA                                                                                        URB. VALLE PIEDRA
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 90 of 93
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                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
487 SANTANA BAEZ,                 03/15/18   Commonwealth of Puerto          3944                $ 75,000.00* SANTANA BAEZ,         05/09/18   Commonwealth of Puerto    14973          $ 75,000.00*
    ELIEZER                                  Rico                                                             ELIEZER                          Rico
    PRO SE                                   17 BK 03283-LTS                                                  50 CARRETERA 5 UNIT              17 BK 03283-LTS
    50 CARR. 5 UNIT A 501                                                                                     ANEXO 501
    EDIF. 3-J                                                                                                 EDIFICIO 3-J
    IND. LUCHETTI BAY                                                                                         INDUSTRIAL LUCHETI
    BAYAMON, PR 00961-                                                                                        BAYAMON, PR 00961-
    7403                                                                                                      7403

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
488 SANTANA DE LEON,              05/23/18   Commonwealth of Puerto         13948              Undetermined* SANTANA DE LEON,       05/23/18   Commonwealth of Puerto    19327        Undetermined*
    AITZA                                    Rico                                                            AITZA                             Rico
    HC-02 BOX 11115                          17 BK 03283-LTS                                                 HC 02 BOX 11115                   17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
489 SANTANA DE LEON,              05/23/18   Commonwealth of Puerto         19099              Undetermined* SANTANA DE LEON,       05/23/18   Commonwealth of Puerto    19327        Undetermined*
    AITZA                                    Rico                                                            AITZA                             Rico
    HC 02 BOX 11115                          17 BK 03283-LTS                                                 HC 02 BOX 11115                   17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
490 SANTANA DE LEON,              05/23/18   Commonwealth of Puerto         19188              Undetermined* SANTANA DE LEON,       05/23/18   Commonwealth of Puerto    19327        Undetermined*
    AITZA                                    Rico                                                            AITZA                             Rico
    HC 02 BOX 11115                          17 BK 03283-LTS                                                 HC 02 BOX 11115                   17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
491 SANTANA ESQUILIN,             03/20/18   Commonwealth of Puerto          3693                 $ 20,000.00 SANTANA ESQUILIN,     04/05/18   Commonwealth of Puerto    3795            $ 20,000.00
    REINALDO                                 Rico                                                             REINALDO                         Rico
    BARRIO MAMEYAL                           17 BK 03283-LTS                                                  BARRIO MAMEYAL                   17 BK 03283-LTS
    92 E CALLE EXT.                                                                                           92 E CALLE EXT.
    KENNEDY                                                                                                   KENNEDY
    DORADO, PR 00646                                                                                          DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 91 of 93
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                                                                             Twenty-Sixth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
492 SANTANA HERNANDEZ,           04/16/18   Commonwealth of Puerto          7315              Undetermined* SANTANA HERNANDEZ,   04/16/18   Commonwealth of Puerto    7568         Undetermined*
    NITSALIZ                                Rico                                                            NITSALIZ                        Rico
    PO BOX 1087                             17 BK 03283-LTS                                                 PO BOX 1087                     17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                        JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
493 SANTANA HERNANDEZ,           04/16/18   Commonwealth of Puerto          7407              Undetermined* SANTANA HERNANDEZ,   04/16/18   Commonwealth of Puerto    7568         Undetermined*
    NITSALIZ                                Rico                                                            NITSALIZ                        Rico
    P O BOX 1087                            17 BK 03283-LTS                                                 PO BOX 1087                     17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                        JUNCOS, PR 00777

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
494 SANTANA MARCANO,             05/29/18   Commonwealth of Puerto         37920              Undetermined* SANTANA MARCANO,     05/29/18   Commonwealth of Puerto    41103        Undetermined*
    ROSA I                                  Rico                                                            ROSA I                          Rico
    CALLE VOLCAN #8                         17 BK 03283-LTS                                                 HATO TEJAS                      17 BK 03283-LTS
    HATO TEJAS                                                                                              8 CALLE VOLCAN
    BAYAMON, PR 00961                                                                                       BAYAMON, PR 00961

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
495 SANTANA MARCANO,             05/29/18   Commonwealth of Puerto         39691              Undetermined* SANTANA MARCANO,     05/29/18   Commonwealth of Puerto    39701        Undetermined*
    ROSA I                                  Rico                                                            ROSA I                          Rico
    HATO TEJAS                              17 BK 03283-LTS                                                 HATO TEJAS                      17 BK 03283-LTS
    8 CALLE VOLCAN                                                                                          8 CALLE VOLCAN
    BAYAMON, PR 00961                                                                                       BAYAMON, PR 00961

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
496 SANTANA SANTIAGO,            05/25/18   Commonwealth of Puerto         33879              Undetermined* SANTANA SANTIAGO,    05/30/18   Commonwealth of Puerto    44707        Undetermined*
    OSVALDO                                 Rico                                                            OSVALDO                         Rico
    HC 04 BOX 44591                         17 BK 03283-LTS                                                 HC 04 BOX 44591                 17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 92 of 93
                                       Case:17-03283-LTS Doc#:6275-1 Filed:04/15/19 Entered:04/15/19 20:51:42                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 94 of 94

                                                                              Twenty-Sixth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
497 SANTANA SEDA, JANET           06/27/18   Commonwealth of Puerto         56408                 $ 16,800.00 SANTANA SEDA, JANET    07/06/18   Commonwealth of Puerto    162090          $ 16,800.00
    MAGALI                                   Rico                                                             MAGALI                            Rico
    URBANIZACION RIO                         17 BK 03283-LTS                                                  URBANIZACION RIO                  17 BK 03283-LTS
    GRANDE ESTATES                                                                                            GRANDE ESTATES
    #10723 CALLE REINA                                                                                        CALLE REINA
    CLEOPATRA                                                                                                 CLEOPATRA
    RIO GRANDE, PR 00745                                                                                      RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
498 SANTIAGO ALICEA,              05/29/18   Commonwealth of Puerto         30642              Undetermined* SANTIAGO ALICEA,        05/29/18   Commonwealth of Puerto    32293        Undetermined*
    WILLIAM                                  Rico                                                            WILLIAM                            Rico
    URB ESTS DEL GOLFO                       17 BK 03283-LTS                                                 URB EXT DEL GOLF                   17 BK 03283-LTS
    798 CALLE ENRIQUE                                                                                        CALLE ENRIQUE LA
    LAGUERRE                                                                                                 GUERRE
    PONCE, PR 00730                                                                                          #798
                                                                                                             PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
499 SANTIAGO ARCE, IVAN           05/20/18   Commonwealth of Puerto         25144              Undetermined* SANTIAGO ARCE, IVAN     05/20/18   Commonwealth of Puerto    28041        Undetermined*
    JARDINES DE LA                           Rico                                                            JARDINES DE LA                     Rico
    FUENTE                                   17 BK 03283-LTS                                                 FUENTE                             17 BK 03283-LTS
    CALLE CERVANTES NO.                                                                                      244 CALLE CERVANTES
    244                                                                                                      TOA ALTA, PR 00953
    TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
500 SANTIAGO CORDERO,             06/06/18   Commonwealth of Puerto         60397              Undetermined* SANTIAGO CORDERO,       06/06/18   Commonwealth of Puerto    60982        Undetermined*
    HERBERT                                  Rico                                                            HERBERT                            Rico
    177 GUAYANES                             17 BK 03283-LTS                                                 URB ESTANCIAS DEL                  17 BK 03283-LTS
    URB. ESTANCIAS DEL                                                                                       RIO
    RIO                                                                                                      CALLE GUAYANES 177
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 93 of 93
